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   The South Carolina State Conference of
    the NAACP, et al v. Alexander, et al
   CA No.: 3:21-cv-03302-MGL-TJH-RMG




       EXHIBIT A
  Senate and House Defendants’ Daubert Motion in
     Limine to Exclude Reports, Opinions, and
          Testimony of Dr. Joseph Bagley




        Transcript of June 29, 2022 Deposition of
                      Joseph Bagley, Ph.D.
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 1                     UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3      THE SOUTH CAROLINA STATE CONFERENCE OF
        THE NAACP, et al.,
 4
                           Plaintiffs,
 5
                 vs.       CASE NO.    3:21-CV-03302-MBS
 6                                     TJH-RMG
 7      THOMAS C. ALEXANDER, et al.,
 8                         Defendants.
 9
10
11
12
13      VIDEO TELECONFERENCE
14      DEPOSITION OF:          JOSEPH BAGLEY, PhD
15      DATE:                   June 29, 2022
16      TIME:                   10:00 a.m.
17      LOCATION:               Virtual - Zoom
18      TAKEN BY:               Counsel for the Senate
19                              Defendants
20      REPORTED BY:            Roxanne Easterwood, RPR
21
22
23
24
25

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                                                   Joseph Bagley , PhD                                       June 29, 2022
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                                                           Page 2                                                      Page 4
      1 APPEARANCES OF COUNSEL:
      2
                                                                     1             PROCEEDINGS
          ATTORNEYS FOR PLAINTIFFS:                                  2         * * * * * *
      3
             NAACP Legal Defense & Educational                       3              JOSEPH BAGLEY, PhD
      4      Fund, Inc.
             By: Antonio Ingram, II
                                                                     4   being first duly sworn, testified as follows:
      5         Leah C. Aden                                         5                EXAMINATION
                John S. Cusick
      6         Tanveer Singh                                        6   BY MR. TRAYWICK:
                Princess Jefferson                                   7        Q. Good morning, Dr. Bagley. Thank you
      7      40 Rector Street, 5th Floor
             New York, NY 10006                                      8   for your patience as we've both kind of dealt with
      8      (212) 965-7715
             aingram@naacpldf.org                                    9   technical difficulties. We've met before and just
      9      laden@naacpldf.org                                     10   talked off the record. I've introduced myself.
             jcusick@naacpldf.org
     10                                                             11   My name is Lisle Traywick. I'm with the law firm
     11
             American Civil Liberties Union
                                                                    12   of Robinson Gray Stepp & Laffitte. We are
     12      Foundation                                             13   representing the Senate defendants in this action
             By: Samantha Osaki
     13      915 15th Street, NW                                    14   filed by the South Carolina Conference of the
             Washington, DC 20005
     14      (202) 457-0800
                                                                    15   NAACP and Taiwan Scott against our clients and
             sosaki@aclu.org                                        16   others. We met before in your previous
     15
     16   ATTORNEYS FOR HOUSE DEFENDANTS:                           17   deposition, in the House deposition; is that
     17      Nexsen Pruet, LLC
             By: Michael A. Parente
                                                                    18   right?
     18         Jennifer Hollingsworth                              19        A. Yes, sir.
             1101 Johnson Avenue, Suite 300
     19      Myrtle Beach, SC 29577                                 20        Q. So today we're here to talk about the
             (803) 771-8900                                         21   Congressional plan litigation, right?
     20      mparente@nexsenpruet.com
             jhollingsworth@nexsenpruet.com                         22        A. That's right.
     21
     22
                                                                    23        Q. Just to ensure we're reading from the
     23                                                             24   same sheet of music, the rule requires me to go
     24
     25                                                             25   over the rules of the deposition. So I'll do that
                                                           Page 3                                                      Page 5
      1     ATTORNEYS FOR SENATE DEFENDANTS:                         1   briefly. I know you're familiar with them.
      2       Robinson Gray, LLC
              By: Vordman Carlisle Traywick, III                     2            If you have any questions about my
      3           Robert E. Tyson                                    3   questions, please direct those towards me. If I
                  Cynthia Nygord                                     4   ask you a question that you don't understand or
      4       1310 Gadsden Street
              Columbia, SC 29201                                     5   that's a bad question, which is bound to happen,
      5       (803) 929-1400                                         6   please ask me to rephrase. I'm happy to do so.
              ltraywick@robinsongray.com
                                                                     7   I'm certainly not trying to trick you.
      6       rtyson@robinsongray.com
              cnygord@robinsongray.com                               8            This isn't an endurance contest, so if
      7                                                              9   at any time you need to take a break, go to the
      8
            ATTORNEYS FOR ELECTION COMMISSION
                                                                    10   restroom, get some water, or just take a minute,
      9       DEFENDANTS:                                           11   I'm happy to accommodate you in that regard. Just
     10       Burr & Forman, LLP                                    12   let me know. And I'll try to work in some logical
              By: Jane W. Trinkley
     11       1221 Main Street, Suite 1800                          13   breaks as well for lunch and things like that?
              Columbia, SC 29201                                    14            If you hear opposing counsel object to
     12       (803) 753-3241                                        15   my question, you still need to answer the
              jtrinkley@burr.com
     13                                                             16   question. But if he instructs you not to answer,
     14                                                             17   only then can you not answer the question.
     15                                                             18            But aside from that, I'm ready to
     16
     17        (INDEX AT REAR OF TRANSCRIPT)                        19   begin, if you are.
     18                                                             20        A. Yes, sir, I am.
     19
     20
                                                                    21        Q. Can you please state your full name,
     21                                                             22   for the record?
     22                                                             23        A. Joseph Mark Bagley.
     23
     24
                                                                    24        Q. What is your date of birth,
     25                                                             25   Dr. Bagley?

                                                                                                            2 (Pages 2 - 5)
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      1        A. February 23, 1981.                             1   some things that they had already gotten from me,
      2        Q. What is your address, please?                  2   some of the things that were already requested.
      3        A. 2823 Middleham, M-I-D-D-L-E-H-A-M,             3        Q. So were you asked to pull any of the
      4   Court, Tucker, Georgia 30084.                          4   documents identified in Exhibit A to the subpoena
      5        Q. Is that outside of Atlanta?                    5   that was served upon you?
      6        A. Yes, sir, just right outside of the            6        A. No.
      7   northeast corner.                                      7        Q. Dr. Bagley, what did you do to prepare
      8        Q. Good deal.                                     8   for your deposition today?
      9           MR. TRAYWICK: Dr. Bagley, I'm going            9        A. Mostly just read over my report. It's
     10   to mark as Exhibit 1 to your deposition the           10   been a while since I entered it. So just
     11   subpoena and deposition notice that we served on      11   refreshed myself. It's a lot of information.
     12   you. And we'll try to get that in Exhibit Share.      12        Q. Which report?
     13           (Exhibit 1, Notice of Deposition,             13        A. So this is my report from the
     14   Certificate of Service, Acceptance of Service,        14   Congressional phase, and then I have a rebuttal --
     15   Subpoena Duces Tecum, marked for identification.)     15   brief rebuttal report, as well, in this phase.
     16           MS. NYGORD: Exhibit 1 should be in            16        Q. Did you do anything else to prepare
     17   there.                                                17   for your deposition?
     18           MR. TRAYWICK: Let me relaunch. Off            18        A. No. I just have had brief
     19   the record.                                           19   conversations with the attorneys, just sort of
     20           (A recess was taken.)                         20   logistics and, you know, where we're going to be,
     21           MR. TRAYWICK: Back again.                     21   what we're going to expect, that kind of thing.
     22   BY MR. TRAYWICK:                                      22           MR. TRAYWICK: I'm going to mark as
     23        Q. Thanks, again, for you patience with          23   Exhibit 2 to your deposition what was produced in
     24   that, Dr. Bagley. Can you see in Exhibit Share a      24   connection with your reports as your CV.
     25   document?                                             25           (Exhibit 2, Bagley CV, marked for
                                                       Page 7                                                      Page 9
      1        A. No, sir, I do not.                             1   identification.)
      2           COURT REPORTER: You will have to               2   BY MR. TRAYWICK:
      3   refresh.                                               3        Q. Do you see that on your screen,
      4   BY MR. TRAYWICK:                                       4   Dr. Bagley?
      5        Q. Dr. Bagley, I'm going to show you what         5        A. I do.
      6   we're marking as Exhibit 1 to your deposition.         6        Q. Is that the most current copy or most
      7        A. All right.                                     7   current version of your curriculum vitae?
      8        Q. Have you seen this document before?            8        A. It is.
      9        A. Yes.                                           9        Q. Would you mind giving me the benefit
     10        Q. What is it?                                   10   of your educational background, please?
     11        A. This is a notice of taking of my              11        A. Sure. I have a BA and MA from Auburn
     12   deposition.                                           12   University in history, a PhD from Georgia State in
     13        Q. Did you also see the subpoena that was        13   the same, and focussed on American Constitutional
     14   attached thereto?                                     14   and Legal History, 19th and 20th Century American
     15        A. I did.                                        15   Politics and Law.
     16        Q. Did you bring any documents with you          16        Q. What was the topic of your
     17   today in response to this subpoena?                   17   dissertation?
     18        A. No. I understand that the attorneys           18        A. The Politics of Race and School
     19   had turned over some of what was requested. But I     19   Desegregation in Alabama.
     20   haven't brought anything with me today other than     20        Q. Has that been the primary focus of
     21   my reports, a clean copy of my report and my          21   your research and studies?
     22   rebuttal report.                                      22        A. It certainly was up to that point.
     23        Q. Did you help furnish information to           23   I've broadened that out in more recent years.
     24   them to provide responses to the subpoena?            24        Q. What do you mean by broadened it out?
     25        A. I understand that they have submitted         25        A. I mean I began to shift towards the

                                                                                                        3 (Pages 6 - 9)
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      1   second book project on voting rights several years       1   case, as well as in People First versus Merrill,
      2   ago.                                                     2   which was realty related to Voting Act status
      3        Q. When did you begin that?                         3   during the pandemic, in Alabama. Submitted
      4        A. I would say circa 2018 or so.                    4   reports in that case and testified at trial.
      5        Q. Is that still a work in progress,                5   Those are the only cases wherein I have entered
      6   Dr. Bagley?                                              6   reports and testified.
      7        A. Oh, very much, yes.                              7        Q. Were both of those cases in Federal
      8        Q. Do you have a tentative title or                 8   Court in Alabama?
      9   subject of it?                                           9        A. Yes.
     10        A. Title, no. Subject, sure. I'm                   10        Q. In Milligan, what fields were you
     11   looking at the struggle for voting rights in the        11   qualified as an expert in?
     12   Deep South broadly and, you know, sort of legal         12        A. I can't remember exactly, but I want
     13   journey that that has gone through and the              13   to say it was political history in Alabama or --
     14   attendant politics. Sort of a similar framework,        14   well, and in -- I believe the language was
     15   if you will, to the first book.                         15   political history in Alabama and historiography or
     16        Q. What was the first book?                        16   -- or there was something in addition to that. It
     17        A. It was a distillation of the                    17   was more broad. I don't remember the exact
     18   dissertation, The Politics of White Rights.             18   language -- historical methodology, maybe,
     19        Q. On what state or regions did that               19   something like that.
     20   focus?                                                  20        Q. You said that that was in the context
     21        A. That focussed on Alabama. This is an            21   of a preliminary injunction; did I hear that
     22   outgrowth of the dissertation.                          22   right?
     23        Q. Would you mind giving me your                   23        A. That's correct.
     24   professional background, please?                        24        Q. What's the status of that case?
     25        A. I have worked for Georgia State in one          25        A. That unanimous decision of three-judge
                                                        Page 11                                                       Page 13
      1   capacity or another since I graduated. Actually,         1   court, that injunction was entered, but it was
      2   I was hired by Georgia State as a visiting               2   stayed by the Supreme Court.
      3   lecturer and hired by Perimeter College at the           3        Q. Do you recall what the plaintiffs'
      4   same time it was consolidating with Georgia State,       4   claims were in Milligan, Dr. Bagley, what legal
      5   as a lecturer, and then got hired on the tenured         5   claims they brought?
      6   tract, and actually am up for tenure this year and       6        A. Yes. I believe it was a Section 2,
      7   should be promoted as well.                              7   Voting Rights Act claim. Maybe a racial
      8         Q. Congratulations.                                8   gerrymandering claim as well.
      9         A. Thank you.                                      9        Q. What did your report discuss there
     10         Q. What is technically your title now?            10   where you were qualified as an expert in political
     11         A. Right now I am assistant professor of          11   history in Alabama and either historiography or
     12   history. I'll be associate professor of history         12   historical methodology?
     13   if I don't screw it up by next year.                    13        A. So that was a Senate factors report.
     14         Q. Good luck with that.                           14   I think I looked at maybe five of the Senate
     15         A. Thank you.                                     15   factors in my assessment in that report.
     16         Q. Dr. Bagley, can you explain any prior          16        Q. If you will, can we turn to Merrill?
     17   cases in which you were a consulting or testifying      17   I believe you indicated that was a trial; is that
     18   expert, please?                                         18   right?
     19         A. Sure. I worked on -- or I suppose I            19        A. You mean People First? Yes, I'm
     20   am currently retained in the Milligan versus            20   sorry, that was -- that's what you mean?
     21   Merrill case, which is a redistricting case             21        Q. Yes, sir.
     22   involving Alabama. I testified at a preliminary         22        A. Yes.
     23   injunction hearing in that case. I have submitted       23        Q. Were you qualified as an expert in
     24   reports in that case.                                   24   that case?
     25            I was certified as an expert in that           25        A. Yes. I don't -- I actually looked

                                                                                                        4 (Pages 10 - 13)
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      1   somewhat recently at the judge's opinion, and I         1   have been via email?
      2   don't know that I found exactly the language as to      2        A. 80 percent.
      3   what I was certified as an expert in.                   3        Q. Have you contacted -- have you had any
      4        Q. So, well, I guess, what was your --             4   contact with any other lawyers on the plaintiffs'
      5   what was the subject of your testimony?                 5   team, to your recollection?
      6        A. The history of discrimination in                6        A. Those that are on this call.
      7   Alabama. Like, a -- you know, it was also a             7   Obviously, Mr. Ingram, who is here, and
      8   Senate factors report, so identifying which of the      8   Mr. Cusick.
      9   Senate factors are present.                             9        Q. So Mr. Ingram, Mr. Cusick, and
     10        Q. You said that was in the context of            10   Ms. Aden?
     11   voting laws during the pandemic?                       11        A. Yes, sir.
     12        A. That's right.                                  12        Q. Any other lawyers from the plaintiffs'
     13        Q. What was the outcome of that case?             13   team?
     14        A. So the plaintiffs won at trial in that         14        A. Not on this matter.
     15   case as well. I believe it was partially               15        Q. How about any other third parties,
     16   reversed. Some of that was upheld. I don't             16   have you discussed your opinions offered in this
     17   remember the exact particulars of, you know, what      17   case with any other third parties, aside from the
     18   got reversed and what was upheld. But yeah, that       18   three counsel you just named for the Legal Defense
     19   was the disposition, as I recall.                      19   Fund?
     20        Q. Would that have been by an appellate           20        A. No, I have not.
     21   court or by the U.S. Supreme Court?                    21        Q. Did you discuss your deposition
     22        A. I believe it went all the way through          22   testimony with anyone else, aside from those three
     23   the Supreme Court. I don't remember exactly. It        23   attorneys?
     24   went through the 11th Circuit, obviously.              24        A. No.
     25        Q. Thank you for that.                            25        Q. What were you asked to do?
                                                       Page 15                                                      Page 17
      1           Dr. Bagley, for what purpose were you           1        A. Like I say, I was asked to examine the
      2   retained in this matter?                                2   process surrounding the enactment of this
      3        A. So in this matter I was asked to look           3   Congressional plan and to determine if, in my
      4   at the process surrounding the General Assembly's       4   opinion, there was evidence that could be provided
      5   enactment of the laws that have adopted the             5   to the court that either would or would not
      6   current Congressional plan and to provide my            6   support, you know, determination of discriminatory
      7   opinions as to if there might be an inference of        7   intent.
      8   discriminatory intent in the passage of that plan.      8        Q. Were you asked to assist with the
      9        Q. When were you first contacted about             9   Congressional plan litigation before, during, or
     10   this matter?                                           10   after your retention to testify as an expert in
     11        A. Last fall, I suppose. I don't                  11   the House plan litigation?
     12   remember exactly when.                                 12        A. I believe I was retained
     13        Q. By whom?                                       13   simultaneously on both matters.
     14        A. By the Legal Defense Fund.                     14           MR. TRAYWICK: Now I'm going to mark as
     15        Q. Who in the Legal Defense Fund?                 15   Exhibit 3 to your deposition some invoices that we
     16        A. I don't remember who it was that first         16   received late yesterday evening. If you could let
     17   reached out, but probably Leah Aden.                   17   me know when those appear on your screen.
     18        Q. Would that have been by telephone or           18           (Exhibit 3, Invoices with Attached
     19   the email?                                             19   Email Cover Pages, Bates SCNAACP 3D 11412-11419,
     20        A. Email, if memory serves.                       20   marked for identification.)
     21        Q. Has email been your primary mode of            21           THE WITNESS: Mr. Ingram is refreshing.
     22   correspondence with the LDF lawyers?                   22   He's not seeing them as yet, but there it is.
     23        A. Primary, I would say yes.                      23   Okay, we have it.
     24        Q. If you had to assign a percentage to           24   BY MR. TRAYWICK:
     25   your communications, about what percentage would       25        Q. In the email you address someone named

                                                                                                       5 (Pages 14 - 17)
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      1   Meghana. Am I pronouncing that correctly?               1        A. The balance on this invoice is $6,900.
      2        A. Yes.                                            2        Q. How many hours did you spend from
      3        Q. Who is she?                                     3   January 28th to February 10th?
      4        A. She is an admin at LDF in New York, an          4        A. 46.
      5   administrative assistant.                               5        Q. During that time, what would that have
      6        Q. Thank you. If you could scroll down             6   primarily covered? Would that have been House or
      7   to the second page, please?                             7   Congressional?
      8        A. Okay.                                           8        A. This would be Congressional.
      9        Q. Is that a copy of one of your invoices          9        Q. Do you recall when you submitted a
     10   submitted in this matter?                              10   report for the House plan litigation?
     11        A. It is.                                         11        A. I do not.
     12        Q. It begins on the date                          12        Q. If you could scroll down to what is
     13   January 28, 2022; is that correct?                     13   the fourth page of that PDF, if you don't mind?
     14        A. Yes.                                           14        A. Okay.
     15        Q. This invoice in particular runs                15        Q. This appears to be Invoice Number 3?
     16   through February 10, '22; is that also correct?        16        A. Yes. Yes.
     17        A. Yes.                                           17        Q. So we didn't see Invoice Number 1
     18        Q. Did you separate out time that you             18   included. So would it be fair to say that that
     19   spent on the House plan litigation versus the          19   related exclusively to the House plan litigation?
     20   Congressional plan litigation?                         20        A. Correct.
     21        A. Yes, I believe those are separate              21        Q. Thank you for that clarification.
     22   invoices.                                              22            At the top of this Invoice Number 3,
     23        Q. Do you know --                                 23   it says "Phase 3."
     24        A. Just in terms of -- I will say just            24            Can you explain how you phased out
     25   because the timelines are different. I don't know      25   various work in this case and what that means?
                                                       Page 19                                                       Page 21
      1   that I separated them necessarily as this is --         1        A. I don't remember putting that there.
      2   you know, this is a House invoice; this is a            2   Probably -- I'm speculating on memory here -- that
      3   Congressional invoice. I think this is in terms         3   Phase 1 would be House, and Phase 2 would be maybe
      4   of -- I think my agreement stipulates that, you         4   House rebuttal. I'd have to go back and look.
      5   know, every several weeks or month or two I'm to        5        Q. How many hours did you spend from
      6   go ahead and submit whatever hours.                     6   February 17th until April 10th?
      7            So the way that these phases have              7        A. 109.
      8   unfolded, I have submitted separate invoices that       8        Q. What was the balance on this bill?
      9   would amount to de facto House or Congressional         9        A. $16,350.
     10   invoices, if that makes sense.                         10        Q. Again, the activity is redacted, but
     11        Q. Obviously, we can't see the entries on         11   some of those appear to be just one letter. How
     12   it. They're redacted.                                  12   would that have explained what you were doing?
     13            But in explaining your activities,            13        A. That is a quotation mark to indicate
     14   would you have specified whether it related to         14   same as above.
     15   House or Congressional redistricting?                  15        Q. Fair enough. Thank you for that
     16        A. Yes, I think so.                               16   clarification.
     17        Q. Would you be able to itemize what was          17        A. Yes, sir.
     18   spent on each plan?                                    18        Q. If you could go to Page Number 5 of
     19        A. Yes. I believe so.                             19   that PDF, if you don't mind, Dr. Bagley.
     20        Q. Can you do that? Because, as you               20        A. All right.
     21   know, plaintiffs are seeking recovery in this case     21        Q. In that email you indicate some
     22   of, among other things, costs. So we need to know      22   overlap. Can you explain what you meant there?
     23   what your time is and your money.                      23   Does that mean overlap between House plan
     24        A. Sure.                                          24   litigation and Congressional litigation, or what
     25        Q. What was the amount of this bill?              25   did you mean by that?

                                                                                                        6 (Pages 18 - 21)
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      1        A. Looks like the email reads: "With               1   and roughly 6 there, so 26 or 27,000.
      2   some overlap in terms of deposition transcript          2        Q. That's on Invoices 2 through 4?
      3   review," which would indicate, presumably, that I       3        A. Yes, sir.
      4   was reviewing the transcript from our last              4        Q. Do you recall how much your first
      5   deposition.                                             5   invoice was for?
      6        Q. If you will scroll down to Page 6 of            6        A. I genuinely do not. I would guess
      7   that PDF, if you don't mind, please.                    7   perhaps somewhere in the range of 10,000, and
      8        A. Okay.                                           8   possibly less.
      9        Q. That appears to be just another a               9        Q. Thank you, Dr. Bagley.
     10   duplicate of Invoice Number 3, right?                  10            So we just want to talk about your
     11        A. It does.                                       11   report. At some point you were asked to prepare a
     12        Q. If you wouldn't mind flipping to the           12   report in this matter, correct?
     13   end of the PDF on Page 8. How many hours did you       13        A. Indeed.
     14   spend on this case from April 21st to May 3rd?         14            MR. TRAYWICK: We're going to mark that
     15        A. 26.                                            15   as an exhibit to your deposition.
     16        Q. What was the amount of your bill?              16            (Exhibit 4, Dr. Bagley Congressional
     17        A. $3,900.                                        17   Plan Report, marked for identification.)
     18        Q. Do you recall the date on which you            18   BY MR. TRAYWICK:
     19   submitted your initial report in this matter?          19        Q. That's the 4/11/22. Do you see that,
     20        A. In the Congressional phase?                    20   Dr. Bagley, in the Exhibit Share?
     21        Q. Yes, sir.                                      21        A. Refreshing. It's not there yet, but I
     22        A. No. But I think in the copy that I             22   imagine it will be shortly. Either way, as I
     23   have here, the clean copy before me, I may have        23   said, I do have a clean copy of that here in my
     24   that date on the last page. And it appears to be       24   hands.
     25   April 11th.                                            25        Q. If that suits, then why don't we just
                                                       Page 23                                                     Page 25
      1        Q. What would this time have been spent            1   move forward with that.
      2   on after April 11th?                                    2        A. Sure.
      3        A. Say again, please.                              3        Q. I'll represent to you that I'm reading
      4        Q. What would this time have been spent            4   the same copy.
      5   on that post dates that initial report?                 5        A. Got it. We have it now as well. So
      6        A. Looks like the rebuttal report that I           6   either way.
      7   submitted in this case, which was -- this is dated      7        Q. Great. Thank you.
      8   May 3rd.                                                8           Before we get to that, you mentioned
      9        Q. Dr. Bagley, does the top of that                9   you had some things present with you today. Can
     10   invoice say "Congressional Trende Rebuttal/House       10   you tell me what all you have present with you
     11   Trial Prep"?                                           11   right now at your deposition?
     12        A. It does.                                       12        A. All I have is a copy of the report and
     13        Q. Is there potentially some overlap on           13   the rebuttal report and coffee.
     14   this bill?                                             14        Q. Same. Have you taken any notes on
     15        A. Yes.                                           15   that report?
     16        Q. Again, would you mind itemizing that           16        A. No.
     17   for us?                                                17        Q. I know I asked you why you were --
     18        A. Yes. Yes, we can do that.                      18   what you were asked to do, but can you explain to
     19        Q. Thank you, sir. I appreciate that.             19   me what fields you're seeking to be qualified as
     20        A. Uh-huh.                                        20   an expert in to testify in this matter?
     21        Q. So overall, how much have plaintiffs'          21        A. American political history, southern
     22   counsel paid you in this matter?                       22   race relations, history of southern politics and
     23        A. What did we just say? There's                  23   law.
     24   slightly under 4,000 on that, which would bring it     24        Q. I know we just went through your
     25   to 20, roughly, given that one is a duplicate,         25   bills. But as per this specific report, do you

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      1   recall how long it took you to prepare it?              1   discussing there?
      2        A. I don't. I would have to go back to             2        A. This appears to be where LDF had sent
      3   those invoices and tally those hours up, which we       3   me some transcripts of some of the hearings and a,
      4   can do. But, I mean, I would say tens of hours.         4   sort of, list of Senate and House meetings and
      5        Q. Tens of hours, okay. Did that consist           5   hearings to review.
      6   primarily of drafting or of other things?               6        Q. Beside those hearings, there are some
      7        A. Research; drafting; refining; the               7   parenthesis with what appear to be time stamps.
      8   writing itself, obviously; a lot of reading, of         8   Do you know what those relate to?
      9   course.                                                 9        A. It says on there: "Relevant portion
     10        Q. To that end, upon which authorities            10   transcribed." So that would reflect the portions
     11   did you rely to prepare this report?                   11   that have been transcribed.
     12        A. Everything I relied on -- this is sort         12        Q. Transcribed by whom?
     13   of standard for the field and for historiography.      13        A. I don't know if it was a court
     14   Everything I've relied upon is in the footnotes.       14   reporter or if it was a transcribing service. I
     15   The footnotes are pretty thorough. So any and          15   don't remember. It's reflected at the bottom of
     16   everything that I relied upon is in those notes.       16   the transcripts.
     17        Q. Do you have copies of any of those             17        Q. So are you saying --
     18   sources or links or anything?                          18        A. Those are publicly available hearings.
     19        A. Some of them are books, so yes. Some           19   It was just helpful to have, I think, the actual
     20   of them are, obviously, cases that are accessible      20   print, you understand. But the videos of these
     21   online. Some of them are articles that are             21   are on the House and the Senate -- the Senate
     22   online. Some of them are, you know, from               22   Redistricting Subcommittee's website and the House
     23   newspapers, most of which these days are               23   Ad Hoc Committee Redistricting website.
     24   accessible online, and so on.                          24        Q. Those are transcribed in full, right?
     25           In terms of physical copies, I guess           25   I don't want to misunderstand what you're saying.
                                                       Page 27                                                    Page 29
      1   some of it I have, and then some of it I don't.         1        A. Yes.
      2         Q. Did you rely on any other sources that         2        Q. So these time stamps aren't just as to
      3   are not listed in your report?                          3   what's transcribed, are they?
      4         A. No. Everything that it relied on is            4        A. Well, where I'm seeing under where it
      5   in there.                                               5   says "Full House," the time stamps say: "Relevant
      6             MR. TRAYWICK: Dr. Bagley, I'm going           6   portion transcribed," but there are other time
      7   to now mark, I believe -- are we on 4 or 5, Madam       7   stamps.
      8   Court Reporter?                                         8           I think it may just be the length of
      9             MS. NYGORD: This will be Number 5.            9   the video, actually.
     10             MR. TRAYWICK: I'm going to mark as           10        Q. So how about the Senate Redistricting
     11   Exhibit Number 5 some emails that we received a        11   Subcommittee ones above? What do those time
     12   little after 10:00 last night. If you will let me      12   stamps denote?
     13   know when those appear on your screen, that would      13        A. Honestly, I believe that's the length
     14   be great.                                              14   of the video.
     15             (Exhibit 5, Email Correspondence, Bates      15        Q. Then the full Senate down there at the
     16   SCNAACP CD 11420-11423, marked for                     16   bottom?
     17   identification.)                                       17        A. Yes.
     18             THE WITNESS: Okay.                           18        Q. So do you know what those time stamps
     19   BY MR. TRAYWICK:                                       19   correlate to?
     20         Q. Did you have a chance to review those?        20        A. I would assume the same thing, the
     21         A. I see it, yes, sir.                           21   length of the video.
     22         Q. You recognize these emails,                   22        Q. If you can scroll down to Page 3 of
     23   Dr. Bagley?                                            23   that PDF, if you don't mind, Dr. Bagley.
     24         A. I do.                                         24        A. Okay.
     25         Q. The first one there, what are you             25        Q. Do you recognize this email?

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      1        A. I do.                                          1   Are you asserting that all of the remainder of
      2        Q. You received it?                               2   your emails are privileged?
      3        A. Yes.                                           3        A. Yes.
      4        Q. Do you know what those time stamps             4            MR. TRAYWICK: Then we would ask that
      5   correlate to on the various meetings that are          5   you provide a privilege log to that effect that
      6   listed on the email?                                   6   logs all of those emails, or plaintiffs' counsel.
      7        A. Under Senate Judiciary Redistricting           7            MR. INGRAM: Objection. He's not an
      8   Subcommittee, those appear to be the length of the     8   attorney.
      9   video.                                                 9            MR. TRAYWICK: I said "or plaintiffs'
     10        Q. Do you know why these were provided to        10   counsel," Mr. Ingram. Thank you.
     11   you?                                                  11   BY MR. TRAYWICK:
     12        A. This was simply flagging the relevant         12        Q. During your last deposition in the
     13   hearings in terms of the passage of this report --    13   House plan litigation, you mentioned you had taken
     14   I mean, the passage of this, you know, law that       14   a lot of notes on the various legislative
     15   enacted the map.                                      15   hearings. What would those notes have been about?
     16        Q. If you will scroll to the last page of        16        A. Very straightforward: time stamped,
     17   the PDF, if you don't mind, Page 4. What is being     17   this is who said what. I mean, as you know, or as
     18   conveyed by plaintiffs' counsel to you there?         18   you even just saw with these time stamps, these
     19        A. They said they had filed a second             19   are long meetings, long hearings. A lot is said,
     20   amended complaint, added additional claims            20   you know, and it's helpful for me to be able to
     21   regarding the newly enacted map: "Attached is a       21   distill, you know, what is relevant to the inquiry
     22   copy, and attached is the expert report of            22   here versus, you know ...
     23   Dr. Woodard," which would have been in the House      23            As you know, Chairman Rankin and
     24   phase of this case.                                   24   Chairman Jordan are both very -- seem like good
     25        Q. Dr. Bagley, are these the only emails         25   guys, very jovial. So there's a lot of, you know,
                                                      Page 31                                                     Page 33
      1   from plaintiffs' counsel that provided facts or        1   just friendly bantering back and forth in these
      2   data for you to look into or rely on for               2   public hearings, for example. So it would be
      3   formulating your report?                               3   useful for me to say, all right, you know, from
      4        A. Yes.                                           4   10 minutes and 30 seconds to 15 minutes and
      5        Q. There are no other ones?                       5   30 seconds there's an exchange about a peanut
      6        A. No, not as you've described.                   6   festival or something versus here is an actual
      7        Q. Do you have any emails with                    7   relevant discussion, if that makes sense.
      8   plaintiffs' counsel that identify assumptions that     8        Q. Sure. There were a lot of hearings,
      9   they have provided to you?                             9   weren't there?
     10        A. No.                                           10        A. There were.
     11        Q. So it's your contention that all of           11        Q. Dr. Bagley, taking a step back to your
     12   those have been produced?                             12   background. Have you ever taken any courses in
     13        A. Yes.                                          13   South Carolina history?
     14        Q. Have you personally undertaken that           14        A. Nothing specific only to South
     15   review?                                               15   Carolina. Although, I would point out, it's
     16        A. Yeah. I mean, I was asked -- well,            16   fairly unusual for -- at the graduate level, to
     17   could you re-ask the question again?                  17   have -- it would be unusual to have a seminar, you
     18        Q. Have you personally looked in your            18   know, focussed on one specific state.
     19   emails to see if what was produced last night is      19            I didn't take a seminar in history of
     20   the sum total?                                        20   any specific state, in other words.
     21        A. Yes. Yes.                                     21        Q. When you say that's not typical, do
     22        Q. You're confirming that no other emails        22   you mean at your institution of higher education,
     23   regarding facts, data, or assumptions exist?          23   or at all?
     24        A. Correct.                                      24        A. I mean anywhere. I mean, I don't --
     25        Q. Now, I want to make sure I understand.        25   may be the case at Clemson or USC that they offer

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      1   graduate seminar specific to South Carolina              1        A. Blue Denim, and there's the Joe Bagley
      2   history. I don't know. You know, but that would          2   Band.
      3   be the only place that I would expect for that to        3        Q. Good deal. Before writing this
      4   be the case.                                             4   report, Dr. Bagley, had you done any research
      5        Q. Dr. Bagley, have you ever attended any           5   specific to South Carolina?
      6   roundtable discussions, symposia, or conferences         6        A. Sorry, you cut out on me. Can you say
      7   related to South Carolina history?                       7   that again?
      8        A. Again, nothing specifically focussed             8        Q. Of course. Before writing this
      9   on South Carolina.                                       9   report, had you done any research specific to
     10        Q. You have never taught South Carolina            10   South Carolina?
     11   history?                                                11        A. Not specific to South Carolina, no.
     12        A. No -- well, let me say the answer is            12        Q. So you conducted the vast majority of
     13   the same. I mean, in classes I've taught -- I           13   the research reflected in your report for purposes
     14   have discussed the history of South Carolina. I         14   of this litigation; is that fair to say?
     15   have not taught a course specific to the history        15        A. I was broadly familiar with much of
     16   of South Carolina.                                      16   the secondary literature that I cite. So in terms
     17        Q. Dr. Bagley, have you ever written any           17   of secondary historical sources, that's all the
     18   articles, blogs, posts, book chapters, or any           18   material that I was familiar with beforehand.
     19   other publications on South Carolina history?           19            In terms of primary source research,
     20        A. I have not published anything specific          20   and, of course, in terms of reviewing the record
     21   exclusively to South Carolina.                          21   relevant to the law that was enacted here that
     22        Q. Have you ever been to South Carolina?           22   created the map, that was all done for purposes of
     23        A. I have.                                         23   this litigation.
     24        Q. When?                                           24        Q. Dr. Bagley, are you an attorney?
     25        A. Many times. I'm trying to remember              25        A. No.
                                                        Page 35                                                      Page 37
      1   how recently. As recently as -- I don't know,            1        Q. Do you have any legal training? Have
      2   three -- years ago, maybe, two. In my youth we           2   you had any semesters in law school?
      3   would go to and through South Carolina quite             3        A. I have not had any semesters in law
      4   frequently. I've been to Columbia. I've been to          4   school. One of my PhD examination fields is U.S.
      5   Charleston. I've been to Greenville.                     5   Constitutional and Legal History, though. I'm a
      6        Q. You said to and through. Have you                6   member of the American Society of Legal History.
      7   ever spent any time there, or did you just drive         7        Q. Would you agree that you're not
      8   through those places?                                    8   qualified to offer legal opinions?
      9        A. No. I have been to Charleston a                  9        A. I would.
     10   number of times. I have been to Columbia. I've          10        Q. Does your report include all facts and
     11   been to Clemson. I spent a little bit of time in        11   sources on which you relied to formulate your
     12   all of those places.                                    12   opinions?
     13        Q. Were those trips of leisure or                  13        A. It does.
     14   professional related?                                   14        Q. Would you agree with me that
     15        A. Leisure or related to secondary                 15   legislative intent is a question of law for the
     16   occupation; to whit, music.                             16   court to determine?
     17        Q. Sorry, your screen froze a little bit           17        A. Yes.
     18   there. What is your second occupation?                  18        Q. Would you agree with me, based on your
     19        A. I said "music."                                 19   studies, that the Supreme Court has said past
     20        Q. Great. What do you focus on there?              20   discrimination cannot, in the manner of original
     21   Do you sing, or do you play an instrument?              21   sin, condemn governmental action that is not
     22        A. I sing and play guitar.                         22   itself unlawful?
     23        Q. Are you in a band?                              23            MR. INGRAM: Objection.
     24        A. I was.                                          24   BY MR. TRAYWICK:
     25        Q. What was that called?                           25        Q. You can answer.

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      1        A. Are you referring to the Shelby County          1        Q. Sure. In this case we have
      2   decision?                                               2   legislators that, depending on the court's ruling,
      3        Q. There's multiple. I believe that was            3   could be witnesses. Do you think it would be up
      4   City of Mobile.                                         4   to the court to determine their credibility?
      5        A. Wasn't City of Mobile superseded?               5        A. Insofar as they are witnesses, of
      6        Q. Right. But the Supreme Court said it            6   course. Insofar as they are a part of the record
      7   multiple times in sentencing Abbott and others.         7   that I reviewed, I think that's a separate issue.
      8           Do you agree with that principle that           8        Q. So did you make credibility
      9   the Supreme Court has recognized, that past             9   determinations into your review of the legislative
     10   discrimination can't condemn future action in --       10   record?
     11           MR. INGRAM: Objection.                         11        A. I would say that I weighed all of the
     12           THE WITNESS: I agree that that's what          12   evidence against itself and provided a
     13   the court has said. That being said, I don't           13   straightforward account of, you know, what I saw
     14   think that can follow from that that the past is       14   and what I thought was important relative to the
     15   irrelevant, that past discrimination is                15   court's decision regarding intent.
     16   irrelevant. And the mode of inquiry that I have        16        Q. We'll get to that.
     17   undertaken here asks that I review the history of      17            When you say what was relevant, did
     18   discrimination.                                        18   you rely upon or take at face value the statements
     19   BY MR. TRAYWICK:                                       19   of any Republican members to show legislative
     20        Q. Do you agree that the court must apply         20   intent in your report?
     21   a presumption of legislative good faith in             21        A. I would tell you that if you watch the
     22   determining legislative intent?                        22   videos of these hearings and of these meetings,
     23        A. Yes. I'm sorry, I have an echo.                23   other than the chairman or the acting chairman --
     24           (Discussion off record.)                       24   so that would include Senator Rankin,
     25   BY MR. TRAYWICK:                                       25   Representative Jordan, and at times Senator
                                                       Page 39                                                      Page 41
      1         Q. Dr. Bagley, do you think it's proper           1   Campsen -- or rather, Representative Newton -- the
      2   for a court in determining legislative intent to        2   Republican legislators are largely silent.
      3   just rely on the statements of a few individual         3            So if there's a dearth of --
      4   legislators?                                            4   comparatively, of their voices in the report, it's
      5         A. Not exclusively, no. I would think             5   not because I was, you know, selective in terms of
      6   you would take that as part of your inquiry, along      6   what I put in there; it's because they didn't have
      7   with history of discrimination, statements made by      7   much to say.
      8   the public, et cetera.                                  8        Q. Did you have any reason to suspect
      9         Q. Do you think it's proper for a court           9   that legislators in the majority were not telling
     10   to rely solely on comments of opponents to             10   the truth in their explanation of the plan?
     11   legislation in determining legislative intent?         11        A. Could you ask it again, Mr. Traywick?
     12         A. No. I think you would have to look at         12        Q. Sure. I'd be glad to.
     13   the full mosaic: Again, what does the public have      13            Do you have any reason to believe that
     14   to say; what do all legislators have to say or not     14   the legislators who did speak about the plan who
     15   say.                                                   15   were in the majority were not telling the truth?
     16         Q. Would you agree that in a bench trial         16        A. I wouldn't say that I have reason to
     17   it's the role of the court to determine the            17   believe they're, quote unquote, "not telling the
     18   credibility of witnesses?                              18   truth." I think the full record and the full
     19         A. Sure.                                         19   mosaic revealed to me that perhaps there was some
     20         Q. Do you think it's the proper role of          20   obfuscation.
     21   an expert to determine credibility of witnesses?       21        Q. Some what?
     22         A. Credibility of witnesses in a case?           22        A. Obfuscation, obfuscating -- you know,
     23         Q. Yes.                                          23   for example, in my report, I talk about how, you
     24         A. If you could clarify what you mean by         24   know, perhaps there is a selective use of criteria
     25   witnesses, I guess, is my question?                    25   in justifying certain decisions, but, you know,

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      1   largely that a lot of that, obviously, was behind        1   getting the Voting Rights Act?
      2   the scenes and unavailable.                              2        A. Well, yeah, but it continues from
      3        Q. Is it your position that every line in           3   there. So this is beginning on Page 4. But I
      4   a redistricting plan must have every single              4   think you have to go through the entire history
      5   criteria articulated to justify it?                      5   section, because the full shift doesn't occur
      6        A. Not necessarily.                                 6   until later. You know, the Republican takeover of
      7        Q. Do you believe that Chairman Rankin              7   the legislator in, I think, the '90s, the
      8   harbors racist motives?                                  8   Republican takeover of the 5th in, I think, 2010
      9        A. No. I don't know what is in the                  9   and so on. So the sort of chipping sands of
     10   chairman's heart, anymore than I do, you know,          10   politics and race cover the whole history up to
     11   Chairman Jordan or anyone else. Probably more           11   the present.
     12   importantly, let me say, that's not what I've been      12        Q. In your report, Dr. Bagley, I notice
     13   asked to ascertain.                                     13   several criticisms regarding scheduling; is that
     14        Q. Have you ever met any of them?                  14   fair to say?
     15        A. I have not.                                     15        A. Criticisms from the public or from
     16        Q. Dr. Bagley, just a few general                  16   legislators, yes.
     17   questions before getting into the more specifics        17        Q. Well, in your report.
     18   of your report.                                         18        A. Could you show me? Not to be
     19            Did you consider anything other than           19   difficult, but just so I understand.
     20   race in formulating your opinions in this matter?       20        Q. Sure. If you will turn with me, it's
     21        A. Sure. You know, I've looked at the              21   the last half of your report, going through all of
     22   guidelines that were adopted by both bodies. I          22   the various -- in one of the sections you appear
     23   have considered any motives that they might have        23   to criticize maps being published before
     24   had.                                                    24   Thanksgiving and a meeting being scheduled after
     25        Q. Did you consider politics?                      25   Thanksgiving. Do you recall that?
                                                        Page 43                                                      Page 45
      1        A. Of course.                                       1        A. I do. That's not necessarily just my
      2        Q. Where in your report did you consider            2   criticism, my hot take, if you will. Those are
      3   politics?                                                3   criticisms that I found in the record.
      4        A. Well, obviously, everyone in the                 4        Q. Are you suggesting that Senate and
      5   report is identified by party. So there's no             5   House staff acted in bad faith in scheduling
      6   hiding the ball in terms of who is who. And then,        6   meetings?
      7   of course, in the "History of Discrimination"            7        A. I wouldn't say that myself. I would
      8   section, I talk at length about the intertwining         8   say that I'm reflecting in the report where other
      9   of politics and race in the South.                       9   legislators suggested that they believe that that
     10            You know, even from -- there was a             10   was the case. It's not for me to say whether I
     11   time when the party of white supremacy was the          11   think it was the case or not.
     12   Democratic party for a long time. I discuss that        12        Q. Do you believe the House and Senate
     13   period. I discuss the brief period where                13   staff acted in bad faith when they posted maps?
     14   Republicans were the party of emancipation, and I       14        A. Again, I don't make any judgments in
     15   talk about the periods in the 20th century where        15   terms of bad faith regarding staff myself.
     16   sort of in fits and starts that began to and            16   Anything that I have done in here reflects
     17   continued to change.                                    17   comments or concerns that legislators or members
     18            And so the initial half of the report          18   of the public had.
     19   is sort of laying forth that intermingling of race      19        Q. So is it your position that this is an
     20   and politics that's so integral to the history of       20   objective overview of what happened?
     21   the Deep South in a state like South Carolina.          21        A. It is.
     22        Q. In pretty summary fashion, right?               22        Q. Regardless of adverbs or anything like
     23        A. Say again.                                      23   that describing the sequence of events as you saw
     24        Q. That was in sort of a summary fashion,          24   it?
     25   right, the Subsections 3A through 3C, before            25        A. That's right.

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      1        Q. From where did you obtain the                    1   firsthand knowledge of whether that's true or not?
      2   information staff were not as available to some          2         A. Yes. I'm just conveying what's being
      3   members as others?                                       3   said -- over and over again, though, I'll point
      4        A. This is from watching the hearings and           4   out -- but what's being said in the meetings and
      5   watching the meetings and reading the transcripts.       5   in the hearings. Obviously, I'm not in the
      6   So, for example, Senator Harpootlian said he had         6   Gressette Building. I'm not on Gervais Street.
      7   to hire his own map drawers. Indicated in his            7   I'm not there to physically personally to witness
      8   opinion staff were not available to him. Other           8   it firsthand.
      9   legislators at times expressed similar concerns.         9         Q. I know you're not in the Gressette
     10            So I, obviously, have -- I don't know          10   Building. But when you say he had a
     11   what goes on behind the scenes any more than            11   demonstrative -- by he, I mean Senator
     12   anyone else. So that determination, like anything       12   Harpootlian -- showing of not having access to
     13   else, is just from conveying what the legislators       13   staff, I want to get more clarity on what you
     14   themselves are saying.                                  14   relied on to base that opinion.
     15        Q. They didn't cite any examples of staff          15         A. Well, there is a meeting or -- I don't
     16   being unresponsive, did they?                           16   know which meeting it was. One of the meetings
     17        A. Other than, I mean, like I said,                17   where Senator Harpootlian and Mr. Opperman come in
     18   Senator Harpootlian said he had to hire his own         18   and explained the whole county plan.
     19   map drawer.                                             19            And there is an exchange -- I can't
     20        Q. Did he say why?                                 20   recall exactly who all was a part of it, but it's
     21        A. I don't know. I don't remember what             21   in the report -- where Senator Harpootlian, I
     22   all he said to that effect, but he's very               22   believe twice, insists that he was forced to have
     23   demonstrative about it.                                 23   his own map drawer.
     24            I will say, too, that just in terms of         24         Q. Sure. But do you recall any
     25   the staff dynamic, you know, Senator Rankin,            25   statements from him of examples in which he was
                                                        Page 47                                                       Page 49
      1   Chairman Jordan, they always have by their side,         1   denied access to the map room or even asked to go
      2   you know, Ms. Dean, Mr. Terreni, Ms. Benson. They        2   in the map room?
      3   will confer with them before they will answer            3        A. Not specifically instances where he
      4   questions, say, from black members. Oftentimes           4   would have said, you know, on such and such date I
      5   Mr. Terreni would himself be the one sort of             5   tried to enter the map room and was barred.
      6   having a contentious back-and-forth.                     6        Q. He never said he was denied access,
      7           Then, too, I would say look at the               7   though, at all?
      8   examples of when maps come out and, you know,            8        A. He never said specifically that he was
      9   Representative Bernstein, Senator Matthews, if           9   denied access, no.
     10   memory serves, they say, "I haven't seen this map.      10        Q. Or that he was denied access to staff,
     11   I have no idea where this came from. I don't know       11   right?
     12   why this even exists. I had no part in this."           12        A. I don't know that he would have said
     13           If memory serves, there was an                  13   specifically that he was denied access, no.
     14   exchange where Senator Matthews and Senator             14        Q. But staff would be better to ask that
     15   Harpootlian are saying, you know, "These outside        15   question, right?
     16   groups might have had more of a role in this than       16        A. Sure.
     17   I did in this, because I didn't have anything to        17        Q. Dr. Bagley, would you agree that the
     18   do with the drawing of this map."                       18   Senate held nine public hearings statewide about
     19           So where you referenced, I think, is            19   redistricting to solicit public input before map
     20   me trying to convey the impression that I got           20   drawing?
     21   that, you know, staffer working more closely with       21        A. Yes.
     22   leadership or perhaps even on their own, and they       22        Q. Would you agree that the Senate held
     23   were working with even, you know, members of the        23   at least six hearings on the Congressional
     24   minority on the committee.                              24   redistricting plan? I believe that would have
     25        Q. Would you agree that you have no                25   been five subcommittees and one full committee.

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      1        A. That sounds right.                               1   for scholarly publication.
      2        Q. Would you agree the House held eleven            2           So following in that pattern, being
      3   public hearings statewide about redistricting to         3   that I have entered a report now in the other
      4   solicit public input before map drawing?                 4   phase of this case, at the time that this was
      5        A. Yes, that sounds correct.                        5   being written it was my intention to, you know,
      6        Q. Would you agree that the House held at           6   incorporate that into the project that I was
      7   least four hearings on a Congressional                   7   already working on.
      8   redistricting plan? That would have been at least        8         Q. So in light of the research you have
      9   three subcommittees and one full committee.              9   conducted for this case, you want to expand upon
     10        A. That sounds correct.                            10   it in your ongoing manuscript; is that fair to
     11        Q. Can you think of any other recent               11   say?
     12   legislation in South Carolina that's received that      12         A. Yes.
     13   much process?                                           13         Q. Thank you. Next, down to the third
     14        A. No. Redistricting is, obviously, of             14   full paragraph on Page 2, Dr. Bagley, you say you
     15   paramount importance, so it's a time-consuming          15   have been certified as an expert by courts in all
     16   process.                                                16   previous voting rights litigation. That's twice,
     17        Q. Would you agree that the General                17   correct?
     18   Assembly here took that role seriously?                 18         A. That is in the Milligan case and the
     19        A. I would agree.                                  19   People First case in terms of when I was certified
     20        Q. Let's go through your report that we            20   and actually testified.
     21   previously marked. Let's start on Page 2. Do you        21         Q. Both were in the Northern District of
     22   have it in front of you, Dr. Bagley?                    22   Alabama; is that right?
     23        A. I do.                                           23         A. Yes.
     24        Q. First of all, are you okay? Do you              24         Q. On Page 3, can you please explain the,
     25   need a break or anything?                               25   quote, "ongoing record of discrimination" to which
                                                        Page 51                                                     Page 53
      1        A. I'm okay for now.                                1   you allude?
      2        Q. Just speak up if you need one. I'll              2         A. Where is that?
      3   try to work in a logical one, but I want to put          3         Q. Sure. It's at the bottom of the very
      4   the ball in your court, too. Just speak up.              4   first paragraph under Section 2, "Purpose,
      5        A. I appreciate it.                                 5   Methodology, Summary Findings."
      6        Q. Thank you, Dr. Bagley.                           6         A. Just meaning throughout history.
      7            So in that first paragraph regarding            7         Q. Can you put dates on that? What do
      8   your credentials, you mention, "Current projects         8   you mean by ongoing? Sorry, I'm not trying to --
      9   include a book manuscript." Do you see that?             9   I'm trying --
     10        A. I do.                                           10         A. Well, I would say, as I said in the
     11        Q. In your initial report in the House             11   report, I'm not trying to make the determination
     12   plan, it says, "Examining the history of the            12   for the court that there is, in fact, legally
     13   struggle for voting rights in the South," and it        13   speaking, discriminatory intent here. So I don't
     14   stopped there. In this version of the report it         14   mean to infer that by saying "ongoing," if that's
     15   now says, "Focussing on Alabama, Georgia, and           15   what you're getting at.
     16   South Carolina."                                        16         Q. That's fair. That's helpful. I
     17            What's the reason for that change?             17   appreciate that clarification. I wanted to see if
     18        A. As you probably know, anyone who does           18   you had specific examples in mind of what you
     19   this kind of work, particularly when you submit         19   meant by "ongoing."
     20   full-on, lengthy, detailed reports to court,            20         A. Well, anything that would be in the
     21   experts like Mr. Ruoff or Vernon Burton, people of      21   report that, say, is not from the redemption
     22   this nature, they will typically, you know, find a      22   period, but it's further into the 20th century and
     23   way to publish that and have, you know, something       23   into the latter half of the 20th century, you
     24   distilled, in the way that my book was distilled        24   know, into more recent years and decades.
     25   from my dissertation, a distilled version of that       25         Q. Do you have a most recent year in
                                                                                                      14 (Pages 50 - 53)
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      1   mind, an example?                                        1   may be things orchestrated by local delegations,
      2        A. I would say you could look at the fact           2   but they're still laws passed out of the General
      3   that the Confederate flag was only removed from          3   Assembly.
      4   the capital grounds in 2015 as a result of a             4        Q. Do you have any knowledge of how that
      5   racial massacre. I would point to the COVID              5   process works, of how folks vote on local
      6   litigation, whereby the state was forced to sort         6   legislation in South Carolina General Assembly?
      7   of open up access to absentee voting. I would            7        A. I understand it's like most State
      8   point to Civil Rights Division, Section 5                8   House legislators. There's a lot of deference to
      9   objections from the 2010s up to Shelby County.           9   local delegations.
     10   Those would be some examples.                           10           MR. TRAYWICK: Let's take a quick
     11        Q. With regard to the COVID-19                     11   break, if you don't mind.
     12   litigation, are you aware that the ruling in that       12           THE WITNESS: I was about to ask the
     13   case was that the laws in place by the district         13   same, so that works.
     14   court, I mean, as applied were unconstitutional         14           MR. TRAYWICK: Let's go off the record,
     15   because of COVID-19?                                    15   Madam Court Reporter.
     16        A. I'm not super, super familiar with the          16           (A recess was taken.)
     17   findings in terms of my memory on those cases, but      17           MR. TRAYWICK: Let's go back on the
     18   I understand it was similar to the litigation in        18   record.
     19   Alabama. I think it was the -- some of it got           19   BY MR. TRAYWICK:
     20   stayed, but I believe it was the witness                20        Q. Thank you, Dr. Bagley. We are back on
     21   requirement for notarization purposes that got          21   the record now. And like I said before, please
     22   overturned.                                             22   speak up if you want to take any other breaks. I
     23        Q. So you believe there was a notary               23   anticipate our next break will probably be for
     24   requirement on the witness requirement in South         24   lunch. Let's try to cover as much as we can until
     25   Carolina?                                               25   then. I don't anticipate having you here all day
                                                        Page 55                                                    Page 57
      1        A. No, I don't mean to say notary. I                1   by any stretch of the imagination. I've just got
      2   mean the witness.                                        2   to get through some of this stuff.
      3        Q. You mentioned earlier that litigation            3        A. Yes, sir. Sounds good.
      4   was stayed; is that correct?                             4        Q. Thank you for your patience.
      5        A. Yes.                                             5           Regarding some of those DOJ
      6        Q. By the United States Supreme Court?              6   objections, is it your position that all of them
      7        A. Yes.                                             7   related to local laws that were passed by the
      8        Q. Do you recall what the reasoning for             8   General Assembly?
      9   that was?                                                9        A. All of them, meaning literally all of
     10        A. I do not.                                       10   them?
     11        Q. Are you aware that the Supreme Court            11        Q. The local -- the objections to local
     12   has upheld numerous challenges to witness               12   laws.
     13   requirements outside the context of COVID-19?           13        A. No. Some of those were things that
     14        A. I am aware.                                     14   passed out of the General Assembly, but I wouldn't
     15        Q. Regarding the DOJ objections, were all          15   say every single one.
     16   of those sort of smattering of objections at the        16        Q. Speaking of pre-clearance -- we talked
     17   local level?                                            17   about this in your last deposition -- but you're
     18        A. It depends on how you view that. The            18   aware that President Obama's Department of Justice
     19   very last one, of course, as you know, is the           19   pre-cleared the plan in 2011, correct?
     20   photo ID situation, which we discussed in the last      20        A. Correct.
     21   deposition. But even the local ones, I think what       21        Q. You're aware that that plan also
     22   you have to realize is the Attorney General is          22   survived a Section 2 challenge and a racial
     23   objecting to laws that are passed by the General        23   gerrymandering challenge; is that correct?
     24   Assembly.                                               24        A. Yes, in the Backus case.
     25           So these may be local matters. These            25        Q. Are you suggesting that the fact that

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      1   a plaintiff files a challenge that is unsuccessful       1   history.
      2   is still evidence or indicative of discriminatory        2            Do you think this court has the
      3   intent of the plan at issue?                             3   ability to go behind the panel and the U.S.
      4         A. Not in and of itself. I think you               4   Supreme Court from Backus to determine whether the
      5   have to consider something like that within the          5   2011 plan was a racial gerrymander and counter --
      6   bigger picture, you know, as we would never take         6            MR. INGRAM: Objection.
      7   any one single piece of evidence and, you know,          7            THE WITNESS: I think that goes beyond
      8   take that out of context and rely upon that              8   the scope of what I've been asked to do. I've
      9   exclusively. But I think if you look at the fact         9   been asked to put before the court anything that I
     10   that a challenge was brought then, after all these      10   think is relative to a determination of
     11   other challenges in previous decades, and then          11   discriminatory intent using the Arlington Heights
     12   what people are saying now, I think it's                12   framework. That's what I have done.
     13   significant.                                            13            To that extent, I discuss Backus. To
     14             Also, too, if you look at what members        14   that extent, I put forth before the court the
     15   of the public and the legislator are saying in          15   things that people are saying that they think are
     16   these hearings and in these meetings, in their          16   relevant since that decision has been made, if
     17   minds, the sort of legal landscape, if you will,        17   that makes sense.
     18   regarding redistricting has changed since that          18            It's certainly not for me to make a
     19   time. And, you know, in their minds, there's some       19   legal argument regarding where the law stands post
     20   things that could be done differently.                  20   Backus, post Shelby County, or whatever.
     21         Q. Are you referring to the                       21   BY MR. TRAYWICK:
     22   non-retrogression after Shelby County V. Holder?        22        Q. Dr. Bagley, if we could turn back to
     23         A. Yes, that would be one of the things           23   Page 3 of your report. Can you explain what you
     24   that people mention that -- you know, for example       24   mean by, quote, "Wider historical and
     25   it was no longer necessary to remain -- to              25   contemporaneous contexts," end quote?
                                                        Page 59                                                      Page 61
      1   maintain CD 6 as such. And then given that, you          1        A. This is in the first full paragraph
      2   know, for example, they would -- in their minds,         2   under Roman II?
      3   there would not be a need to, you know, begin by         3        Q. Yes, sir.
      4   splitting black people off of North Charleston and       4        A. That just means to place the sequence
      5   putting them with concentrations of black voters         5   of events within the historical context. Again,
      6   in Columbia, just for example.                           6   that's the Arlington Heights framework to say is
      7        Q. Regarding that legal argument, are you           7   there -- what's the historical background,
      8   aware that plaintiffs in Backus, after Shelby            8   particularly if it reveals a series of official
      9   County, sought to revise the lawsuit to make those       9   actions taken for immediate purposes. And then,
     10   arguments? Were you aware of that?                      10   of course, you discuss the sequence of events, and
     11        A. That's Senator Harpootlian?                     11   those are elemental to this framework.
     12        Q. Yes, sir.                                       12        Q. Do you think the discrimination or
     13        A. I'm not as familiar with that                   13   discriminatory statements need to be probative of
     14   particular filing.                                      14   the decision at issue; that is, redistricting?
     15        Q. So are you aware that they lost and             15        A. Could you rephrase the question, I'm
     16   that the Supreme Court still affirmed?                  16   sorry?
     17        A. If that's what you're presenting. I             17        Q. Sure. The discrimination or past
     18   don't remember after -- you're talking about after      18   discrimination on which you relied, do you think
     19   the dispensation of Backus?                             19   it should be probative or related to
     20        Q. Yes. They tried to revive the                   20   redistricting, which is the decision that is under
     21   challenge in light of Shelby County V. Holder.          21   challenge right now?
     22   Were you aware of that?                                 22        A. Not exclusively.
     23        A. Yes.                                            23        Q. What other examples did you take into
     24        Q. Do you think that this court -- I               24   account?
     25   mean, we're in a court of law. I understand your        25        A. Historical discrimination?

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      1        Q. Just in general?                                1            But just to answer your question,
      2        A. I'm asking. Maybe ask the question              2   again, I became aware of that framework through
      3   again.                                                  3   research, and then I'd actually prepared a report
      4        Q. Sure. What other examples did you               4   using that framework several years ago.
      5   rely on, other than the redistricting context?          5        Q. Do you remember when that was,
      6        A. Well, I tried to focus on voting                6   Dr. Bagley?
      7   rights specifically. For example, I didn't talk         7        A. Time has gotten weird with COVID. Let
      8   about segregation.                                      8   me think. That probably would have been around
      9        Q. That's where a lot of the focus of              9   2018, maybe.
     10   your research has been in the past, right?             10        Q. Do you recall in which court that
     11        A. Initially, yes.                                11   would have been pending?
     12        Q. Do you think that DOJ's past                   12        A. I don't remember if it was Middle
     13   objections to local government laws can be             13   District or Northern District of Alabama, but one
     14   attributed to the South Carolina General               14   of the two. But the report was never officially
     15   Assembly's redistricting decisions this cycle?         15   submitted into the record.
     16        A. I think that insofar as they're in my          16        Q. By whom were you retained in that
     17   report, they're relevant to the bigger picture. I      17   case?
     18   don't think everything has to have a direct line       18        A. LDF.
     19   drawn to the General Assembly's passage of this        19        Q. Has that been the entity to retain you
     20   redistricting plan. I think the Arlington Heights      20   in all of the matters in which you have testified
     21   framework asks us to sort of present this broader      21   as an expert or been retained as such?
     22   mosaic, if you will, that will include that.           22        A. Yes.
     23        Q. Can you explain upon what accepted and         23        Q. Have you ever testified in favor of
     24   reliable methods you relied to sort of draw the        24   any government defendants?
     25   line between those things?                             25        A. Not yet.
                                                       Page 63                                                      Page 65
      1        A. I think the framework allows us to do      1              Q. Turning back to your report, how did
      2   it. I think, you know, we present -- as I have     2        you choose Factors 2, 3, 4, and 5 in this case?
      3   here -- the historical background, and you carry 3                A. Those are the ones that I thought were
      4   that forward to the present as you can, and then 4          most relevant and that I thought I could tackle
      5   you discuss the specific sequence of events as it 5         most effectively, given the timeframe that I had
      6   relates.                                           6        to work with.
      7        Q. How did you know to use Arlington          7              Q. The fourth factor was not in your
      8   Heights?                                           8        House report, was it?
      9        A. So when I started doing research on        9              A. I don't recall, genuinely. If I
     10   voting rights litigation, I read a lot of case    10        didn't list it specifically in the report, I think
     11   law, and I became aware of the sort of general 11           I at least talked about procedural departures.
     12   structure of a lot of these voting rights cases.  12              Q. We'll get to that in a minute.
     13   This is when I -- the transition was sort of I'd  13                 Do you agree that the Arlington
     14   done a lot of work in the archives of Judge Frank 14        Heights test is a legal analysis for the court?
     15   Johnson, a district court judge and appellate     15              A. I would agree with that. For my
     16   court judge from Alabama.                         16        purposes, though, it just establishes as an expert
     17            I started researching the Library of     17        the sort of approach that we take to drafting a
     18   Congress's voting rights cases. So that kind of 18          report and analysis.
     19   began my journey in this.                         19              Q. Can you explain what approach you took
     20            Then, as I think we touched upon in      20        here?
     21   the last deposition, I believe I told you that I  21              A. I took as my point of departure these
     22   actually -- my very -- my first report that I     22        factors.
     23   wrote as an expert was an Arlington Heights       23              Q. What else?
     24   framework report. It was never entered into the 24                A. I undertook an inquiry based upon
     25   record. There was a settlement in that case.      25        these factors. I examined, you know, works of

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      1   secondary sources that I was familiar with. Those      1         A. I have not been a part of it or party
      2   drew me to some different sources that I was not       2   to it myself, no.
      3   previously familiar with. I undertook what amount      3         Q. Have you ever worked for a state
      4   of primary source researches I could, and, of          4   legislature before?
      5   course, I reviewed the sequence of events, as          5         A. No.
      6   available, in the public record.                       6         Q. Have you ever worked for any member of
      7        Q. Turn with me, if you don't mind, to            7   Congress or the United States Senate?
      8   Page 4 of your report.                                 8         A. I have only worked as an historian.
      9        A. Okay.                                          9         Q. Have you ever been part of
     10        Q. Thank you. I just want to make sure           10   redistricting litigation before your testimony in
     11   we're on the same page. You said there right at       11   the Alabama case this cycle?
     12   the end of Section 2 that you, quote, "Decidedly      12         A. No. I was still in graduate school at
     13   resist reaching final conclusions, which is for       13   the time of the 2010 redistricting cycle.
     14   the court to do," end quote.                          14         Q. Do you agree you have no personal
     15            Did I read that correctly?                   15   experience in the redistricting process?
     16        A. Yes.                                          16         A. Personal, hands-on experience, no.
     17        Q. So you take no opinion at all on              17   That would be correct.
     18   whether discriminatory intent motivated the South     18         Q. What is your understanding of how the
     19   Carolina General Assembly in the passage of that      19   process normally works?
     20   plan?                                                 20         A. Well, I think there are elements of it
     21        A. I can't reach that final conclusion.          21   that worked as they normally would, as they did in
     22   What I can say is that the evidence might tend to     22   2010. For example, the hearings being held. But
     23   support that.                                         23   what I'm flagging in terms of departures is when
     24        Q. Are we just parsing words here?               24   legislators on the committee say, "I don't know
     25        A. That's a lot of the law, isn't it?            25   where this map came from"; when legislators on the
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      1        Q. I mean, what is your opinion? That's           1   committee say, "I don't understand why this was
      2   why I'm deposing you today, to find out what your      2   put out before the holiday and then we come back
      3   opinions are.                                          3   and now we have to vote on it." You know, when,
      4        A. My opinion is that there is quite a            4   for example, Representative King says, "I don't
      5   bit of evidence here that the court could use to       5   understand why I'm not chairing this meeting," and
      6   reach a finding of discriminatory intent.              6   so forth.
      7        Q. You agree that it's the court's job to         7            These are things to me that are being
      8   conduct the Arlington Heights analysis, correct?       8   flagged by the legislators themselves as
      9        A. Yes.                                           9   procedural departures.
     10        Q. Can you please explain what you mean          10        Q. Let's take those in order. Number
     11   by "procedural irregularities"?                       11   one, don't know where the map came from. Staff
     12        A. So departures from normal practice,           12   drew all the maps here, right?
     13   departures from, sort of, best practices and good     13        A. That's my understanding.
     14   government and so on. And in this case, in            14        Q. So notwithstanding they don't know
     15   particular, things that members of these              15   where the map came from, can you explain how
     16   legislative committees have flagged themselves as     16   that's a procedural departure?
     17   irregularities.                                       17        A. Let me rephrase. Representative
     18        Q. Are you familiar generally with the           18   Bernstein, for example, says I -- at one point, "I
     19   legislative process in South Carolina, how a bill     19   didn't know that we were even drafting a second
     20   becomes a law?                                        20   map. I don't understand why we were drafting a
     21        A. Generally, yes.                               21   second map. I had no idea that this was going
     22        Q. Have you ever been part of                    22   on." And she's on the committee. Senator
     23   redistricting before?                                 23   Matthews had similar comments at another point.
     24        A. You mean before this cycle?                   24            So those are things that strike me as
     25        Q. Yes.                                          25   irregularities when you have members of a

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      1   committee that are indicating that they have not          1   the existence of a major, you know, piece to the
      2   been at all a part of the process and in a                2   process before it went online?
      3   legislative committee meeting for having been             3        Q. Do you know what the process behind
      4   blindsided.                                               4   the scenes was or why?
      5        Q. Do you know whether they asked to be a            5        A. No. I would love to know, but therein
      6   part of the process?                                      6   is the issue.
      7        A. All I know is what they -- I mean, if             7        Q. But because you don't know, can you
      8   they had asked and then they're expressing dismay,        8   offer an opinion one way or the other as to
      9   one presumes that they would have said, you know,         9   whether there was some nefarious motive or
     10   I had asked to X, Y, or Z. Again, it's -- if             10   departure from normal procedure by releasing it as
     11   they're expressing frustration that things are           11   soon as it was available?
     12   being done without their input, then presumably          12        A. All I can do is convey what the
     13   they wanted to have input.                               13   members of the committee are saying. That's what
     14        Q. They were given input on it, weren't             14   I have done.
     15   they?                                                    15        Q. She is a member of the minority party
     16        A. At what stage, is the question,                  16   that voted against this legislation, correct?
     17   though. I mean, it's -- specific examples are            17        A. That's correct.
     18   these two specific examples that they're saying          18        Q. Turning to your second alleged
     19   they didn't have anything to do with it.                 19   departure from procedure, publishing things on
     20        Q. Is it your position that every single            20   holidays. I'll go back, again, to my question
     21   member of the subcommittee must be in the map room       21   earlier: I mean, are you suggesting that staff
     22   at all times for a map to be drafted?                    22   acted in bad faith on when they published maps or
     23        A. No, but if we're talking about two               23   scheduled meetings?
     24   major maps, one being published and then without a       24        A. I am presenting to the court where
     25   second one being literally published and then            25   members of the committee have expressed their
                                                         Page 71                                                     Page 73
      1   members of the committee finding out about it at          1   dismay at that kind of scheduling.
      2   the same time as the public, that strikes me as a         2         Q. So members of the Democratic Party
      3   departure and irregularity.                               3   were not pleased with the scheduling, and you
      4         Q. What's normal practice there then? Do            4   think that's a departure from legislative
      5   you know?                                                 5   procedure? Is that your opinion?
      6         A. Well, according to Representative                6         A. I think for it to happen multiple
      7   Bernstein, it would be that she would be informed         7   times and for multiple people to complain about
      8   before members of the public that staff were              8   it, and if they are actually on a bipartisan
      9   producing a second map.                                   9   committee that's supposed to be cooperating with
     10         Q. Do you think it's a bad idea to have            10   one another, yes, I think that deserved to be
     11   options?                                                 11   discussed.
     12         A. Meaning in terms of the second map?             12         Q. Do you know whether there was any
     13         Q. In general.                                     13   coordination to -- between and amongst members of
     14         A. Do I think it's a bad idea to have              14   the Democratic Party to repeatedly voice those
     15   options? No. I think it's great to have options.         15   objections?
     16         Q. So she had an opportunity to comment            16         A. You cut out on me. To do what?
     17   on that second option; did she not?                      17         Q. Sorry. Do you know whether there was
     18         A. After it was published.                         18   any coordination between and amongst members of
     19         Q. So what, in your view, is the problem?          19   the Democratic Party to voice those objections?
     20         A. In her view, the problem was that as a          20         A. I'm not privy to any internal
     21   member of the committee she was finding out about        21   discussions that they would have had.
     22   it at the same time as the public.                       22         Q. Turning to Mr. King, I mean, are you
     23            I mean, if you are a member of a                23   saying that this entire process is tainted because
     24   committee that's responsible for something,              24   one member did not preside over one of the dozens
     25   wouldn't you think that you would at least know of       25   of meetings?

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      1         A. Of course not. No. I just present              1   Senator Rankin discussing the process in the House
      2   that as one of a number of examples.                    2   and suggesting they've got a guy in a room that
      3         Q. Dr. Bagley, do you have any opinions           3   nobody knows where it is is cooking things up.
      4   as to whether the map drawing process, this cycle,      4   You know, when it's multiple voices in a chorus,
      5   differed in any way procedurally from the previous      5   then I think we can say this is significant.
      6   cycles in South Carolina?                               6            If it were just one single person
      7         A. Could you restate it, Mr. Traywick,            7   saying at one point in time, "I think there's a
      8   I'm sorry?                                              8   lack of transparency," then that's not what you
      9         Q. Sure. I'll be glad to.                         9   would base it on. That's, again, you know, just a
     10            Do you have any opinions as to whether        10   common standard.
     11   the map drawing process this cycle differed in any     11        Q. Dr. Bagley, did you take into account
     12   material way from the previous cycles in South         12   the fact that a lot of those voices of
     13   Carolina?                                              13   transparency concerns came from plaintiffs'
     14         A. I understand it was generally                 14   counsel here?
     15   analogous. There were some differences in terms        15        A. I understand that that was -- those
     16   of, like, time of day meetings were held, maybe.       16   were among the voices, yes.
     17   The things that we're talking about here, like the     17        Q. Are you aware that they filed
     18   example with Representative King.                      18   litigation against the legislative leader at that
     19            I'm, obviously, familiar with the             19   point?
     20   dispensation of Backus. You know, general              20        A. Yes, I'm aware that they were -- you
     21   awareness of the hearings that were held in that       21   know, a couple of times testified as part of that
     22   cycle and the process. Obviously, not as               22   chorus at a couple of different hearings, if
     23   intimately familiar with that cycle as this one.       23   memory serves.
     24            But I'm not asked to opine on that            24        Q. Are you aware of any coordination
     25   cycle anyway or regardless, just insofar as it's       25   between and amongst folks who testified about the
                                                       Page 75                                                     Page 77
      1   part of the framework for the report.                   1   lack of transparency?
      2         Q. Just for your edification, I'm trying          2        A. I'm not privy to any private
      3   to -- there's a lot of criticism in here about          3   conversations that they may have had.
      4   lack of transparency and things like that. So I'm       4        Q. Would that affect your analysis if
      5   trying to figure out the standard on which you          5   there was, in fact, coordination?
      6   relied to make that opinion.                            6        A. Sure.
      7            What do you think the proper process           7        Q. Obviously, you said you weren't
      8   was, and upon what historical or reliable methods       8   retained to analyze the last cycle's redistricting
      9   did you rely in formulating that standard?              9   process, correct?
     10         A. So I go back to our basic principle, I        10        A. No. Systematically, no. I discuss it
     11   mean, going all the way back to gravitas (sic). I      11   in the report as part of this history of getting
     12   mean, you don't take any one source and, you know,     12   us up to the present.
     13   base a conclusion or opinion on that single source     13        Q. So you don't have any opinions
     14   out of context.                                        14   regarding whether this process was consistent with
     15            So if I were to review this whole             15   prior practice or whether it was abnormal?
     16   record and one single legislators or one single        16        A. I understand that there is probably a
     17   member of the public said, "I don't think you guys     17   general consistency, but what I'm being asked to
     18   are being totally transparent here," you know, I'm     18   do is review the record relevant to this cycle and
     19   not going to base an opinion on that. But when         19   identify, you know, what's asked for in the
     20   it's within the context that I've presented and        20   Arlington Heights framework.
     21   then it's multiple people, multiple members of the     21        Q. Just so I'm clear -- I want to make
     22   public and multiple members of these legislative       22   sure. This is my only time or might be the only
     23   committees saying, "I don't think there's              23   time to talk to you -- your three objections that
     24   transparency, and I don't know what's being done       24   I wrote down are that, you know, some members said
     25   in a, quote unquote, 'back room,'" you know, even      25   on the record they didn't know where maps came

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      1   from, some maps were dropped around the holidays,       1         A. Yes.
      2   and Representative King complained that he did not      2         Q. Is that how any legislation is
      3   preside over the Judiciary Committee meeting for        3   crafted?
      4   the House.                                              4         A. Of course not.
      5            Are there any other examples that you          5         Q. So legislators and their staff don't
      6   claim demonstrate procedural departure from the         6   type out in real time what the language of the
      7   normal procedure?                                       7   bill is going to be, right? Work needs to be done
      8        A. If there are, they're in the report.            8   ahead of time, and then it's introduced; is that
      9   I don't remember everything that I flagged as a         9   the normal process for legislation?
     10   potential procedural departure in the report. So       10         A. Generally speaking, but I would expect
     11   I couldn't speak to that with 100 percent              11   at least that, you know, members of a very
     12   certainty without flipping through that whole          12   important committee would be equally involved in
     13   "Sequence of Events" section.                          13   the primary work of that committee, which appears
     14        Q. Is it your opinion that those three            14   not to have been the case here.
     15   examples render the process invalid under an           15         Q. How is that not the case? Weren't
     16   Arlington Heights factor?                              16   they at every meeting that they decided to show up
     17        A. No. I think they're simply among the           17   for and for which they didn't have leave?
     18   things that a court would consider.                    18         A. Yes, but none of the work was actually
     19        Q. You agree that this process was                19   done at the meetings. Like, none of it. It's all
     20   generally consistent with prior cycles, correct?       20   done in the map room, and it's done by staff, in
     21        A. I think there are elements of it that          21   consultation, evidently, with only members of
     22   were.                                                  22   majority.
     23        Q. I have written down "generally                 23         Q. Do you know whether members of the
     24   analogous" and "general consistency." Do you           24   minority asked to be present in those meetings?
     25   disagree with those prior statements?                  25         A. Asked to be present at which?
                                                       Page 79                                                     Page 81
      1        A. I would say, in terms of hearings --            1        Q. At any time where maps were being
      2   the public hearings being held, members of the          2   drawn?
      3   public coming forward and saying, "There's been         3        A. According to what they had to say at
      4   packing and cracking of black voters," members of       4   the meetings that I saw, they -- you know, if
      5   the legislator saying the same, people expressing,      5   you're expressing dismay that you didn't have any
      6   you know, transparency concerns and that kind of        6   input or any involvement and, presumably, you
      7   thing, yes.                                             7   would have wanted to have had that input or
      8        Q. Can you concede that everyone had an            8   involvement prior to.
      9   opportunity to be heard in this redistricting           9        Q. Do you know whether members of the
     10   cycle?                                                 10   majority were all present at the time the maps
     11        A. I think there was wide opportunity for         11   were drawn?
     12   the submission of input or feedback, yes.              12        A. Well, I know that none of them
     13        Q. Thank you.                                     13   complained after the fact about having a lack of
     14           Do you concede it would be unworkable          14   input.
     15   to draft a map live with all 306 legislators in        15        Q. Someone has to draw it, right?
     16   the room?                                              16        A. Sure.
     17        A. Sure. Yes.                                     17        Q. So you think that seven people from
     18        Q. Do you concede it would have been even         18   all different competing perspectives ought to be
     19   more unworkable to draw a map live with all 124        19   in there with the map drawer and staff to draw in
     20   House members in the room?                             20   real time?
     21        A. Absolutely.                                    21        A. I would think that the staff
     22        Q. Do you concede it would have been              22   cartographer or the chairman of the committee
     23   unworkable for map drawer to draw a map live in        23   would at least seek input from the members of the
     24   front of members of the public with conflicting        24   committee before a map is published to the public.
     25   views?                                                 25        Q. The maps that were published to the

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      1   public were, quote, "A starting point," were they       1   upon myriad sources, and widened that, as
      2   not? Isn't that in your report?                         2   possible, in terms of sources.
      3        A. That is how they were characterized,            3            And then, of course, one of the things
      4   yes.                                                    4   that historiography means is simply history that's
      5        Q. Do you have any reason to dispute that          5   been written by historians. And so, obviously,
      6   characterization?                                       6   there's a lot of that in the first half of that
      7        A. No. But I know it was pointed out by            7   report where I talk about the historical
      8   members of the committee that given that fact, if       8   background. We rely on historical monographs,
      9   the first House map was a starting point, they          9   publications that have been peer reviewed and so
     10   questioned then what was the point for having a        10   on for their veracity and their value.
     11   second House map? Why not simply have a                11        Q. That would have been on your
     12   discussion and amend the existing map?                 12   "Historical Background" section only?
     13            "If it's a starting point," they said,        13        A. Not necessarily, no, because the
     14   "what is the purpose of going back and drawing an      14   sequence of events, even though I'm relying upon
     15   entirely different map," which everyone agreed was     15   these transcripts, videos, public hearings, that's
     16   essentially a facsimile of the Senate map, which       16   within the context of everything else that I have
     17   was widely panned by members of the public.            17   put forth prior to.
     18        Q. Didn't the Senate also consider a              18        Q. You put in the report in different
     19   second entirely different map that Harpootlian had     19   parts, though, right? Don't you agree that
     20   drawn?                                                 20   Pages 25 through 49 are different than the
     21        A. They did.                                      21   "Historical Background" section?
     22        Q. So is it a problem to have options?            22        A. Sure. Yes.
     23        A. No.                                            23        Q. In fact, they're different factors
     24        Q. Dr. Bagley, do you know whether the            24   under the Arlington Heights analysis, aren't they?
     25   South Carolina General Assembly in any prior           25        A. That's correct.
                                                       Page 83                                                      Page 85
      1   redistricting cycle has ever provided specific          1        Q. Is it your contention that the same
      2   notes and feedback on every single map submitted        2   standards apply to your recitation of the history
      3   by the public?                                          3   as to your review of the current legislative
      4        A. Could you restate? It's a long                  4   record?
      5   question, sorry.                                        5        A. Yes. But I would say we're looking
      6        Q. Sure. Do you know whether the General           6   at -- it's not just any one public hearing. It's
      7   Assembly in any prior redistricting cycle has ever      7   not just any one meeting of any one subcommittee
      8   provided specific notes and feedback on publicly        8   or committee. It's just as you enumerated
      9   submitted maps?                                         9   earlier, this wide swath of hearings and meetings
     10        A. I don't think that they would provide          10   and, again, a chorus of voices of members of the
     11   detailed, lengthy feedback on every single             11   public and members of these legislative committees
     12   publicly submitted map, no.                            12   within the historical context that I have
     13        Q. Do you think that's required?                  13   provided.
     14        A. Not necessarily.                               14        Q. Sure. Within that sort of wide range
     15        Q. Because you know being a member of the         15   of hearings, is it your contention that the
     16   General Assembly is a part-time job, right?            16   process is generally consistent with prior cycles?
     17        A. Sure. Yeah.                                    17   Did I hear that correctly, or generally analogous?
     18        Q. Dr. Bagley, on Page 5 of your                  18        A. In terms of holding public hearings
     19   report -- I'm sorry, Page 4. Sorry about that.         19   across the state to receive input and then members
     20           Can you please explain the, quote,             20   of the public expressing that they thought not a
     21   "common standards of historiography," end quote,       21   lot of input had actually been acted upon.
     22   on which you relied to formulate your opinions in      22        Q. Aside from that, how about legislative
     23   this case?                                             23   procedures? Are you familiar with legislative
     24        A. Well, in part, that's what I was               24   procedure in South Carolina or not?
     25   talking about a moment ago in terms of reliance        25        A. Generally speaking, yes.

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      1         Q. Any departures there?                            1   it's still relevant, and I think it's
      2         A. Not in terms of, you know, a bill                2   indispensable, in fact.
      3   being introduced in one House or the other and            3         Q. There on Page 6, in the second full
      4   eventually passing out of that entire body.               4   paragraph, at the end of it you state that, "The
      5         Q. So in looking at that factor, would              5   1895 constitution," quote, 'remains the state's
      6   you agree that the court has to look at the               6   operative constitution to this date,'" end quote.
      7   totality of the circumstances?                            7             From where did you obtain that
      8         A. Yes.                                             8   information?
      9         Q. I don't want to get into the history;            9         A. Well, I understand that it's been
     10   let me make clear on the front end, Dr. Bagley.          10   amended a number of times. I know the West
     11   I'm certainly not here disputing South Carolina's        11   Committee has undertaken a systemic revision of it
     12   troubled history as relating to race, particularly       12   and so on.
     13   relating to the Civil War and these others eras.         13         Q. Have you ever studied the West
     14             In looking at this section, it's a             14   Committee?
     15   little light on sources. I want to know where you        15         A. Not closely.
     16   obtained information. Entire paragraphs cite one         16         Q. Would you agree that the 1895
     17   footnote. Is every sentence in those paragraphs          17   constitution has been amended hundreds of times
     18   related to the sources?                                  18   since it was ratified initially?
     19         A. Yes. So a pretty common practice for            19         A. I would. And I'm sure black South
     20   me is not to litter a paragraph with footnotes.          20   Carolinians are very grateful for that.
     21   So the first paragraph in a section is                   21         Q. Sure. And do you know who was on the
     22   introductory, apart from the quotation from              22   West Committee?
     23   Colleton.                                                23         A. Not off the top of my head.
     24             The second paragraph goes to                   24         Q. Have you ever read the West Committee
     25   Footnote 3. It looks like there are two                  25   report? I know it's a long one.
                                                         Page 87                                                     Page 89
      1   historical monographs cited there that would cover        1         A. Not entirely, no.
      2   the information in that paragraph.                        2         Q. Is it really accurate to say that the
      3        Q. So that's not common practice in                  3   1895 constitution remains the operative
      4   historical text, to source your materials with            4   constitution to this day? A little more nuanced
      5   footnotes after each sentence?                            5   than that, right?
      6        A. After each sentence, no.                          6         A. I mean, I suppose it's -- it's
      7        Q. So is that just the --                            7   still -- it has been amended numerous times, as
      8        A. If I were quoting directly,                       8   you just said. I don't -- obviously, I don't mean
      9   absolutely. But no, if you're talking about               9   to suggest there that it exists in the form that
     10   summarizing a period of history, and then to cite        10   it existed during the redemption period. I think
     11   two authorities on that would be common practice         11   everyone would understand that.
     12   at the end of the paragraph.                             12         Q. Thank you for clarifying that. It was
     13        Q. Let's look at Page 5, the first                  13   a little unclear for me from the report.
     14   paragraph under "Reconstruction." Each of those          14             THE WITNESS: Mr. Traywick, do you
     15   sentences contains quotes, correct?                      15   think it's a useful time to take a lunch break, or
     16        A. Yes. Those are from -- that's all                16   do we need to maybe plow through another half
     17   from Foner, and the pages that are cited, 199 and        17   hour?
     18   200.                                                     18             MR. TRAYWICK: Let's go off the record
     19        Q. If you would turn with me, please, to            19   real quick.
     20   Page 6 of your report. First of all, with regard         20             (A recess was taken.)
     21   to the pre-Civil War and reconstruction and              21             MR. TRAYWICK: Back on the record. And
     22   redemption, I mean, certainly you're not trying to       22   just let me know whenever it comes time for lunch,
     23   draw a straight line from those periods to the           23   and we'll take a longer break at that time.
     24   present, right?                                          24             THE WITNESS: Thanks.
     25        A. No, not a straight line. But I think             25             MR. TRAYWICK: I'm going to try to

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      1   speak up. I'm not screaming at you, but I hear        1   conducting your primary research for this case?
      2   I'm having audio issues on the court reporter's       2        A. Most of them. There might be one or
      3   end, so I'm trying to address it.                     3   two that I read for the first time as part of my
      4            THE WITNESS: Got it.                         4   work on this case.
      5   BY MR. TRAYWICK:                                      5        Q. Do you recall what you might have read
      6        Q. On Page 10 of your report, you discuss        6   for the first time for this case?
      7   various voting practices that have come under         7        A. Not off the top of my head. I mean, I
      8   fire, such as "at-large elections" and                8   would have to flip through again.
      9   "single-shot voting."                                 9        Q. As for the others, do you recall when
     10            You do you think that all at-large          10   you would have read those and for what purpose?
     11   elections negatively affect minority voters?         11        A. It would vary. I mean, some of them
     12        A. I think historically they have been          12   might be from graduate school. Some of them from
     13   used, along with other devices, like majority vote   13   my research in terms of voting rights when I
     14   requirements and number placed requirements, which   14   started to work on the second project after the
     15   taken all together typically would be seen as sort   15   book was -- first book was published. So, I mean,
     16   of quintessential vote dilution scheme.              16   it varies probably widely.
     17        Q. Would you agree that it depends on the       17        Q. Do you recall, Dr. Bagley, from where
     18   locality at issue, though, and the composition of    18   you obtained your information about prior
     19   that locality?                                       19   redistricting cases?
     20        A. Sure. Yes.                                   20        A. So that, you know, is pretty easy. If
     21        Q. If you would, Dr. Bagley, what South         21   you read the Backus case, the opinion, they're
     22   Carolina-specific sources did you rely on to         22   going to talk about the Colleton case. If you
     23   sketch your historic background and for your         23   read the Colleton case, they're going to talk
     24   opinions in this case, aside from the case law?      24   about Burton. If you read Burton, they're going
     25        A. This was reflected in the footnotes,         25   to talk about the '80s cycle, and they're going to
                                                     Page 91                                                      Page 93
      1   so ...                                              1     talk about Twiggs. And Twiggs are going to talk
      2        Q. I see a lot, for example, about the         2     about O'Shields.
      3   New South and things of that nature. But do you     3              So it's easy to kind of weave your way
      4   recall any South Carolina-specific sources?         4     back through. Two, there's secondary sources that
      5        A. I see Dr. Lau here, Democracy Rising:       5     discuss that history as well, such as Professor
      6   South Carolina and the Fight for Black Equality.    6     Burton's, Professor Rupe's work and so on.
      7   Reference to Encyclopedia of South Carolina. BOT, 7             Q. Did you draft all of these sections by
      8   who is cited by Professor Woodard in his report in  8     yourself, or did you receive any assistance?
      9   the House case. What else?                          9           A. No. This work is all mine.
     10           There's a chapter dedicated to South       10           Q. The entire report?
     11   Carolina in The Quiet Revolution book. Obviously, 11            A. Correct.
     12   there is Judge Gergel's book cited.                12           Q. Speaking of Backus, I recall from your
     13        Q. Did you read that book?                    13     last deposition you had about a sentence dedicated
     14        A. Yes. Clive Webb, there's a chapter on      14     to it, but you beefed it up this time. Is there
     15   South Carolina in that book, if memory serves.     15     any reason for that?
     16        Q. Dr. Bagley, do you recall whether you      16           A. I had more time, you know, to get back
     17   relied on any sources written by Cole Blease       17     into that. I had a little bit more time to go
     18   Graham, Walter Edgar, or Professor Underwood?      18     back and read that and speak a little more
     19        A. I don't believe I did.                     19     thoroughly about it.
     20        Q. With regard to the South                   20           Q. On Page 18, you mention that the plan
     21   Carolina-specific sources that you mentioned, did  21     at issue in Backus was pre-cleared by Obama
     22   you read those for the first time in connection    22     Justice Department under the standard of
     23   with your work on this case?                       23     non-retrogression; is that correct?
     24        A. No.                                        24           A. Yes.
     25        Q. Which ones had you read before             25           Q. But it also cleared the Federal Court

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      1   on other constitutional grounds and under                1        Q. On Page 22, Dr. Bagley, if you
      2   Section 2 as well, correct?                              2   wouldn't mind turning there with me. Now we're in
      3        A. Correct.                                         3   sort of the DOJ objections under Section 5. I
      4        Q. On Page 19, you quote the Backus court           4   think earlier in your report you mentioned that
      5   as saying, "Defendants were able to disprove that        5   DOJ had objected 122 times by 2012; is that right?
      6   race was the predominant factor by demonstrating         6        A. That sounds right.
      7   that their decisions adhered to traditional              7        Q. Do you know -- you then discuss the
      8   race-neutral principles."                                8   local objections, but I'm missing a lot of dates.
      9           Do you see that?                                 9   Do you know the date ranges in which these
     10        A. I do.                                           10   occurred and when the most recent ones were?
     11        Q. I think I mentioned earlier, were you           11        A. I think between 2000 or late '90s and
     12   aware that plaintiffs tried to revive that              12   2011 or just before Shelby County, there's like a
     13   challenge after the U.S. Supreme Court decided --       13   dozen or so. A lot of them are from the 1980s and
     14        A. Shelby County, yes.                             14   early '90s. You know, obviously, would have begun
     15        Q. They lost again, right?                         15   in 1970s.
     16        A. That's right.                                   16        Q. That would have been following passage
     17        Q. How does that affect your analysis              17   of the Voting Rights Act of 1965?
     18   about the applicability of non-retrogression to         18        A. Right.
     19   this plan as discussed in your report?                  19        Q. In fact, your report says that many of
     20        A. Could you ask the question again or             20   these objections came between the passage of the
     21   rephrase?                                               21   VRA and its renewal in the 1980s; is that right?
     22        Q. Sure, I'll be glad to. It might not             22        A. Correct.
     23   have been a good one.                                   23        Q. Can you explain for me the relevance
     24           The subsequent denial of that claim             24   of those objections from 40 to some of them
     25   from the Backus plaintiffs, did you take that into      25   70 years ago, how those relate to the General
                                                        Page 95                                                     Page 97
      1   account in discussing the applicability of          1        Assembly's redistricting decisions in this case?
      2   non-retrogression for purposes of this              2              A. Well, the framework asks us to look at
      3   redistricting cycle?                                3        the history of discrimination, and it asks us to
      4        A. No. I just know that there are a            4        present to the court this big picture, this broad
      5   number of people, and not just Senator              5        mosaic.
      6   Harpootlian, who were -- who have made the case in 6                  If you're discussing the history of
      7   public hearings or in these meetings that it was    7        voting rights in South Carolina, I mean, to me
      8   their opinion that you could -- you know, at --     8        it's highly relevant that there were these number
      9   some people said, "start from scratch in drawing    9        of objections. You know, that it -- it wasn't
     10   the districts."                                    10        that long ago. I mean, a lot of the players, for
     11           This is suggested by, you know, a          11        example, in the 1980s are among some of the same
     12   number of people in the public hearings and in     12        now.
     13   terms of their input. Again, not just Senator      13                 Even regardless of that, even, as you
     14   Harpootlian, who, as you said, obviously, lost     14        say, that's 40 years ago, we're asked to look at
     15   that case.                                         15        the history and to present that as part of these
     16        Q. Would you agree, in a typical case         16        reports. So this is simply a part of that.
     17   plaintiffs bear the burden of proof?               17              Q. Right. But you know the history has
     18        A. Yes.                                       18        got to be probative of the decision at issue,
     19        Q. In your report you quoted the court as     19        right? So I'm trying to ascertain what you think
     20   saying, "Defendants were able to disprove that     20        the link is there. Where is the hook?
     21   race was a predominant factor"; is that right?     21              A. Well, I mean, I'm not being asked to
     22        A. That was the determination of the          22        draw a direct line between one Section 5 objection
     23   court in that case, yes.                           23        from 1981 and the plan at issue here. Again, this
     24        Q. So that's binding, correct?                24        is just part of a broader picture. It's part of
     25        A. Right.                                     25        what would be relevant to a court's determination.

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      1        Q. Because one couldn't draw a straight           1   standard, and that's why this litigation was
      2   line, right?                                           2   necessary. That's my recollection.
      3        A. That's not what we're being asked to           3        Q. That was a concurrence, right?
      4   do.                                                    4        A. Yes.
      5        Q. Well, you agreed with me that the              5        Q. So that was not a majority opinion,
      6   discrimination has to be probative of the              6   right?
      7   decision. So I'm trying to ask you to explain the      7        A. No. Although, I think Judge Kavanaugh
      8   relevance there, and I'm asking whether you think      8   also made note of the fact that the law had been
      9   you can draw a straight line?                          9   amended, allowing it to get the, sort of, seal of
     10        A. I mean, we're talking about Civil             10   approval.
     11   Rights Division objections. And I'm writing a         11        Q. Sure, just a couple things moved. But
     12   report where I'm asked to present a history of        12   with respect to the Section 5 review concurrence
     13   discrimination. And if we have this litany of         13   you just mentioned, two years later that was
     14   examples of the General Assembly passing laws that    14   gutted, correct?
     15   the Attorney General and Civil Rights Division        15        A. Meaning Section 5?
     16   objects to, I think that's relevant to this           16        Q. Right.
     17   report, when one of the Arlington Heights factors     17        A. Right.
     18   says look at the history.                             18        Q. So the United States Supreme Court,
     19        Q. Let's drill that down a little bit.           19   they got the last word, right?
     20   As I read this section of your report, you say        20        A. Sure.
     21   Beaufort County was blocked from doing so. You        21        Q. They disagreed with the concurring
     22   say the City of Charleston was blocked from doing     22   opinion you reference, correct?
     23   so; the Town of Hollywood; City Gaffney; Kershaw      23        A. Shelby County gutted Section 5, as you
     24   County. These are all local governments, correct?     24   say, yes.
     25        A. Yes. But like we were talking about           25        Q. Were you aware of any evidence that
                                                      Page 99                                                Page 101
      1   earlier, a lot of that, you know, passes through       1   people don't actually have any form of
      2   the General Assembly.                                  2   government-issued identification in South
      3        Q. With the local delegation, right? I            3   Carolina?
      4   mean, let's -- didn't you agree that that's the        4         A. No. And I'm not here trying to
      5   way things go?                                         5   relitigate the photo ID case. I just mention it
      6        A. I understand it's common practice for          6   because it happened to be the very last section,
      7   deference to local delegations, sure.                  7   the example of an objection. And you had asked
      8        Q. When is the most current local                 8   what was, you know, the date of that last
      9   objection you reference?                               9   objection. I think it was, like I said, 2011.
     10        A. The most recent would have been               10         Q. On Page 23, you discuss long wait
     11   shortly before Shelby County. The very last one       11   times for voting. I notice that you eliminated
     12   was the photo ID law in 2011. So probably 2010,       12   reference to Richland County here; that was
     13   if memory serves.                                     13   mentioned in your previous report to the House
     14        Q. That was upheld in part, correct?             14   plan litigation. Is there any reason for that?
     15        A. The photo ID, yes, after it was               15         A. No. I think in the last deposition
     16   modified.                                             16   you had pointed out, hey, isn't this handled at
     17        Q. Yes, sure, just to take away a certain        17   the local level, and is that majority black
     18   element of proof if somebody for some strange         18   district. I don't recall having taken it out for
     19   reason didn't have an ID, right?                      19   that reason.
     20        A. If I remember correctly, the court            20            I would acknowledge, of course, that
     21   said -- or there was a concurring opinion that        21   that's local, but it's still relevant to me.
     22   said this is telling, this is why we need             22   Again, if we're looking at this broad mosaic of
     23   Section 5, because if there hadn't been this          23   access to the franchise and South Carolina
     24   challenge to this, they would not have gone back      24   historically and contemporaneously, if there's
     25   and modified to have the reasonable impediment        25   something that disproportionately affects black
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      1   voters, then I think it's relevant to the report.        1        A. It might.
      2           It's not something that I have spent a           2        Q. Do you, sitting here today, have any
      3   whole lot of time on. It's just something that           3   criticisms as to the composition of the
      4   was relevant. That's why I mention it.                   4   redistricting subcommittee for the South Carolina
      5        Q. Dr. Bagley, if you could, would you              5   Senate?
      6   explain sort of generally what you believe the           6        A. No.
      7   relevance is of Pages 24 to 49 of your report?           7        Q. In fact, they were all lawyers,
      8   Now we're kind of moving into the next section.          8   weren't they?
      9        A. That's the sequence of events as                 9        A. Yes. Yes, they were.
     10   described in the Arlington Heights framework, and       10        Q. Also on Page 25, do you agree that
     11   that would be the legislative sequence of events        11   this cycle at the beginning, the committee was
     12   in terms of the hearings that were held and the         12   faced with Congressional District 6 being roughly
     13   meetings of the redistricting subcommittee and the      13   12 percent underpopulated and Congressional
     14   House Ad Hoc Committee.                                 14   District 1 being roughly 12 percent overpopulated,
     15        Q. Do you agree that a layperson could go          15   correct?
     16   watch all of these videos and write down what           16        A. That's correct.
     17   happened?                                               17        Q. You would agree that those two
     18        A. I agree that a layperson could watch            18   districts are contiguous and adjacent to one
     19   these videos and give their interpretation of what      19   another, correct?
     20   was happening. What I have done is provided what        20        A. That's right.
     21   I think is most relevant, as a historian familiar       21        Q. Before we go into this --
     22   with the history of South Carolina and familiar         22            MR. TRAYWICK: Off the record real
     23   with, you know, the history of the struggle for         23   quick.
     24   voting rights.                                          24            (A lunch recess was taken.)
     25        Q. So you did make some selections here            25            MR. TRAYWICK: Back on the record.
                                                       Page 103                                                    Page 105
      1   in what you included; is that right?                     1   BY MR. TRAYWICK:
      2        A. I mean, obviously, you can't just                2         Q. Dr. Bagley, before we got off, I
      3   reproduce the transcripts, so yes.                       3   believe you indicated that you were asked to find
      4        Q. Right. But made your points. You                 4   a history of discrimination?
      5   made calls individually on what to include, right?       5         A. I was asked to examine the process of
      6        A. Yes.                                             6   the passage of a bill that became the plan and to
      7        Q. On Page 25, I'm -- you say that:                 7   determine if there was any evidence that would
      8   "Senators Sabb and Matthews were the only black          8   influence the court in making a determination one
      9   legislators names in a seven-member committee."          9   way or the other on discriminatory intent.
     10            Do you see that?                               10         Q. But all you are willing to say is an
     11        A. I do.                                           11   inference, not whether there is such intent?
     12        Q. What do you mean by "only"? Do you              12         A. Right.
     13   have a criticism as to the composition of the           13         Q. I now want to run through, sort of,
     14   committee?                                              14   the last half of your report. Again, we talked
     15        A. It's just a statement of fact.                  15   about this earlier. I pointed to a few words.
     16        Q. Well, I mean, I would suggest to you            16   You said you're just reporting the facts, but
     17   that a lot of statements of fact are written like       17   surely you're not -- you would acknowledge that
     18   that, right, so they seem like criticism. So            18   it's in a persuasive way, right?
     19   that's why I'm asking you: Do you have a                19         A. I think that would be fair to say.
     20   criticism of the composition of the committee?          20         Q. You agreed earlier that you made
     21        A. It's not for me to personally                   21   judgment calls on what you felt was relevant,
     22   criticize anything. I'm simply laying forth the         22   correct?
     23   facts as relevant.                                      23         A. Yes.
     24        Q. But "only" suggests a persuasive tone;          24         Q. This is your interpretation of
     25   does it not?                                            25   legislative history, correct?

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      1        A. I think that's fair.                           1         Q. I apologize, I jumped ahead a little
      2        Q. Page 27, would you mind flipping with          2   bit. Would you flip back with me to Page 25, that
      3   me there, please?                                      3   first Senate Redistricting Subcommittee meeting?
      4        A. All right.                                     4         A. Yes.
      5        Q. Can you please explain what, quote,            5         Q. Do you have any opinions about that
      6   "serious transparency concerns" you contend were       6   subcommittee meeting as it related to process
      7   revealed at the September 17, 2021, meeting?           7   transparency or any other opinions you intend to
      8        A. There were a number of people -- or            8   offer in this case?
      9   let me see. Let me just flip through and make          9         A. Any opinions I have about that meeting
     10   sure I'm with you. You said Page 27?                  10   would be in this section.
     11        Q. Yes, sir. It's the third line from            11         Q. Can you point me to what those
     12   the bottom of the first full paragraph.               12   opinions are?
     13        A. I see.                                        13         A. This is just a narrative of what the
     14           (The witness reviews the document, as         14   committee did, who was on it, who staff were and
     15   requested.)                                           15   that sort of thing, what was the press release.
     16           THE WITNESS: So this was -- Senator           16           If you're describing a sequence of
     17   Harpootlian, Senator Matthews are among those who     17   events, obviously, you want to establish when the
     18   had argued at times that the process was not          18   committee first met and who was on it.
     19   entirely transparent.                                 19         Q. Again, this is from your perspective,
     20   BY MR. TRAYWICK:                                      20   correct?
     21        Q. We already went through that earlier,         21         A. Well, yes. But, I mean, this is
     22   the specific concerns, right?                         22   pretty straightforward.
     23        A. Some of them, yes, I think we did.            23         Q. I know we discussed it earlier. But,
     24        Q. Are there any others that we didn't           24   I mean, you include things like staff played a,
     25   cover?                                                25   quote, "fundamental, though often obscured, role
                                                     Page 107                                                    Page 109
      1        A. I know it was repeated by not just             1   in the process and appeared not to have been
      2   Senators Harpootlian and Matthews and not just at      2   available to committee members beyond leadership."
      3   this meeting. There were other meetings where,         3        A. Where is that? Oh, this is 25, first
      4   you know, for example Senator Harpootlian              4   paragraph?
      5   expressed his concerns. There were members of the      5        Q. Yes, sir?
      6   public that expressed their belief that the            6        A. I see. Yes.
      7   process was not entirely transparent.                  7        Q. Upon what facts did you rely to
      8        Q. But you said, "serious transparency            8   formulate that opinion?
      9   concerns," so that indicates a heightened level.       9        A. So there are multiple times throughout
     10           What serious transparency concerns are        10   the process where, you know, the chair is
     11   you referencing here?                                 11   conferring with staff in order to formulate a
     12        A. Well, Senator Harpootlian at one point        12   response to other members of the committee --
     13   refers to it as a "kabuki theater." I think at        13        Q. Do you contend that's unusual --
     14   one point he suggested things were being done,        14   sorry, I don't mean to cut you off.
     15   quote, "in a back room." I think it was said that     15            Do you think that's unusual?
     16   they weren't going to allow the public to, quote,     16        A. I think there were opinions voiced by
     17   "look under the hood and see what was going on,"      17   other members of the committee who said, "We
     18   and so on.                                            18   didn't have, you know, as much access to staff in
     19        Q. Do you recall whether in any prior            19   terms of the drawing of maps."
     20   redistricting cycle whether the public was allowed    20            I think that, you know, it was clear
     21   access to the map room?                               21   that at times that -- for example, when there's
     22        A. I don't think the public typically            22   opposition to anything in terms of the plans that
     23   would have access to the map room, no.                23   were being put forth, it's Mr. Terreni who is
     24        Q. Do you think that's required?                 24   responding to these concerns, and it's very clear
     25        A. No.                                           25   that there's not been any kind of exchange between

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      1   opponents of these maps and staff of Mr. Terreni        1         Q. Before Footnote 79.
      2   or Ms. Vincent.                                         2         A. For example, when Representative
      3         Q. Do you know whether members                    3   Bernstein and others expressed dismay at the
      4   affirmatively reached out to Mr. Terreni before         4   publication or production of a second House map
      5   that? And do you think it's odd that legal              5   would be an example that they asked repeatedly why
      6   counsel for redistricting would respond to those        6   are we doing this; why the need to do this; the
      7   issues?                                                 7   first map was supposedly a starting point; why do
      8         A. What strikes me is that there is the           8   we need to produce this map, this additional map;
      9   dynamic that's playing out at these meetings where      9   what we could have done is amend the other.
     10   it's clear that staff have been working with           10         Q. Is Bernstein in the Senate?
     11   leadership and not with these other members who        11         A. No. That would be an example of the
     12   subsequently expressed their concerns about the        12   House. Let me -- this is a two-page section. Let
     13   process.                                               13   me just skim real quick, if you wouldn't mind.
     14         Q. Every committee has a chairman,               14           MR. TRAYWICK: Sure. Take your time.
     15   correct, in the Senate?                                15           (The witness reviews the document, as
     16         A. Of course.                                    16   requested.)
     17         Q. Those chairmen or chairwomen are              17           THE WITNESS: Senator Harpootlian and
     18   responsible for hiring staff, correct?                 18   Senator Matthews are asking if any racially
     19         A. Right.                                        19   polarized voting analysis was done or if they
     20         Q. So they report to their chairman,             20   intended to do that. It was their opinion that
     21   correct?                                               21   that was necessary. And Mr. Terreni expressed his
     22         A. Sure.                                         22   opinion that it was not.
     23         Q. They're also available to other               23           For Senator Harpootlian and Senator
     24   members of the committee, correct?                     24   Matthews, it would have been an elemental part of
     25         A. Well, I know that, for example,               25   the process in terms of not packing or cracking
                                                      Page 111                                                   Page 113
      1   Senator Harpootlian said that he had to hire his        1   black voters. And so in their opinion, that
      2   own map drawer. And I think Senator Campsen told        2   should have been a part of the process. And
      3   him, no, you didn't. He said, "No, I absolutely         3   Mr. Terreni explained it was his opinion that
      4   did." So there are examples like this where, you        4   unless they were sued, that was not necessary.
      5   know, it would seem that these other members are        5   BY MR. TRAYWICK:
      6   not working with staff at all.                          6        Q. Anything other than RPV that you
      7        Q. As you conceded earlier, he never               7   describe as a fundamental disagreement?
      8   explained why, right? He just said it?                  8        A. Senator Harpootlian asked about
      9        A. He did not explain that at that time,           9   technical assistance, and that was shot down. So
     10   no.                                                    10   those would be -- I mean, the most fundamental
     11        Q. Turning to the next page, Page 26 of           11   would be RPV, which I think Senator Harpootlian
     12   your report. Do you have any opinions about the        12   and Matthews argued would have been elemental to
     13   August 3, 2021, House Ad Hoc Redistricting             13   this process, which that was rejected.
     14   Committee Meeting?                                     14           And you can see at the top of 28,
     15        A. Let me look at this section. Whatever          15   Senator Harpootlian says, "Well, we're just going
     16   opinions I have are in these three paragraphs.         16   to wait for somebody to sue us." He expressed his
     17        Q. Back to Page 27. We already discussed          17   own concern that this was, quote, "going to be
     18   what you allege were serious transparency              18   cooked up in a back room," and so on. So those
     19   concerns. Can you highlight what you meant by          19   are the fundamental disagreements.
     20   "fundamental disagreement," about how to handle        20        Q. So you contend the Senate was required
     21   the process?                                           21   to draw maps and provide technical assistance to
     22        A. Where is that, please?                         22   members of the public?
     23        Q. On Page 27. It's in that same                  23        A. No. I'm saying -- simply reporting
     24   sentence we were focus- --                             24   that Senator Harpootlian and Matthews argue that
     25        A. Oh, I see.                                     25   that should have been a part of the process --

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      1   elemental part of the process, and it was not.           1   won't say not discussed, because there were
      2        Q. Would you agree that the subcommittee            2   members who brought a lot of it up, but in terms
      3   agreed to include the Gingles factors as well as         3   of affecting the outcomes.
      4   the case law addressing Section 2 claims as part         4        Q. Do you agree that the members who
      5   of its guidelines per Senator Harpootlian's              5   voted would know better whether weight was given
      6   request?                                                 6   to public input?
      7        A. They added the Gingles and "its                  7        A. Could you re-ask or reframe?
      8   progeny" lines to the guidelines, yes.                   8        Q. Sure. How do you know one way or the
      9        Q. Didn't the subcommittee also include             9   other whether committee members gave weight and
     10   Senator Margie Bright Matthews's amendments to          10   what weight was assigned to public input? Don't
     11   include culture and linguistics into the                11   you have to jump into their minds to do that?
     12   guidelines?                                             12        A. Yes. I'm not trying to jump into
     13        A. Yes, those were the two amendments.             13   anyone's mind. But what I'm saying or trying to
     14   Those were the only two.                                14   intimate there is, you know, there's not any
     15        Q. Didn't she make that amendment                  15   substantive discussion of a large amount of the
     16   specifically in reference to Berkeley County?           16   public input, at least in terms of in these
     17        A. The Gullah-Geechee community, yes.              17   meetings in the public record.
     18        Q. Wasn't the vote to reject Senator               18        Q. Would you agree, a lot of moving parts
     19   Harpootlian's proposal to eliminate, or at least        19   go into drafting a map?
     20   place at the bottom, incumbency protection as           20        A. Sure.
     21   criteria -- sorry, that's a bad question.               21        Q. A lot of different considerations?
     22            Was it not a bipartisan vote to reject         22        A. Yes.
     23   Senator Harpootlian's amendment to include              23        Q. Do you agree that a member might not
     24   incumbency protection, or at least place it at the      24   speak about every single consideration that went
     25   bottom of the list?                                     25   through his or her mind when talking about the
                                                       Page 115                                                   Page 117
      1         A. Yes.                                            1   map?
      2         Q. Was it also a biracial vote?                    2        A. That's fair.
      3         A. Yes.                                            3        Q. In debate, only certain issues rise to
      4         Q. Turn to Page 29, if you will, with              4   the surface, right?
      5   regard to "The House Public Hearings." In the            5        A. Okay.
      6   first sentence of that third paragraph of your           6        Q. Not every single one; would you agree
      7   Section D there, you say that: "Most committee           7   with that?
      8   members appear to have given almost no weight to         8        A. In a general sense.
      9   input received in these initial hearings."               9        Q. Do you think the only way for senators
     10            Upon what reliable historical methods          10   to receive public input was from those public
     11   or accepted principles did you reach that               11   hearings?
     12   conclusion?                                             12        A. No. There was a written-submission
     13         A. Well, very little was done as a result         13   window open.
     14   of citizens' concerns in terms of what was -- what      14        Q. Do you think those are the only two
     15   transpired at the subsequent meetings. About the        15   manners in which senators could receive feedback?
     16   only thing that seems to have carried significant       16        A. I'm sure people could hear
     17   weight were the residents of Beaufort, who had          17   individually from constituents. But, obviously,
     18   come forth and expressed their concerns about           18   I'm not privy to any private conversations that
     19   being in CD 1.                                          19   anyone had.
     20         Q. Was that the only change you contend           20        Q. So you don't necessarily know the full
     21   resulted from public input?                             21   universe of what constituents thought, correct?
     22         A. No. There were a few other things. I           22        A. All I can report on is the public
     23   would have to scroll through. But I would say           23   record.
     24   that there is a vast amount of the public               24        Q. On Page 30, you discuss the third
     25   testimony that was not -- either not -- well, I         25   meeting of the Senate Redistricting Subcommittee.

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      1           Do you have any opinions about the              1   from the northeast. He's from -- Jordan is from
      2   November 12, 2021, meeting of that subcommittee?        2   Florence. I believe Senator Rankin may be from
      3        A. The ones that are contained herein.             3   Horry, if I'm not mistaken.
      4        Q. What specific opinions are you                  4        Q. Do you think he was off base for
      5   authoring?                                              5   suggesting that Berkeley and Horry County do not
      6        A. Let me scan this two-page section.              6   share communities of interests?
      7           (The witness reviews the document, as           7        A. Not necessarily, but there were --
      8   requested.)                                             8   there seems to be a guideline for, sort of,
      9           THE WITNESS: This is the subcommittee           9   rejecting any and everything, if that makes sense.
     10   meeting wherein the subcommittee heard from            10            What struck me of interest here, this
     11   members of the public, who submitted their own         11   is an example of saying let's take a plan, find
     12   Congressional plans. So I'm reporting here on          12   the one thing that could be paired with the
     13   what those individuals had to say to the               13   guideline that doesn't fit and then grow out that
     14   committee.                                             14   plan, if that makes sense.
     15   BY MR. TRAYWICK:                                       15        Q. I'm going to show you what will now
     16        Q. Were you aware that the League of              16   be, I believe, Exhibit 6 to your deposition, the
     17   Women Voters, ACLU, NAACP, and others were part of     17   Senate redistricting guidelines. I'll give you a
     18   the coalition?                                         18   minute to look through, as we share that in
     19        A. Yes.                                           19   Exhibit Share. If you wouldn't mind letting me
     20        Q. For purposes of this redistricting             20   know when that hits your screen.
     21   cycle?                                                 21            (Exhibit 6, 2021 Redistricting
     22        A. I am.                                          22   Guidelines, SC Senate Judiciary Committee
     23        Q. Was the South Carolina Progressive             23   Redistricting Subcommittee, marked for
     24   Network Education Fund part of that coalition?         24   identification.)
     25        A. I'm not 100 percent certain, but I             25   BY MR. TRAYWICK:
                                                      Page 119                                                     Page 121
      1   think so.                                               1        Q. Do you see that, Dr. Bagley?
      2        Q. Aside from that, you discuss only one           2        A. We're refreshing over and over. For
      3   other person, correct -- or two other people?           3   whatever reason, it seems to be taking a minute.
      4        A. There is the young woman from                   4        Q. Take your time. Let me know when you
      5   Stanford; Eric Johnson, of the South Carolina           5   see it.
      6   Coalition of Black Communities; Brett Bursey of         6        A. I think we have it now.
      7   the South Carolina Progressive Network Education        7        Q. Have you seen this document before?
      8   Fund.                                                   8        A. Yes.
      9        Q. Which was part of the coalition,                9        Q. Is it your understanding that these
     10   though, right?                                         10   are the guidelines that the South Carolina Senate
     11        A. Right. Yes.                                    11   adopted for redistricting this cycle?
     12        Q. Regarding the plan submitted that              12        A. It is.
     13   added Berkeley and Horry County together, do you       13        Q. A minute ago in your testimony you
     14   understand the difference between the Grand Strand     14   mentioned there seemed to be guidelines for
     15   and the Lowcountry in South Carolina?                  15   rejecting anything and everything. Can you point
     16        A. I do.                                          16   to me on which page you can find that?
     17        Q. What is your understanding of the              17        A. I don't mean it as stated, obviously,
     18   difference between those two regions?                  18   explicitly in the guidelines. I just mean that
     19        A. The Lowcountry is the old planation            19   when alternative plans are put forth, you could
     20   belt, the swampy lowlands to the south of the          20   nitpick any one single thing and say, okay, that
     21   state. The Grand Strand is, like, Myrtle Beach.        21   Koi (sic) doesn't match. You know, this is --
     22   Obviously, Horry County, upper northeast coast.        22   doesn't respect this community of interest or that
     23        Q. Do you know where Senator Rankin's             23   community of interest, or, you know, there are too
     24   district is located?                                   24   many precincts that aren't kept whole, and so on.
     25        A. I believe Senator Rankin is -- he is           25        Q. The same is true for any plan, right?

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      1        A. Right.                                           1        A. How do you mean, exactly? Could you
      2        Q. Will you look at Number 2 for me, if             2   maybe restate?
      3   you don't mind. Sorry, this is Part 1,                   3        Q. Racially polarized voting analysis for
      4   Section A2, labeled "Congressional Districts."           4   black voters in South Carolina, do you know what
      5        A. Yes.                                             5   that general trend is?
      6        Q. Would you agree that one of the                  6        A. That black voters tend to vote for
      7   criteria -- or I should say guidelines, to be more       7   black candidates, but not exclusively, and that
      8   precise, was preserving the cores of prior               8   white voters would tend to vote as a block to
      9   districts?                                               9   block the candidates of choice for black voters.
     10        A. That is one of the considerations,              10        Q. Is that what RPV means, or does it
     11   yes. Specifically avoiding contests between             11   mean that white voters tend to vote Republican?
     12   incumbents.                                             12        A. I think it means both.
     13        Q. And preserving cores and respecting             13        Q. But white voters vote Democrats, too,
     14   political subdivision boundaries, correct?              14   correct?
     15        A. Right.                                          15        A. Some of them do.
     16        Q. Dr. Bagley, are you aware of any                16        Q. Do you have any idea what the
     17   statute or case law that requires the General           17   percentage is there?
     18   Assembly to conduct racial polarizing analysis on       18        A. In terms of white South Carolinians
     19   the front end?                                          19   who vote Democrats?
     20        A. No. I would point out, as Senator               20        Q. Yes, sir.
     21   Harpootlian said, that -- you know, it's his            21        A. I don't know that number off the top
     22   opinion that if the states did that -- there is a       22   of my head. I would hate to speculate and be
     23   state entity that did that for, say, school             23   incorrect.
     24   boards, that it was his opinion that it ought to        24        Q. Sure. I don't want you to speculate.
     25   be done in this case.                                   25   I appreciate that.
                                                       Page 123                                                   Page 125
      1        Q. If attention were paid significantly             1           So is it your position that the Senate
      2   to that, can't we end up on the other end, too,          2   intentionally discriminated against black people
      3   that race was considered too much? Would you             3   by not conducting an RPV analysis?
      4   agree with that?                                         4        A. No. I'm simply reporting that there
      5        A. That is, under the Shaw paradigm, that           5   are members of the committee that thought that
      6   could be the case.                                       6   that should have been done, that that would have
      7        Q. So the General Assembly would be                 7   been an elemental part of the process, and
      8   facing a lawsuit either way, right?                      8   ultimately that was not done.
      9        A. I don't know if I would characterize             9        Q. So you don't know one way or another
     10   it that way.                                            10   whether that's even legally required?
     11        Q. Do you think an RPV would have                  11        A. I don't offer an opinion on that.
     12   mattered here?                                          12        Q. Is it your position that the Senate
     13        A. Do I think RPV would matter?                    13   intentionally discriminated against black people
     14        Q. Would have mattered here?                       14   by relying on political data?
     15        A. You know, that's outside the scope, I           15        A. Could you restate?
     16   think, of what I'm being asked.                         16        Q. Sure. I'll be glad to.
     17        Q. So you're just presenting what he               17           Is it your position that if the Senate
     18   argued; you're not offering an opinion one way or       18   relied on political data, that would constitute
     19   the other on it?                                        19   intentional racial discrimination against black
     20        A. Not on whether or not RPV analysis              20   people?
     21   should have been performed, no.                         21        A. No.
     22        Q. Do you know what RPV numbers are in             22        Q. On Page 31 of your report, you cite
     23   South Carolina?                                         23   Ms. Aden's testimony. Do you see that?
     24        A. The whole state?                                24        A. Yes.
     25        Q. Yes.                                            25        Q. Wherein, it said that black voters
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      1   only had representation in 14 percent of the             1   the process of the drafting of the map, which to
      2   state's Congressional delegation. Do you see             2   me would seem to be significant for the court in
      3   that?                                                    3   making its determination. Public feedback was
      4        A. Yes.                                             4   also overwhelmingly negative.
      5        Q. Are you aware that the Congressional             5            Also, this is the meeting in which I
      6   delegation consists of both Congress persons and         6   think it comes to light also that members of staff
      7   U.S. Senators?                                           7   had communications with the Republican National
      8        A. Which would include Senator Scott. So            8   Redistricting Trust.
      9   what I mean there is the House representatives           9        Q. Do you know what those communications
     10   delegation.                                             10   were about?
     11        Q. So 14 percent there. But would you              11        A. No.
     12   agree that when it's 2 out of 9 members of the          12        Q. Do you know whether the Republican
     13   actual delegation, that's 22 percent?                   13   National Redistricting Trust played a role at all
     14        A. Yes. Although -- and I don't have the           14   in the map of this precinct?
     15   numbers in front of me -- I don't believe that          15        A. I believe Chairman Jordan later said
     16   Senator Scott is the candidate of choice of black       16   that they provided input on the process. Someone
     17   voters. He is, of course, himself a black man.          17   asked were they solicited, and he said, "I
     18        Q. Does he not represent black people?             18   wouldn't say they were solicited; they provided
     19   Is that your assertion?                                 19   input that we considered."
     20        A. I'm saying I don't think he is the              20        Q. Everyone provided input, right? That
     21   candidate of choice of black voters.                    21   we've been talking about; have we not?
     22        Q. Do you know what the numbers are on             22        A. Multiple people provided input at the
     23   that?                                                   23   hearings. We're talking about behind-the-scenes
     24        A. I don't have them in front of me.               24   input.
     25        Q. On Page 32, Dr. Bagley, do you have             25        Q. We talked about this earlier. There's
                                                       Page 127                                                    Page 129
      1   any opinions about the Senate's fourth              1        multiple ways to receive input, right? Not just
      2   subcommittee meeting?                               2        showing up and testifying at the public hearing;
      3       A. Those are contained in Pages 32              3        would you agree with that?
      4   through 34. Yes.                                    4              A. Yes.
      5       Q. Any opinions in particular, though?          5              Q. So public feedback being
      6   This is your recitation of events?                  6        overwhelmingly negative, as you suggest on
      7       A. Let me scan, please.                         7        Page 32, was just based on the folks who showed up
      8           (The witness reviews the document, as       8        and testified, correct?
      9   requested.)                                         9              A. On what was available. There was
     10           THE WITNESS: So this particular            10        publicly submitted feedback in terms of written
     11   meeting was falling upon the staff drafting a      11        testimony that the Senate published on its
     12   Congressional plan, publishing that on             12        website, references made at times to public
     13   November 23rd. Committee meets on 29th. They get 13          feedback that was provided.
     14   feedback on that. And I explain that there were    14                 There was written testimony provided
     15   people who came forth with some criticism of that. 15        to the House, but to my knowledge, that was not
     16           I'm not sure how to answer your            16        published or available. So I was unable to review
     17   question in terms of outside of just reciting      17        that.
     18   what's contained in the three pages.               18              Q. Would you agree that Senator Rankin
     19   BY MR. TRAYWICK:                                   19        said at the prior meeting that a plan was going to
     20       Q. Part of my deposition of you is to          20        roll out in November and the committee would meet
     21   ascertain what opinions you have. So I want to     21        again at that time?
     22   make sure I understand what opinion you have here. 22              A. Yes.
     23       A. My opinion is that it appears, from         23              Q. So are you suggesting that staff
     24   what was said at this meeting, that certain        24        intentionally waited until Thanksgiving to dump a
     25   lawmakers argued that they didn't have any role in 25        plan on everybody?

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      1         A. I'm not suggesting that, but I'm              1   took this cycle?
      2   reporting that members of the committee suggested      2        A. Off the top of my head, I don't have
      3   that.                                                  3   that comparison.
      4         Q. If it was ready, should they have sat         4        Q. Page 32, you mention Will Roberts's
      5   on it until after Thanksgiving?                        5   statements during the November 29th hearing,
      6         A. I don't offer opinion on that, other          6   calling this a "minimal change plan." Do you
      7   than, again, reporting that some members of the        7   dispute that this was a minimal change plan?
      8   committee were -- took issue with that.                8        A. No.
      9         Q. Would you agree that staff should             9        Q. Regarding Sun City, do you remember
     10   release a plan when it's ready?                       10   expressing that, that Senator Margie Bright
     11         A. I would agree that probably all              11   Matthews brought up?
     12   members of the committee ought to be aware of the     12        A. I remember that, yes.
     13   timeline, aware of the parameters of a plan and,      13        Q. Were you aware that that change was
     14   you know, not be blindsided by it, and argue that     14   incorporated into the plan?
     15   it was released in an untimely fashion.               15        A. It was.
     16           Senator Matthews says at one point            16        Q. You also indicate that staff heard
     17   that she's trying to prepare for depositions and      17   from Congressman Clyburn. Do you see that?
     18   had to clear her schedule, just for example.          18        A. I do.
     19         Q. You agree that in scheduling these           19        Q. Did you think it was inappropriate for
     20   meetings, staff has to take into account all of       20   the General Assembly to draw his district similar
     21   those members' schedules, which can be difficult      21   to his existing one?
     22   because they're all lawyers, right?                   22        A. Could you ask again?
     23         A. I can imagine.                               23        Q. Sure. Do you think it was
     24         Q. Would you agree that it takes a while        24   inappropriate for the General Assembly to draw his
     25   to draft a redistricting map, or do you know?         25   district similar to his existing one?
                                                     Page 131                                                     Page 133
      1        A. It takes a while? Yes, it's a              1            A. I know that a great many members of
      2   complicated process.                               2       the public and members of the committee argued
      3        Q. Were you aware that in November            3       that under the circumstances, in their opinion,
      4   plaintiffs had already filed suit?                 4       that that district should not contain the black
      5        A. Yes.                                       5       voters of Columbia in the same district with black
      6        Q. Were you aware that the basis of that      6       voters of Charleston that, they argue, were carved
      7   suit was that the General Assembly was moving too  7       out of metropolitan Charleston to put together
      8   slow?                                              8       that district, as have been done by necessity some
      9        A. Yes.                                       9       decades prior.
     10        Q. Were you aware that the position was      10            Q. Even without necessity, though, in
     11   taken in these public meetings that the General   11       2011 it was upheld, correct?
     12   Assembly was somehow simultaneously moving too 12               A. That was upheld under the
     13   fast?                                             13       circumstances at that time, yes.
     14        A. I think one influences the other. If      14            Q. What do you mean by "under the
     15   you move too slow to begin with and then you're   15       circumstances at that time"? That seems to be a
     16   under a deadline, you necessarily have to move    16       qualifier.
     17   very quickly.                                     17            A. All I can tell you is that the
     18        Q. When did the census data came out?        18       testimony and the arguments of these committee
     19        A. I understand it came out late.            19       members were that the district as constructed as
     20        Q. That was abnormal, correct?               20       such represented an unnecessary carving up of
     21        A. It was the result, arguably, of the       21       black communities and putting them into that
     22   pandemic.                                         22       district.
     23        Q. Do you have any reference point for       23            Q. Again, only the opponents to the plan
     24   how long the redistricting process took in prior  24       argued that, correct?
     25   cycles as compared to how many weeks or months it 25            A. Well, yes. They're the only ones,

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      1   most of the time, saying anything at all.                1   what justified leaving that in there. I know
      2        Q. So you contend members of the majority           2   there were people who disagreed with that pretty
      3   were just numb the whole time?                           3   strongly.
      4        A. They were pretty quiet.                          4        Q. Do you recall a court addressing that
      5        Q. Did you include their statements in              5   in prior cases, upon your review of the case law?
      6   your recitation of the legislative history?              6        A. I don't recall off the top of my head.
      7        A. I did, and that's -- if it seems like            7        Q. If Joe Wilson wins reelection and is
      8   I didn't, that would be because, again, they're          8   slated to become chair of the Armed Services
      9   not hardly saying anything at all.                       9   Committee, don't you think that would be helpful
     10        Q. Would you agree that every time you             10   to those constituents in Fort Jackson to represent
     11   did mention a statement, it was in the context of       11   them?
     12   what other people disagreed with them about?            12        A. Perhaps. But, obviously, there were
     13        A. Those are pretty much the only                  13   people who disagreed with that and thought there
     14   conversations that are being had.                       14   were more paramount concerns.
     15        Q. You are aware that plaintiffs did not           15        Q. Would you agree that the Port of
     16   challenge Congressional District 6 here, correct?       16   Charleston is important economically to South
     17        A. Yes.                                            17   Carolina?
     18        Q. They're not challenging its                     18        A. Of course.
     19   constitutionality, right?                               19        Q. Do you think it's important to have
     20        A. That's right.                                   20   the Majority Whip of the United States House of
     21        Q. How does that affect the analysis of            21   Representatives representing one of South
     22   the other districts?                                    22   Carolina's largest economic entities?
     23        A. How do you mean?                                23        A. I know Senator Campsen argued that it
     24        Q. So if they're not challenging the               24   was beneficiary for Charleston to have two
     25   constitutionality of District 6, you would              25   representatives for Charleston. He said there
                                                       Page 135                                                      Page 137
      1   agree -- we talked about this earlier -- it's            1   were people arguing that, when no one actually
      2   contiguous and adjacent to District 1, right?            2   made that argument at all.
      3        A. Yes.                                             3        Q. That you saw, right, or that you
      4        Q. Doesn't it become a function of                  4   heard?
      5   geography and numbers at that point?                     5        A. I mean, Senator Campsen could have
      6        A. Well, I think the point here is --               6   heard from constituents personally, but it's not
      7   that people are making in the hearings and in            7   in the public record.
      8   their submitted testimony, is that it's the              8        Q. So was he limited to the public record
      9   packing unnecessarily of black voters in the 6           9   in making decisions, or could he listen to his
     10   that allows you to crack black voters elsewhere         10   constituents back home?
     11   and to minimize their numbers elsewhere and to          11        A. He could certainly listen to his
     12   minimize their ability to get candidates of choice      12   constituents. All I have to go on is the public
     13   elected in CD 1, for example.                           13   record.
     14        Q. Have plaintiffs brought a Section 2             14        Q. Would you agree that not everybody
     15   challenge?                                              15   comes and shows up to a hearing? Constituents
     16        A. No.                                             16   make phone calls all the time. They see people at
     17        Q. Do you know where Congressman Clyburn           17   restaurants. They see people at events. Would
     18   lives?                                                  18   you agree with that?
     19        A. In Columbia, I assume.                          19        A. I would, but it seems as though
     20        Q. Do you think it was inappropriate for           20   Senator Campsen refers, at a certain point, to
     21   the General Assembly to put -- to keep Fort             21   actually submitted written testimony.
     22   Jackson in Congressional District 2, which is           22        Q. Can you point to me where that was, in
     23   currently occupied and represented by Joe Wilson?       23   what point of your report, and in what meeting he
     24        A. I understand the argument was that              24   said that?
     25   Mr. Wilson is on the Defense Committee and it's         25        A. He certainly says he has heard from

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      1   people on that. Chairman Jordan, I believe, is          1         A. Yes.
      2   one who makes reference to this mountain of             2         Q. So is it really accurate to say,
      3   written testimony for people wanting Beaufort to        3   quote, "keep Charleston whole," when it hasn't
      4   be in CD 1. I can't find...                             4   been whole? Didn't they want the committee to
      5        Q. There was public testimony on that,             5   draw a new district to make Charleston whole?
      6   you would agree, right?                                 6         A. It depends on your point of departure,
      7        A. There was some, yes.                            7   I guess. If your point of departure is the
      8        Q. Dr. Bagley, on Pages 34 through 37 of           8   existing plan, okay. If your point of departure
      9   your report, discussing the House Redistricting Ad      9   was to say let's look at the map of voters of
     10   Hoc Committee meeting --                               10   South Carolina, keep that community whole as a
     11        A. Yes.                                           11   community, then that's a different way of looking
     12        Q. -- you indicate the position taken             12   at it.
     13   before the committee, that Charleston being whole      13         Q. Preserving cores was one of the
     14   ought to take precedence. Why is that?                 14   guidelines, correct?
     15        A. Where is that in this section?                 15         A. That is one of them.
     16        Q. I'm sorry. It's in the last sentence           16         Q. On Pages 36 to 37, can you point to me
     17   of the third full paragraph on Page 35.                17   anyone, aside from Democrats, on whom you relied
     18        A. Third full paragraph, beginning:               18   to formulate this recitation of events?
     19   "Misdeeds"?                                            19         A. This is similar to other meetings.
     20        Q. Yes, the last full sentence there.             20   They're the ones doing the majority of the
     21        A. "Bringing the Charlotte suburbs all            21   talking.
     22   the way down to Richland"? Or you mean the third       22         Q. Would you agree Chairman Jordan
     23   full paragraph of the section, beginning:              23   answered their questions?
     24   "Mr. Cunningham"?                                      24         A. There was no point at which he flatly
     25        Q. The third full paragraph, starting:            25   refused to answer a question, if that's what you
                                                      Page 139                                                    Page 141
      1   "Mrs. Teague." It's the last sentence there,            1   mean.
      2   about what she said. On Page 35. Are you on the         2        Q. Are you aware that Representative
      3   right page?                                             3   Bernstein voted in favor of the House plan?
      4        A. I'm sorry. I'm sorry. I was on 34.              4        A. You cut out on me. That she what?
      5   That's my mistake.                                      5        Q. Are you aware that Representative
      6        Q. Take your time. Take your time. I'm             6   Bernstein voted in favor of the House plan?
      7   sorry if I confused you.                                7        A. At what point?
      8        A. Regarding: "An either/or situation              8        Q. At every point; did she not?
      9   with Charleston being whole, but that, if it was,       9        A. I don't have the record in front of
     10   Charleston being whole ought to take precedence."      10   me.
     11   Yes.                                                   11        Q. Do you have any reason to dispute that
     12        Q. Do you agree with that?                        12   Representative Bernstein voted in favor of passing
     13        A. I don't think it's for me to offer my          13   the House redistricting plan this cycle?
     14   opinion on that. I'm simply reporting what people      14        A. Could you restate?
     15   are arguing regarding their position.                  15        Q. Sure. House, not Congress?
     16        Q. Do you know whether Charleston has             16        A. Oh, okay. All right. Then, yes.
     17   been whole at any time in the last 50 years?           17        Q. Do you have in here what -- any
     18        A. It's been split since it was                   18   explanation of what Republicans said in response
     19   deliberately split in order to satisfy, at the         19   to the Democrats' complaints?
     20   time, interpretation of the Voting Rights Act.         20        A. Any responses that they offered, I
     21        Q. Notwithstanding what we've talked              21   tried to effectively summarize. There's nothing I
     22   about in Backus, right?                                22   intentionally left out.
     23        A. Right.                                         23        Q. On Page 37, you include Chairman
     24        Q. The litigation that postdated Shelby,          24   Jordan's explanation that the House was trying to
     25   correct?                                               25   work with everybody's schedules and juggle the

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      1   holidays; is that true?                                 1        A. Let me skim this section. There were
      2        A. Yes.                                            2   so many meetings.
      3        Q. He references a timeliness issue. Do            3           (The witness reviews the document, as
      4   you see that?                                           4   requested.)
      5        A. Which paragraph?                                5           THE WITNESS: I will tell you that
      6        Q. It is the last full paragraph above             6   Representative King was very upset. Again, there
      7   Subsection I, and it's that last sentence there         7   were others who expressed solidarity with him. In
      8   that starts with, "again."                              8   that meeting, the only explanation given, I think,
      9        A. Yes, I see that.                                9   was that Chairman Murphy had written a note to
     10        Q. Were you aware that litigation was             10   Representative Newton. Representative Newton then
     11   pending against House and Senate leadership at         11   didn't reference, like, any specific rule or
     12   that time?                                             12   change or anything like that. So, yes, there were
     13        A. It was.                                        13   some serious concerns about that.
     14        Q. Were you aware that the Federal Court          14   BY MR. TRAYWICK:
     15   had set a deadline by which the General Assembly       15        Q. Were you aware that Chairman Murphy
     16   needed to act, or the parties would have to appear     16   was deposed recently?
     17   for a status conference to discuss next steps?         17        A. I am not aware.
     18        A. Yes.                                           18        Q. As we mentioned earlier, the
     19        Q. In Subsection I, you mention the video         19   plaintiffs had already sued members of the General
     20   of the meetings starting late. Certainly you           20   Assembly at this point, correct?
     21   recognize that technical difficulties can arise        21        A. Right.
     22   with the online videoing of hearings, correct?         22        Q. Were you aware that Chairman Murphy
     23        A. These things do happen. It just -- it          23   was one of the named defendants?
     24   was highly unfortunate in terms of that                24        A. Yes.
     25   potentially being, you know, an important part of      25        Q. Are you aware that Representative
                                                      Page 143                                                  Page 145
      1   the record that's just not there.                       1   Newton is a lawyer?
      2        Q. Certainly members of the public were            2        A. Yes.
      3   free to attend the meeting in person, right?            3        Q. Are you aware that Representative King
      4        A. Correct.                                        4   is not a lawyer?
      5        Q. On Page 38, at the very top -- we went          5        A. I am aware of that, but I would say
      6   through this earlier -- are you suggesting it was       6   this was not the explanation that was given at the
      7   a procedural irregularity for Representative            7   time.
      8   Newton to preside over the Judiciary Subcommittee       8        Q. Do you know what the explanation was?
      9   meeting at the request of Chairman Chris Murphy         9        A. Again, I think Representative Newton
     10   instead of John King?                                  10   simply said that Chairman Murphy had written him a
     11        A. Representative King certainly thought          11   note and asked him to preside.
     12   that, as did others who later expressed solidarity     12        Q. Do you know why Chairman Murphy
     13   with him in that matter.                               13   couldn't preside at the time?
     14        Q. So just because John King did not              14        A. He did not say.
     15   personally preside over a meeting, that renders        15        Q. Did you know he was sick?
     16   the process suspect? Is that your contention?          16        A. I did not know that.
     17        A. That was the contention of multiple            17        Q. Pages 39 to 42 is discussing the full
     18   members of the General Assembly.                       18   House of Representatives session, January 12,
     19        Q. Was that even relating to the map that         19   2022?
     20   got passed?                                            20        A. Yes.
     21        A. You cut out, sorry.                            21            MR. INGRAM: Do you mind if we take a
     22        Q. Sorry about that.                              22   five-minute break before you get to the next line
     23            Was that committee meeting even               23   of questioning?
     24   related to the actual map that was ultimately          24            MR. TRAYWICK: Sure. We'll come back
     25   enacted by the General Assembly?                       25   at 2:46.

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      1          (A recess was taken.)                            1   said, I'm not intentionally leaving anything out.
      2          MR. INGRAM: We are back and ready to             2        Q. The instances in which the members of
      3   go.                                                     3   the majority did speak, you then seek to discredit
      4   BY MR. TRAYWICK:                                        4   it with what members of the minority party said,
      5       Q. Thank you, Dr. Bagley.                           5   correct?
      6           On Page 38, at the bottom there, you            6        A. No. I'm simply laying out the
      7   note that: "Representative Thigpen questioned the       7   dialogue, the arguments that are taking place.
      8   reasoning for creating an entirely new map based        8        Q. In a fully objective manner?
      9   on complaints of one community."                        9        A. I would hope so.
     10           Do you see that?                               10        Q. How about on Page 39, where you opine
     11       A. Yes.                                            11   that the debate demonstrated the legislative
     12       Q. And he said: "What made one county's            12   leadership's tendency to weigh some guidelines and
     13   concerns rise to the level of triggering a whole       13   some testimony more heavily than others?
     14   new map?"                                              14            How did you arrive at that opinion,
     15           Do you see that?                               15   and upon what reliable and accepted standards of
     16       A. I do.                                           16   procedure did you base that opinion?
     17       Q. How is that any different than what             17        A. Well, that's cutting to what we were
     18   Charleston was demanding?                              18   just talking about, the weighing of the evidence
     19       A. I can tell you there are people who             19   of the -- I think it was the five people who came
     20   ask was it not possible for Beaufort and               20   forward from Beaufort, and weighing that more
     21   Charleston to be kept whole within CD 1. There         21   heavily than the people that came forward about
     22   was a point in time at which Representative            22   Charleston.
     23   Bernstein asked if this was possible, and Chairman     23        Q. As you agreed earlier, you don't know
     24   Jordan said he did not believe it was. This later      24   how any individual member weighed various
     25   came up where other legislators pointed out that       25   evidence, do you?
                                                      Page 147                                                    Page 149
      1   it was their opinion it was, in fact, possible.         1        A. I'm not in their mind. Of course.
      2            So I don't know, like Ms. Teague was           2        Q. In discussing what happened, you agree
      3   suggesting it might be the case, it was either/or       3   you primarily relied on the statements of
      4   scenario, that it could have been done without          4   Democrats?
      5   splitting either one of them.                           5        A. I'm not attempting to, in the draft
      6        Q. Did it have to?                                 6   report, to do that. If it weighs more heavily to
      7        A. I'm sorry?                                      7   that side, that's because they were the ones who
      8        Q. Are you contending that the General             8   were the most vocal. Members of the majority, as
      9   Assembly had to keep them both together or keep         9   I said, said very little at many of these
     10   them both whole?                                       10   legislative sessions and hearings.
     11        A. I'm not saying the General Assembly            11        Q. You're familiar with the Senate
     12   had to do anything.                                    12   procedure of a filibuster, correct?
     13        Q. Because certainly they have to make            13        A. Yes.
     14   any number of judgment calls in putting together a     14        Q. In legislative procedure, in your
     15   complex Congressional map, correct?                    15   experience, are opponents of the legislation most
     16        A. That's right, as in a general sense.           16   often the most vocal?
     17        Q. On Pages 39 to 42 of your report, this         17        A. In a filibuster?
     18   relates to the full House of Representatives           18        Q. In general, on debating any
     19   debate?                                                19   legislation?
     20        A. Yes.                                           20        A. I don't know that I would say that
     21        Q. I'm wondering if you included anywhere         21   necessarily.
     22   what any members of the majority party said about      22        Q. Do you contend that opponents to
     23   the plan?                                              23   legislation in their opinions are dispositive of
     24        A. Insofar as they said anything, it              24   legislative intent?
     25   should be summarized in this section. Like I           25        A. I'm saying that insofar as there's a

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      1   dearth of commentary from members of the majority       1   of expression of opinions on that.
      2   in my report, it is because there is a dearth of        2        Q. Let's go over that. Didn't Senator
      3   that in the record. It is not a selectivity             3   Campsen say he didn't even look at BVAP?
      4   issue.                                                  4        A. He said that, to which response was
      5        Q. On Page 42, turning to the "Final               5   that, you know, they're surrounded by these charts
      6   Senate Judiciary Redistricting Subcommittee             6   of racial numbers. And two, I would say that I
      7   Meeting, re: Congressional Districts," would you        7   doubt very seriously Senator Campsen created a
      8   agree that Mr. Opperman submitted a plan that did       8   map. It's the staff that are creating the maps.
      9   not satisfy the one-person/one-vote requirement?        9        Q. Are you saying you don't believe him
     10        A. He explained that it -- I think the            10   about BVAP?
     11   deviation was 4 percent. And his argument was          11        A. I'm not saying I don't believe him,
     12   that that could easily be amended to fall in line      12   no.
     13   more closely with, you know, sort of a more            13        Q. Other than that, what statements are
     14   acceptable deviation.                                  14   you aware of where Republican members of the
     15            He also offered his opinion, though,          15   subcommittee or the committee discussed BVAP and
     16   that no plan had been struck, in his                   16   wanting to keep the 1st limited in terms of BVAP?
     17   understanding, for a deviation of -- for the           17        A. I'm saying that that came up
     18   deviation that he had provided in that plan.           18   repeatedly from opponents who were arguing that
     19        Q. But you would agree, it still required         19   this was the rationale for limiting the ability of
     20   tinkering?                                             20   black voters in CD 1 to get their candidate of
     21        A. I believe that would be a fair way to          21   choice elected.
     22   characterize it.                                       22        Q. From those statements alone from the
     23        Q. Would you agree that the committee             23   opponents, you then opine that Republicans wanted
     24   heard and considered his feedback?                     24   to keep CD 1 limited in terms of BVAP?
     25        A. I would agree that they heard his              25        A. Where is the line and question, if you
                                                      Page 151                                                   Page 153
      1   testimony.                                              1   don't mind?
      2        Q. Why do you think they didn't consider           2        Q. Sure. It is in Subsection M. I
      3   it? Why the qualification?                              3   believe it's the third sentence.
      4        A. Again, I'm not in their minds. I                4        A. So they repeatedly asserted that they
      5   suppose insofar as they heard it, they considered       5   needed to maintain CD 6 as such, the result of
      6   it.                                                     6   which would, you know, be limiting black influence
      7        Q. In that same vein, on Page 43, if               7   in the other district.
      8   you're not in their minds, then why did you offer       8        Q. Is CD 6 as drawn in the map located in
      9   the opinion that Republicans wanted to maintain         9   the majority-minority district?
     10   the status quo with CD 6 as the minority-majority      10        A. Right.
     11   district and keep the other districts, especially      11        Q. No. Is it?
     12   the first, limited in terms of BVAP?                   12        A. I believe it's just below 50 percent.
     13        A. This is the argument that was made             13        Q. In the next paragraph you mention,
     14   repeatedly, that they're packing and cracking.         14   again -- you insinuate that Senator Campsen's
     15        Q. So that's not your opinion; you're             15   statement about the benefits of two congressmen is
     16   saying that was just expressed as a recitation of      16   not true. Is that your opinion?
     17   events?                                                17        A. I'm saying there's no evidence in the
     18        A. I'm saying that's supported by members         18   record that anyone provided that argument at any
     19   of the public and members of the legislature           19   point. It had never come up in the publicly
     20   making that case.                                      20   available record up to that point.
     21        Q. But not any Republicans, right?                21        Q. Do you have any reason to not believe
     22        A. Correct.                                       22   him when he said constituents told him that?
     23        Q. You didn't rely on any of their                23        A. Constituents may have told him that,
     24   statements to make that decision, did you?             24   but no one submitted that in written testimony.
     25        A. I wouldn't say I relied on their lack          25   No one brought it up in any of the hearings.

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      1   There was reference made to the feedback.              1   his point that indicated that people -- you know,
      2           Could he have heard it at a cafe               2   that other lawmakers didn't think that his
      3   somewhere or on the golf course? I don't know.         3   argument held much weight.
      4   Maybe.                                                 4        Q. But you agree that it would be up to
      5        Q. Do you have any idea what the                  5   the court to assign credibility determinations,
      6   political affiliation was of the vast majority of      6   correct?
      7   people who testified at public hearings?               7        A. Yes.
      8        A. I have no clue.                                8        Q. You don't know any of these people, do
      9        Q. Let's take this a step further.                9   you?
     10   Earlier in your report you made representations of    10        A. No.
     11   what former Representative Cunningham said about      11        Q. So this is all based on you just
     12   what his former constituents told him about the       12   watching hearings online?
     13   1st District, correct?                                13        A. Reading the transcripts, the rest of
     14        A. He expressly said he had heard this,          14   the record, et cetera.
     15   yes, from his constituents.                           15        Q. On that note, did you primarily review
     16        Q. Right. So Senator Campsen said the            16   transcripts, or did you watch the hearings?
     17   same thing. Upon what methods or reliable             17        A. Both.
     18   principles are you relying to make these              18        Q. Both. What percentage would you
     19   credibility determinations between Senator Campsen    19   assign to each?
     20   and former Congressman Joe Cunningham?                20        A. I watched the entirety of the video
     21        A. Because what former Congressman               21   and read the transcripts in entirety.
     22   Cunningham was saying that he had heard from          22        Q. So you're not suggesting that you're
     23   constituents was something that had come up           23   qualified to pick who is right and who is wrong in
     24   repeatedly, otherwise, in the public record. This     24   those settings, right?
     25   assertion about two representatives for Charleston    25        A. That will be up to the court.
                                                     Page 155                                                     Page 157
      1   appears out of thin air.                               1        Q. On Pages 43 to 46, this is, I believe,
      2            It is pointed out also to not really          2   the final full Senator Judiciary Committee
      3   hold rational weight. I mean, the idea that            3   meeting. Do you see that in your report,
      4   Congressman Clyburn and Congressman Mace are           4   Dr. Bagley?
      5   walking in lock step in Congress is absurd. Just       5        A. Yes.
      6   take for example, I believe, Congressman Clyburn       6        Q. Again, in the context of Republicans
      7   was the only one to vote for the infrastructure        7   presenting criteria, is the tenor of your report
      8   bill.                                                  8   not seeking to undermine their arguments by what
      9            So I mean, this is not just me                9   Democrats say? Is that an unfair characterization
     10   opining. This is pointed out in the proceeding        10   of your report?
     11   that, again, this idea that the two congressmen or    11        A. I think so.
     12   congress people representing the city or the metro    12        Q. How would you describe what we're
     13   area are always acting in concert is not really       13   reading here?
     14   supported by the fact.                                14        A. Narrative recounting of the sequence
     15         Q. Is that what he said?                        15   of events.
     16         A. Who?                                         16        Q. You made judgment calls on what to
     17         Q. It's beneficial because they act in          17   include, correct?
     18   concert? Isn't the point that it's good to have       18        A. Yes.
     19   the House Majority Whip representing the Port of      19        Q. You agreed earlier you used some
     20   Charleston, which is a primary economic engine for    20   persuasive language, correct?
     21   South Carolina, and when he's not the majority, to    21        A. Occasionally.
     22   have a Republican who also represents the             22        Q. So this isn't a fully objective thing,
     23   interests of Charleston? Are you suggesting that      23   right? You're trying to make a point; are you
     24   that's a bad thing?                                   24   not?
     25         A. I'm saying that there was pushback on        25        A. No. I'm trying to lay the record

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      1   before the court. I don't think that the fact       1      BY MR. TRAYWICK:
      2   that I've used a few adjectives here and there      2           Q. Of course. What recent risk history
      3   would discount the objectivity of the entire        3      or what recent evidence, I should say, do you rely
      4   report.                                             4      upon as history of voting rights discrimination to
      5        Q. Then why is the report reading as           5      support your conclusion here?
      6   trying to discount what Republicans said?           6           A. I mean, what's in the report, what we
      7        A. You cut out again, I'm sorry.               7      discussed earlier, which -- everything we've been
      8        Q. Why is the tenor of your report             8      discussing here today.
      9   disagreeing with what Republicans said?             9           Q. Can you give me a year of the most
     10        A. That may be the tenor that you take        10      recent thing you contend is relevant as evidence
     11   away from it, but that's not my intention.         11      of discrimination and voting rights?
     12        Q. So your intention was to provide a         12           A. Well, we discussed the photo ID case.
     13   totally neutral recitation of events?              13      We discussed --
     14        A. I'm laying the record before the           14               (Crosstalk)
     15   court. It will be up to the court whether they     15           Q. -- Park, right?
     16   read it with that tenor or not.                    16           A. Right. We discussed the Section 5
     17        Q. So you weren't asked to find racial        17      objections from the 2010. We discussed the COVID
     18   discrimination in this case?                       18      litigation and so on.
     19        A. No.                                        19           Q. 2010s?
     20        Q. Why do you discredit the asserted          20           A. I'm sorry, the 2000 OTs (sic), I'm
     21   justifications of geographical concerns,           21      sorry.
     22   constituents consistency, minimal precinct splits, 22           Q. You think the COVID litigation is
     23   and preservation of core?                          23      related to the voting rights discrimination? You
     24        A. The first part of the question was why 24          don't think it had to do with just COVID?
     25   do I what? You don't have to recite the            25           A. That had to do with mechanisms that
                                                     Page 159                                                    Page 161
      1   guidelines again.                                      1   were going to disproportionately affect black
      2        Q. Why do you discredit those assertions?         2   voters.
      3        A. I don't intend to discredit those              3        Q. You agree the witness requirement had
      4   assertions at all. All I'm doing is faithfully         4   been on the books for 50 years before the
      5   reporting the opposition and the arguments between     5   plaintiffs challenged it?
      6   the opposition and the supporters.                     6        A. Yeah, those witness requirements date
      7        Q. Did you see Senator Campsen's quote on         7   back to the same time as, you know, majority
      8   Page 44 that you included, saying that, "Zoom          8   member -- the multimember districts, membered
      9   meeting is not weighted heavier"?                      9   posts, these diluted schemes. So that's not
     10        A. Yes.                                          10   surprising that that was put in place at that
     11        Q. There are other ways to receive input,        11   time.
     12   correct?                                              12        Q. Do you think it's surprising that no
     13        A. Right.                                        13   one challenged it until COVID?
     14        Q. Would you agree that the current plan         14        A. Do I think it's what?
     15   maintains the same BVAP in the Congressional          15        Q. Surprising that no one challenged it
     16   District 1 as the prior plan?                         16   until COVID?
     17        A. It's roughly similar, yes.                    17        A. I am not sure I would characterize it
     18        Q. Page 49, going to the "Summary of             18   as surprising.
     19   Information For the Court to Consider" section.       19        Q. As we discussed earlier, the U.S.
     20   Dr. Bagley, what recent evidence do you rely upon     20   Supreme Court stayed the ruling about the witness
     21   as history of voting rights discrimination to         21   requirement, correct?
     22   support your conclusion?                              22        A. Yes.
     23           MR. INGRAM: Objection.                        23        Q. Were you aware that the plaintiffs
     24           THE WITNESS: Could you restate,               24   then dismissed the lawsuit after that?
     25   please, Mr. Traywick?                                 25        A. Yes.

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      1        Q. Are you aware that the General                   1   value.
      2   Assembly passed election reform this session?            2       Q. I believe that's all the questions I
      3        A. Yes.                                             3   have about your initial report. Do you have any
      4        Q. Are you aware that that retained the             4   other opinions regarding your initial report that
      5   witness requirement?                                     5   we haven't covered thus far?
      6        A. Yes.                                             6       A. No.
      7        Q. Are you aware that it got rid of the             7       Q. At this time let's turn to your
      8   excuse requirement?                                      8   rebuttal report.
      9        A. Yes.                                             9           MR. TRAYWICK: I believe this will be
     10        Q. Are you aware that that passed with             10   marked as Exhibit -- are we on Exhibit 6 or 7?
     11   large bipartisan support?                               11           MR. INGRAM: 7.
     12        A. I don't know what the exact vote was            12           MR. TRAYWICK: Thank you.
     13   on that, but if you represent that.                     13           (Exhibit 7, Dr. Bagley Congressional
     14        Q. Would you agree that the General                14   Rebuttal Report, marked for identification.)
     15   Assembly during COVID got rid of the excuse             15   BY MR. TRAYWICK:
     16   requirement before both the primary and the             16       Q. I'll put that up on the screen. Do
     17   general election in 2020?                               17   you see that, Dr. Bagley?
     18        A. Could you restate, I'm sorry?                   18       A. Yes. And I have it here, a clean
     19        Q. Sure. Were you aware that the General           19   copy.
     20   Assembly temporarily got rid of the witness -- not      20       Q. Excellent. Thank you.
     21   the witness requirement -- the excuse requirement       21           At the beginning of your report, you
     22   for both the primary and the general election in        22   recognize that Sean Trende did not mention
     23   2020?                                                   23   anything about your report or Arlington Heights,
     24        A. Temporarily, right.                             24   correct?
     25        Q. They now, after seeing how it worked,           25       A. That's correct.
                                                       Page 163                                                 Page 165
      1   agreed to get rid of it permanently, correct?            1        Q. So what was the purpose of you
      2        A. Yes.                                             2   drafting a rebuttal report?
      3        Q. So are you suggesting any illicit or             3        A. I was asked to examine it and to offer
      4   discriminatory motive behind that?                       4   my opinions as to whether it supported or
      5        A. That's really not the subject of my              5   undermined any of my findings, even if it didn't
      6   report. It's sort of, in terms of getting into           6   respond within that same framework.
      7   the weeds in the details, that is really outside         7        Q. Findings, what do you mean by that?
      8   of the scope.                                            8        A. Anything that I put forth in my
      9        Q. I'm trying to draw the line from that            9   report.
     10   redistricting, right, because the evidence of           10        Q. I'm trying to better understand it.
     11   discrimination has to be probative of the               11   The last half of your report, you said, was an
     12   decisions which were made earlier, right?               12   historical account of the legislative record,
     13        A. Right.                                          13   right?
     14        Q. Dr. Bagley, did you consider any other          14        A. But in my summation, I said that it's
     15   possibilities here aside from race?                     15   my opinion that there is evidence here that the
     16        A. Of course. Politics, for example.               16   court might use to find an inference of
     17        Q. Can you point me to any examples in             17   discriminatory intent.
     18   your report where you assign credibility to a           18        Q. That section was written with an eye
     19   Republican's statement regarding legislative            19   towards that conclusion, correct?
     20   intent?                                                 20        A. It wasn't written with an eye towards
     21        A. I don't know how you would                      21   that. That's the conclusion I came to after
     22   characterize "assign credibility."                      22   having reviewed all of that.
     23        Q. Or took them at face value without              23        Q. If Mr. Trende did not mention
     24   saying what Democrats said to undermine it?             24   Arlington Heights or other things about your
     25        A. I think it's all presented at face              25   report, what was the purpose of your rebuttal?
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      1            MR. INGRAM: Objection.                          1   overpopulated, and one was 12 percent
      2            THE WITNESS: The purpose of the                 2   underpopulated, correct?
      3   rebuttal was simply to examine that report and           3        A. Right.
      4   offer my opinion on it as it relates to my report        4        Q. Why do you take issue with Trende
      5   in any way.                                              5   expressing politics as a driver behind the
      6   BY MR. TRAYWICK:                                         6   Congressional plan that was enacted?
      7        Q. On Page 2 of your report, if you turn            7        A. No one ever said that. Not only that,
      8   to that.                                                 8   but it was that -- that was put forth as an
      9        A. Yes.                                             9   accusation and flatly denied, in fact, at one
     10        Q. Thank you. Is it your position that             10   point.
     11   Trende does not rely on any contemporaneous             11        Q. Wasn't that in the context of being
     12   statements surrounding the Congressional plan of        12   accused of a partisan gerrymandering and not just
     13   passage?                                                13   that politics was involved?
     14        A. The sentence says that: "He does not            14        A. I don't understand the difference.
     15   speak to the history of discrimination."                15        Q. Well, the Supreme Court, has it not,
     16            He may reference some contemporaneous          16   has repeatedly said that politics are fine, the
     17   statements. I seem to recall it was simply an           17   question becomes when it's too much and when it
     18   analysis of -- to what may have been the                18   becomes an unlawful partisan gerrymander. Would
     19   justifications for certain aspects of the plan.         19   you agree with that?
     20        Q. That were articulated, though,                  20        A. Yes. They didn't say we didn't, you
     21   correct?                                                21   know, go too far; this is -- you know, we didn't
     22        A. I'm sorry?                                      22   engage in -- well, politics was never put forth as
     23        Q. That were articulated, correct?                 23   a motivating factor by anybody in the materials
     24        A. Right.                                          24   that I reviewed.
     25        Q. The members have repeatedly called the          25        Q. Which included what?
                                                       Page 167                                                     Page 169
      1   enacted plan a "minimal change plan"?              1               A. What were the materials I reviewed?
      2        A. Staff described it that way.               2         The sequence of events, the hearings, the
      3        Q. How about members?                         3         transcripts, the legislative floor debates, and so
      4        A. Potentially, yes.                          4         on.
      5        Q. Do you have any reason to disagree         5               Q. Do you agree that the court in cases
      6   with Mr. Trende's opinions, the changes to the     6         only prevents post hoc justification after passage
      7   post-2010 Congressional map were, quote, "modest"? 7         of the plan?
      8        A. I know that some members considered        8               A. Could you say it again, please?
      9   them to be more significant than others.           9               Q. Would you agree with me that the case
     10        Q. Did you have occasion to look at the      10         law only prevents post hoc justifications after
     11   core retention scores for each of the seven       11         passage of the plan?
     12   districts in the enacted plan?                    12                  MR. INGRAM: Objection.
     13        A. At one point in time, yes.                13                  THE WITNESS: Yeah, I'm not intimately
     14        Q. Would you agree that five districts       14         familiar enough with that particular aspect of the
     15   scored in the 90s?                                15         case law.
     16        A. Yes, if memory serves. Was the one        16         BY MR. TRAYWICK:
     17   outlier -- how many did you say?                  17               Q. Well, assuming it was, does it matter
     18        Q. I said five.                              18         when in the process members vote or explain their
     19        A. So two outliers, probably one of which    19         justifications for the enacted plan as long as
     20   was CD 1.                                         20         it's prior passage, in your opinion?
     21        Q. Right. So one scored 82, and another      21               A. I know that they offered
     22   one in the high 80s. That would have been CD 1    22         justifications at every step of the way, and that
     23   and CD 6. Does that sound right?                  23         was not among those justifications listed that
     24        A. Yes.                                      24         were put forth.
     25        Q. Of course, one was 12 percent             25               Q. Would you agree that for a lot of

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      1   members, in the beginning, they may not have had a      1   it came in? Because it's during the debate about
      2   ton of time to study it, but had time to study the      2   the plan, why does which committee meeting or
      3   plan as it progressed? Would you agree with that?       3   which hearing it arose in matter, from your
      4            MR. INGRAM: Objection.                         4   perspective?
      5            THE WITNESS: I suppose that's true.            5        A. I don't understand why it wouldn't
      6   BY MR. TRAYWICK:                                        6   matter.
      7        Q. Are you assuming bad faith by them              7        Q. Can you explain why it matters?
      8   offering various justifications?                        8        A. Well, it matters because it's not
      9            MR. INGRAM: Objection.                         9   something that was discussed at all for these
     10            THE WITNESS: I'm not assuming bad             10   many, many weeks and months, and then all of a
     11   faith. I'm just simply saying that this never          11   sudden it's not just something that comes up, but
     12   came up.                                               12   something that comes up repeatedly, repeatedly,
     13   BY MR. TRAYWICK:                                       13   repeatedly.
     14        Q. So do you have any opinions about the          14           I think if anybody reviewing anything
     15   debate that was had on the plan and whether            15   were to see something just pop out of thin air and
     16   justifications offered were credible?                  16   then be, like, repeatedly pounced upon, you would
     17        A. I am not sure how that's relevant to           17   think that's significant in some way, shape, or
     18   the rebuttal report. Maybe just ask again or           18   form.
     19   rephrase.                                              19        Q. Do you know when in the process
     20        Q. Sure. I'll tell you how it's                   20   Senators were able to focus on Congressional
     21   relevant. On Page 2, it says: "Lawmakers did not       21   redistricting?
     22   seriously consider issues of core retention."          22        A. Senators broadly, outside of the
     23            Upon what evidence do you rely to make        23   committee?
     24   that assertion?                                        24        Q. Any of them?
     25        A. That didn't come up until very, very           25        A. I don't know their personal schedules,
                                                      Page 171                                                    Page 173
      1   late in the process. In fact, Mr. Opperman              1   if that's what you mean.
      2   brought it up in regards to the whole county plan,      2         Q. Sure. So then why infer a nefarious
      3   and then all of a sudden it became a talking            3   motive about when they brought up justifications?
      4   point. I mean, it's not something that up to that       4            MR. INGRAM: Objection.
      5   point had ever come up in the proceeding, at least      5            THE WITNESS: I'm simply reading
      6   in the public record.                                   6   Mr. Trende's report and responding and saying that
      7        Q. Would you agree that preservation of            7   it's significant to me that this was not an issue
      8   cores and constituent consistency were both             8   until very late in the process.
      9   factors adopted in the very first meeting of the        9   BY MR. TRAYWICK:
     10   Senate Redistricting Subcommittee and Guidelines       10         Q. So then take it a step further. And
     11   for Redistricting?                                     11   why is it significant to you? What does that
     12        A. They were adopted. That was part of            12   show, in your view?
     13   the guidelines that were adopted, but it never         13         A. It shows me that possibly this is
     14   came up again at all until late in the process.        14   something that an attorney said, hey, you could
     15        Q. Prior to passage, though, right?               15   focus on this, and this will let this pass muster.
     16        A. At the very tail end.                          16         Q. Do you think attorneys advise
     17        Q. Why is that significant, in your mind?         17   Democrats on things to say and put in the public
     18        A. Because it seems as if it was, you             18   record?
     19   know, only something that was brought in at the        19         A. Sure.
     20   very end as a late-stage justification.                20         Q. You seem to take issue with
     21        Q. So you don't believe it?                       21   phraseology here. Would you agree that everyone
     22        A. I'm not saying that.                           22   knew what the benchmark plan meant?
     23        Q. Then what are you saying?                      23         A. That everyone knew what that meant?
     24        A. About what?                                    24         Q. Yes.
     25        Q. How do you think that's relevant when          25         A. And referring to the existing or 2010

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      1   plan?                                                  1   has played in redistricting?
      2        Q. Right.                                         2        A. I mean, I don't -- it's been a while
      3        A. I think they understood what was meant         3   since I've read Rucho, so I could not present to
      4   by that.                                               4   you the particulars of that opinion.
      5        Q. Do you know one way or the other if            5        Q. Do you agree that politics does play a
      6   Senators or their staff consulted with the             6   role in redistricting, regardless of the party in
      7   Republican National Redistricting Trust in             7   charge and regardless of the level of government?
      8   drafting the plan?                                     8        A. I understand that the Supreme Court
      9        A. My understanding is that Chairman              9   has said that it's acceptable up to a point.
     10   Jordan said that their input was received. I          10        Q. On Page 3, about Senator Harpootlian's
     11   don't know the nature of that. I just know that       11   proposal for guidelines, are you aware that the
     12   it came off at the hearing with former                12   vote not to accept some of his guidelines was a
     13   Representative Cunningham, and it was later said      13   bipartisan one?
     14   by Chairman Jordan that their input had been          14        A. Yes.
     15   received.                                             15        Q. Have courts repeatedly recognized that
     16        Q. Do you know whether Mr. Cunningham had        16   incumbency protection is a proper consideration in
     17   any firsthand knowledge as to whether that            17   redistricting?
     18   occurred?                                             18        A. Yes.
     19        A. I don't know what Mr. Cunningham had          19        Q. So was there any specific point for
     20   personal knowledge of.                                20   including the fact that the subcommittee did not
     21        Q. Even if they did, what would be the           21   adopt Senator Harpootlian's plan or guidelines?
     22   problem with that? That's just politics, right?       22        A. Where is this on Page 3?
     23        A. Well, certainly people seem to take           23        Q. Yes.
     24   issue with it over the course of the hearings.        24        A. Where on the page, I'm sorry?
     25   And I think you have to just pose it with the fact    25        Q. I'm sorry. The bottom paragraph.
                                                     Page 175                                                    Page 177
      1   that members of the committee are saying we            1        A. I think the point there is that he
      2   ourselves didn't have anything to do with the          2   suggested the guidelines be lifted as a hierarchy
      3   drafting of the map, so why consult a national         3   with the preservation of the core of the district
      4   entity when you're not even consulting the members     4   last in all considerations, and that was not
      5   of the committee itself?                               5   adopted.
      6        Q. But you don't know one way or another          6        Q. Is it your opinion that anything was
      7   whether that occurred, right, as we already            7   wrong with the process because folks disagreed
      8   established?                                           8   with those guidelines?
      9        A. Whether what occurred?                         9            MR. INGRAM: Objection.
     10        Q. Whether those conversations occurred          10            THE WITNESS: Not necessarily.
     11   or whether they played a role in the map?             11   BY MR. TRAYWICK:
     12        A. According to their own telling of it,         12        Q. Do you recall saying in your last
     13   they -- Harpootlian at one point said, "This group    13   deposition that Backus was haphazardly litigated?
     14   had more input than I did," in this opinion.          14        A. Yes.
     15        Q. Did he know that, or was he asking            15        Q. Do you realize that he was counsel of
     16   questions before he made that assertion?              16   record for that case?
     17           MR. INGRAM: Objection.                        17        A. I do. If memory serves, the court did
     18           THE WITNESS: I can just tell you that         18   not find the plaintiffs' expert to be credible.
     19   there are instances where he and others said that     19        Q. And in your own report you recognize
     20   they had little to no input in the process.           20   that the court found the defendants disproved any
     21   BY MR. TRAYWICK:                                      21   racial discriminatory intent, right?
     22        Q. Have you read Rucho V. Common Cause?          22        A. Right.
     23        A. Broadly familiar with it.                     23        Q. With regard to Mr. Cunningham's
     24        Q. Since you're an historian, did you            24   testimony, you recognize he's running for
     25   read the Court's history of the role that politics    25   governor, right?

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      1        A. I do.                                           1           Representative King was on the
      2        Q. Do you think any of that testimony at           2   unsuccessful voting side of the plan, correct?
      3   either hearing had to do with politics?                 3        A. Right.
      4        A. It's inherently so, yes. It's not               4        Q. Throughout your report and your
      5   like former Representative Cunningham came forth        5   rebuttal, you emphasized what opponents to the
      6   with -- or was the only person to come forth with       6   legislation said, correct?
      7   the concerns that he did.                               7        A. Not trying to emphasize it. I would
      8        Q. In both of your reports, Dr. Bagley,            8   say that just cuts back again to the dearth of
      9   it mentions this looming Republican National            9   commentary to those who voted in favor.
     10   Redistricting Trust, but you also seem to indicate     10        Q. So then if you think that's relevant,
     11   that politics is nowhere mentioned regarding the       11   do you think that their comments are relevant to
     12   map. How do you reconcile those positions?             12   legislative intent?
     13           MR. INGRAM: Objection.                         13        A. Yes.
     14           THE WITNESS: Well, it took the                 14        Q. So then do you think his comment that
     15   accusation from Mr. Cunningham for that to come        15   he said: "The plan did nothing but empower one
     16   up, number one. Number two, the point is not that      16   political party for the next ten years," is
     17   politics had nothing to do with it; I'm saying         17   indicative that partisan advantage was used?
     18   that nobody put forth the notion that what they        18        A. So then why do we have to hear it from
     19   were doing was trying to take or to -- yes, to         19   him? Why do we have to hear about the motivations
     20   take CD 1 out of competitive territory.                20   of those who voted in favor from Representative
     21   BY MR. TRAYWICK:                                       21   King.
     22        Q. The primary argument there advanced by         22        Q. That wasn't my question.
     23   Mr. Cunningham was that Charleston needed to be        23        A. Could you use that in terms of
     24   kept whole, correct?                                   24   inferring intent? Sure.
     25        A. That was one of the focal points in            25        Q. Certainly you're not suggesting that
                                                      Page 179                                                      Page 181
      1   his testimony, yes.                                     1   members of the General Assembly could only use
      2        Q. You're aware it hasn't been whole for           2   comments made by the public in offering their own
      3   at least 50 years?                                      3   reasons for passing a map, right?
      4        A. Since it was drawn as a                         4        A. Right.
      5   majority-minority district, yes.                        5        Q. So then throughout the report, you
      6        Q. That includes court-drawn and                   6   know, you mention certain principles of
      7   court-approved plans, correct?                          7   redistricting that members of the public said, but
      8        A. Yes.                                            8   then when members rely on those, you discredit
      9        Q. Again, a lot of the legislative                 9   them because they're not linked to exactly what
     10   history here seems to focus on what opponents to       10   the public said.
     11   the legislation said.                                  11           MR. INGRAM: Objection.
     12            I believe on Page 6 of your report, if        12   BY MR. TRAYWICK:
     13   you wouldn't mind turning there with me, you           13        Q. I'll give you an example. So
     14   recognize that Representative King said, "The map      14   Opperman, "preserving district cores," and ...
     15   did nothing but empower one particular party for       15        A. Yes, Opperman is the first person to
     16   the next ten years"?                                   16   really substantively bring it up.
     17        A. Yes.                                           17        Q. And then traditional and geographical
     18        Q. So if you think what opponents say is          18   and things like that. So if Senators who then
     19   relevant to legislative intent, do you believe         19   defended the plan offered those as justifications,
     20   that that is relevant to whether partisan              20   are you saying they couldn't just because they
     21   advantage was used in this map?                        21   were not expressed as Mr. Opperman expressed them?
     22        A. Could you restate, please? I'm sorry           22        A. They weren't expressed at all up to
     23   to ask you to do that so many times.                   23   that point.
     24        Q. No. Sure. It was probably a bad                24        Q. They were expressed before they
     25   question.                                              25   passed, right?

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      1        A. At the 11th hour.                                1   where it is?
      2        Q. Again, what does that have to do with            2        Q. Yes. I'm trying to find it. It's in
      3   whether that's a valid justification or not? Are         3   my notes.
      4   you saying that's not a valid justification              4        A. Let me just say that I attended no
      5   because of when they asserted it?                        5   meetings.
      6        A. The court can determine whether                  6        Q. Fair enough.
      7   there's value in that or not.                            7            MR. TRAYWICK: We can take a quick
      8        Q. So you agree you're not qualified to             8   break. And then I think I'll be rounding third,
      9   do that, to evaluate credibility of legislative          9   coming home.
     10   intent, correct?                                        10            MR. INGRAM: Perfect. We'll come back
     11        A. I'm not making a determination myself           11   at 3:40.
     12   of legislative intent.                                  12            (A recess was taken.)
     13        Q. Coming pretty close, though, right?             13            MR. TRAYWICK: Back on the record.
     14            MR. INGRAM: Objection.                         14   BY MR. TRAYWICK:
     15            I want to take a break.                        15        Q. Dr. Bagley, I'm sorry, I meant to ask
     16            MR. TRAYWICK: Let me ask just a couple         16   you this: Have you spoken regarding the substance
     17   more questions, then I'll be at a logical breaking      17   of your testimony with Mr. Ingram or any other
     18   point, if you don't mind.                               18   attorneys during the breaks?
     19            MR. INGRAM: Perfect.                           19        A. No.
     20   BY MR. TRAYWICK:                                        20        Q. Do you agree that constituent
     21        Q. Do you think perhaps that Senators had          21   consistency can be considered in tandem with other
     22   an opportunity to review and study the plan, and        22   guidelines for redistricting?
     23   that's when changes were made and justifications        23        A. Yes. Sure. Yes.
     24   were offered prior to its passage?                      24        Q. Do you agree that the plan enacted for
     25        A. If we're talking about the members              25   the 1st District follows natural geographical
                                                       Page 183                                                    Page 185
      1   that are on the committee, I don't understand why        1   boundaries?
      2   it would not have come up at all up to that point,       2        A. Yeah. Senator Campsen made that
      3   and they needed their other Senators that are not        3   point.
      4   on the committee to have time to fully study             4        Q. He's from the Charleston area,
      5   something, but they're having conversations with         5   correct?
      6   staff. I don't understand why it would not come          6        A. Yes.
      7   up at all when explaining the parameters of the          7        Q. He's chairman of the Fish, Game and
      8   map.                                                     8   Forestry Committee, correct?
      9        Q. So you agree there were conversations            9        A. Yeah. I think he was -- didn't he --
     10   with the staff, right?                                  10   he's a ship captain of some sort, if memory
     11        A. I assume that there were. I'm not               11   serves.
     12   privy to those.                                         12        Q. So he had great knowledge of the
     13        Q. Do you think Senators understand                13   waterways surrounding the Port of Charleston,
     14   communities of interest in their areas?                 14   correct?
     15        A. Of course.                                      15        A. I would think so.
     16        Q. On Page 6 of your report, you've said           16        Q. Do you agree that the enacted plan
     17   a couple times that you were at the meeting. You        17   significantly reduces the number of precinct
     18   attended these virtually, though, correct?              18   splits?
     19        A. Where is this, I'm sorry?                       19        A. That was one of the things that was
     20        Q. Sorry, Page 6.                                  20   touted about the plan.
     21        A. You're referring to whom?                       21        Q. Would you agree that members of the
     22        Q. I think you said: "I was at the                 22   public voiced that concern?
     23   meeting."                                               23        A. It came up a few times.
     24        A. I don't believe that I said that. If            24        Q. Do you agree, it can be confusing when
     25   I did, that was a mistake. Could you point me to        25   you and your neighbor vote at the same precinct,
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      1   but they're in different districts?                   1   together, or that the General Assembly could agree
      2        A. That concern was voiced a time or two.        2   with some and maybe not necessarily others?
      3        Q. Would you agree that the General              3        A. It could certainly elect to agree with
      4   Assembly recognized and addressed that problem in     4   some, agree with others, ignore others, dismiss
      5   the enacted plan?                                     5   others.
      6        A. They made some precincts whole, yes.          6        Q. Do you have an opinion about the
      7        Q. You would agree, the General Assembly         7   repeated call for a nonpartisan independent
      8   incorporated that public feedback into the plan?      8   redistricting commission?
      9        A. I would say that was among the                9        A. I know that came up quite frequently.
     10   considerations.                                      10   I know that that has been rejected.
     11        Q. Would you agree, the General Assembly        11        Q. For purposes of this cycle, that ship
     12   disagreed with some of the public testimony it       12   had already sailed, right?
     13   received, such as keeping Charleston whole, and      13        A. You did the cutting out thing again.
     14   did not incorporate that into the plan?              14   I heard "ship sailed."
     15        A. That is correct.                             15        Q. For purposes of this cycle that the
     16        Q. Would you agree that that's how              16   committee constituted in doing its work, that ship
     17   legislation works? I mean, take some, disagree       17   had already sailed, right, in terms of --
     18   with them?                                           18        A. I understand that that was rejected,
     19           MR. INGRAM: Objection.                       19   yes.
     20           THE WITNESS: I suppose that's true.          20        Q. On Page 10, right before your
     21   But I think the takeaway in terms of my reports      21   conclusion, you rely upon a number of the public
     22   would be that a few citizens here or there talked    22   criticizing the committee for scheduling.
     23   about precincts. Whereas, you had a very, very       23            You know, you're not suggesting that
     24   significant amount of testimony regarding            24   staff intentionally scheduled a meeting to
     25   Charleston throughout the process.                   25   interfere with Yom Kippur, are you?
                                                    Page 187                                                     Page 189
      1   BY MR. TRAYWICK:                                    1          A. No.
      2         Q. So does the mere fact that the General     2          Q. Because, you would agree, it's
      3   Assembly chose not to keep Charleston whole render 3      difficult to schedule meetings with lots of
      4   this a racial gerrymander?                          4     different members' schedules and to find
      5         A. In and of itself, no.                      5     locations, particularly for those public hearings,
      6         Q. On Page 9 of your report, if you don't     6     right?
      7   mind flipping there with me. You mentioned that:    7             MR. INGRAM: Objection.
      8   "Some members of the public spoke about the         8             THE WITNESS: I understand that there
      9   precinct splits, but seemed to take the committee   9     are a number of considerations that would go into
     10   to task for not considering what else they had to  10     scheduling.
     11   say."                                              11     BY MR. TRAYWICK:
     12            Is that a fair reading of what you        12          Q. You would agree, the Senate had a lot
     13   said? Or if not, can you explain?                  13     of public hearings around the state, right?
     14         A. Is this which paragraph?                  14             MR. INGRAM: Objection.
     15         Q. At the beginning, the first two.          15             THE WITNESS: They had a number of
     16         A. So they asked the committee not to        16     hearings around the state.
     17   split precincts, but also expressed their concerns 17     BY MR. TRAYWICK:
     18   about packing, cracking, and minority vote         18          Q. I'm not trying to take words out of
     19   dilution.                                          19     your mouth, but I heard you say "a lot" earlier.
     20            What was your question?                   20     I was trying to make sure I understood that
     21         Q. So with regard to -- I'm sorry, I'm       21     recollection.
     22   down in the third paragraph, precinct splits and   22          A. Sure. I should say this is just one
     23   natural geographical boundaries. Do you agree, or  23     example of a number of people expressing their
     24   is it your opinion that all of the concerns        24     concerns over scheduling matters.
     25   expressed by the public had to be considered       25          Q. Right. But does that really have any

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      1   significance on the legislative process and              1        A. Yes.
      2   procedure? I mean, calendars are tough. You              2        Q. So the timeline was even more
      3   would agree, right?                                      3   compressed than in prior redistricting cycles;
      4           MR. INGRAM: Objection.                           4   would you agree with that?
      5           THE WITNESS: I found it significant.             5        A. Yes.
      6   The court can take it or leave it.                       6        Q. Did you agree that that would have an
      7   BY MR. TRAYWICK:                                         7   effect on scheduling inherently?
      8        Q. So you find it significant that one              8        A. I suppose that would be of some
      9   member suggested -- one member of the public             9   effect, yes.
     10   suggested that a hearing in Beaufort was                10        Q. Were you also told of the
     11   intentionally held to conflict with the sundown of      11   court-imposed deadline by which the General
     12   Yom Kippur?                                             12   Assembly needed to enact redistricting plans
     13           MR. INGRAM: Objection.                          13   because the plaintiffs here had filed a lawsuit in
     14           THE WITNESS: First, I don't think that          14   Federal Court?
     15   she said -- I don't think she accused them of           15        A. I understand that that was -- there
     16   doing it deliberately, as such. I would say I           16   were pending deadlines.
     17   considered this alongside other concerns about          17        Q. At the end of your report, Dr. Bagley,
     18   scheduling, not in and of itself.                       18   it suggests that -- I'm sorry, at the bottom of
     19   BY MR. TRAYWICK:                                        19   Page 10: "Members of the public wanted the
     20        Q. Would you agree that redistricting was          20   General Assembly to start from scratch."
     21   not the only thing going on in the Senate, in the       21           Do you see that? It's the last line
     22   Senators' professional lives, or in their personal      22   there above the line, not the footnotes, but the
     23   lives?                                                  23   last sentence above the line on Page 10. Do you
     24           MR. INGRAM: Objection.                          24   see that?
     25           THE WITNESS: I just lost battery power          25        A. Yes.
                                                       Page 191                                                   Page 193
      1   in one of my headphones. I anticipate the other          1        Q. Was that required by or consistent
      2   one -- losing it very soon. Could I take a minute        2   with the guidelines adopted by the Senate
      3   or two and let me disconnect and simply have             3   Redistricting Subcommittee?
      4   computer audio?                                          4        A. That the map be drawn from scratch?
      5            MR. TRAYWICK: Of course. Yes. And               5        Q. Right.
      6   I'm getting close, so no need to take a long             6        A. No.
      7   break. Of course we'll accommodate you. Just let         7        Q. Would you agree that Will Roberts, who
      8   me know when you're ready.                               8   was in the first meeting, described the plan as a
      9            THE WITNESS: Are you able to hear me?           9   "minimal change plan"?
     10            MR. TRAYWICK: Yes, sir. Can you hear           10        A. He did say that at one point, yes.
     11   me?                                                     11        Q. Do you think that's consistent with
     12            THE WITNESS: I can't hear you.                 12   the core preservation?
     13            (Discussion off record.)                       13        A. I guess it depends on what you mean or
     14   BY MR. TRAYWICK:                                        14   what you want to emphasize in terms of core
     15         Q. I think before that I was asking -- I          15   preservation. You know, is it strict percentage,
     16   mean, would you agree that redistricting is not         16   or is it avoiding incumbency issues, pitting
     17   the only thing going on in the Senators' lives as       17   incumbents against each other, taking them out of
     18   it relates to their Senate work or their                18   their districts.
     19   professional work or even their personal lives?         19        Q. Do you agree that those concepts can
     20         A. Of course.                                     20   be interrelated, the concepts of preservation of
     21         Q. As we established earlier, they're             21   core, incumbency protection, and minimal change?
     22   part-time, correct?                                     22        A. Sure.
     23         A. Right.                                         23        Q. Is it your opinion that there's no
     24         Q. The census data came in the late               24   evidence whatsoever that partisanship was used?
     25   summer/early fall 2021; is that right?                  25        A. I wouldn't say that. I would just say

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      1   that members of the committees did not offer            1   BY MS. HOLLINGSWORTH:
      2   partisan advantage as an explanation during the         2        Q. Can you hear me, Dr. Bagley?
      3   process.                                                3        A. Yes, I can.
      4         Q. So on Page 11 of your report, it's the         4        Q. If it's all right, I'll go ahead.
      5   last, sort of, substantive paragraph before you         5           I'm Jennifer Hollingsworth, here on
      6   reserve the right down there. You said: "There          6   behalf of the House defendants. We have met
      7   was no evidence whatsoever."                            7   before at your deposition previously in this case.
      8            Are you kind of walking that back a            8   I don't have many questions. Counsel for the
      9   little bit now?                                         9   Senate did a good job of walking through all of
     10         A. No. I'm saying, among the materials           10   the very important issues. But I will -- and I
     11   that I reviewed, that there is no evidence with        11   will do my very best not to plow through anything
     12   the express purpose behind this that that was the      12   that he has already covered.
     13   motivation.                                            13           If you could, let's look at your
     14         Q. But you're not suggesting that there          14   report for the Congressional portion, your initial
     15   was no partisan motivation behind it, are you?         15   report.
     16         A. There may have been. I'm just saying          16        A. All right.
     17   it was not put forth at all during process as a        17        Q. Do you have it in front of you?
     18   justification.                                         18        A. I do.
     19         Q. Just to recount, the second half of           19        Q. In looking at -- let's see, I think if
     20   your primary report and a good portion of your         20   you could go to Page 4. And I know you answered
     21   rebuttal report are your interpretation of the         21   questions from Mr. Traywick about this.
     22   legislative history in this case?                      22           But this paragraph right before you
     23         A. It's my narrative recounting of what          23   walk into this verbal background, that last
     24   transpired as it relates to the issues at hand.        24   sentence: "I conclude that this all supports a
     25         Q. From your perspective, correct?               25   strong inference of discriminatory motive, though
                                                      Page 195                                                      Page 197
      1            MR. INGRAM: Objection.                         1   I decided to resist reaching a final conclusion,
      2            THE WITNESS: Insofar as I wrote it,            2   which is for the court to do."
      3   it's my perspective.                                    3            Do you see that, Dr. Bagley?
      4   BY MR. TRAYWICK:                                        4         A. Yes, I do.
      5        Q. Dr. Bagley, do you intend to offer any          5         Q. This is different than the way you,
      6   additional opinions in this matter, other than the      6   sort of, addressed your preliminary, kind of,
      7   ones we have discussed today or in the reports?         7   opinion or finding from your report in the House
      8        A. If I were provided with any other               8   on the House plan; is that right?
      9   evidence, I may submit a supplement to my report.       9         A. I don't recall exactly how I phrased
     10   I don't anticipate that being the case, but it         10   it in that report, but if you represent that
     11   may.                                                   11   that's the case. It might be slightly different.
     12            MR. TRAYWICK: I appreciate that.              12         Q. I'll represent that the similar
     13            Well, given that we have some                 13   language in that report was on Page 3: "In my
     14   privilege issues over communications outstanding,      14   opinion, the legislative record reveals a sequence
     15   I'm going to respectfully reserve the right to         15   of events that strongly supports an inference of
     16   leave the deposition open. But at this time I'll       16   discriminatory motive, given the nature and
     17   turn it over to any co-counsel, brother parties        17   historical background of voter discrimination in
     18   who may have questions for you.                        18   South Carolina and the state's black citizens."
     19            I do appreciate your time, again,             19            Does that sound familiar to you?
     20   today. Thanks so much for working with me on all       20         A. Sure. Yes.
     21   of these technical issues and getting through all      21         Q. Coming back to the way that you
     22   of this stuff. I really do appreciate it.              22   phrased it here on the Congressional plan, is
     23            THE WITNESS: Of course. You're                23   there any particular reason or motivation for the
     24   welcome.                                               24   change in the way you addressed your opinion in
     25                 EXAMINATION                              25   this instance, now saying that you conclude it

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      1   supports a strong inference, though decidedly       1       would have come from one of those sources?
      2   resist reaching the final conclusion? Can you       2            A. Correct.
      3   tell me why?                                        3            Q. You have a number of newspaper
      4        A. I don't think so. No. I mean,               4       articles that you have cited in your footnotes for
      5   they're pretty similar, I think. I guess there is   5       this -- I guess it would be "Historical
      6   the additional phrase, "though I decided to resist 6        Background" section of your Congressional report;
      7   reaching the final conclusion."                     7       is that fair?
      8            I think that was the point I was           8            A. Yes.
      9   attempting to make in the other report as well,     9            Q. All of these newspaper articles, did
     10   even if I didn't spell it out in the exact same    10       you collect them all yourself, or were any of
     11   language.                                          11       these articles provided to you?
     12        Q. So no specific reason that you recall      12            A. None of this was provided to me. It's
     13   why you, sort of, added language related to the 13          all my own research. And these days it's fairly
     14   Court's role in reaching a final conclusion?       14       easy to do because everything has been digitized.
     15        A. I can't recall. It may be that there       15                So these -- you know, in decades prior
     16   was case law that I was reading that seemed        16       you would have to go to an archive and go through.
     17   significant to that. I honestly don't remember     17       I spent many an hour early on in my career looking
     18   writing that any differently than I had written it 18       through microfilm. But, fortunately, it's all
     19   in the previous report.                            19       been digitized, and it's all available online. So
     20        Q. Turn to Page 16 of your report,            20       this is particularly helpful under the
     21   please.                                            21       circumstances of the pandemic.
     22        A. All right.                                 22                So these are -- this is research that
     23        Q. So in the middle paragraph that starts 23           I was able to conduct online through digitized
     24   with "Burton court," you have a -- well, take a 24          sources.
     25   moment to read that paragraph to yourself, if you 25             Q. Including these newspaper articles,
                                                      Page 199                                                    Page 201
      1   would, just -- that starts with, "Burton court."        1   like, for example, 1994 edition of the Greenville
      2           (The witness reviews the document, as           2   News?
      3   requested.)                                             3         A. Yes.
      4           THE WITNESS: All right.                         4         Q. With regard to any of the other
      5   BY MS. HOLLINGSWORTH:                                   5   resources -- so you had various books,
      6        Q. You have some observations in here              6   periodicals, things of that nature -- were any of
      7   related to -- for example, you have here: "Black        7   those sources provided to you, as opposed to
      8   caucus members felt like they had been taken            8   sources that you independently located for use in
      9   advantage of by white Democrats and agreed with         9   your report?
     10   Republicans to draw more heavily white districts       10         A. No. The only thing that was provided
     11   than white Republicans could win and more              11   to me were the transcripts that we talked about, I
     12   majority-minority districts that black candidates      12   think very early on, with Mr. Traywick.
     13   could win."                                            13         Q. In your Congressional plan report, you
     14           Do you see that language?                      14   go through a much deeper detail of, for example,
     15        A. I do.                                          15   like, the DOJ Section 5 objection letters. You
     16        Q. Did you conduct any interviews as part         16   have, I think, for example, Page 21.
     17   of the development or preparation of this report?      17         A. Okay.
     18        A. No.                                            18         Q. So it looks like, starting from the
     19        Q. Where did this information come from?          19   first paragraph: "By 2012," and then through the
     20        A. So the footnotes on this paragraph are         20   rest of the page. And your footnote just says,
     21   48 and 49. It looks like in 48 there are two           21   generally: "Civil Rights Division, Section 5
     22   articles from the State and one from Greenville        22   objections, South Carolina," but the content
     23   News, and 49 looks like it's in reference to a         23   addresses a number of issues or, you know, subject
     24   Ruoff report, Pages 707 and 708.                       24   matters from a variety of letters that you had
     25        Q. So all of the content that I just read         25   found online.

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      1            My question: Did you review each and           1   or not their view of an irregularity or complaint
      2   every one of these Section 5 letters and prepare        2   is relevant to what otherwise would be a normal
      3   this, or did you have any assistants help you in        3   procedural sequence?
      4   assessing all of these to pull out the information      4        A. Well, in terms of the legislators, I
      5   that's here at Page 21?                                 5   would say that, obviously, they would understand
      6        A. I was able to review them myself.               6   good governance and normal legislative procedures
      7   They're all -- helpfully, the Civil Rights              7   and practices.
      8   Division -- you see the link there. It's whited         8            In terms of the public, I would say
      9   out on my page because I don't have color ink in        9   that I, you know, wouldn't take any one individual
     10   my printer at the moment -- but they're all            10   citizen's input and give great weight to that. I
     11   available, sort of, on the same page. They're          11   think it would have to be a complex or, as I said
     12   sorted out by state. So you're able to just very       12   earlier, a chorus of people concerned about
     13   quickly say, you know, click through them.             13   something which would give that more weight.
     14            Not all of them are very lengthy.             14        Q. So in terms of your opinions, how do
     15   Some are, but usually it's only a page or two. So      15   we know where you have reached a finding or a
     16   I had more time, obviously, since the House phase      16   conclusion that any particular complaint or issue
     17   to, sort of, more thoroughly review those.             17   that was raised that you address in the sequence
     18        Q. You did all of that independently; is          18   is a departure from the normal procedural
     19   that right?                                            19   sequence?
     20        A. That's correct.                                20        A. I tried -- and maybe I didn't do a
     21        Q. Page 24, in the middle of the page you         21   good job, but I tried to summarize that at the
     22   reference Representative Govan: "Describing how        22   beginning of, sort of, each section, rather than
     23   the redistricting process has been challenged          23   lump that off at the beginning of an end. I
     24   every single cycle since black citizens had first      24   thought it read better to, sort of, identify those
     25   won the right to actually vote and elect               25   at the beginning of sections.
                                                      Page 203                                                    Page 205
      1   candidates of choice in the 1970s."                     1        Q. Have you -- I think we talked about
      2            You will agree with me that the                2   this at your last deposition. I believe you had
      3   redistricting process has not been successfully         3   testified that you were familiar with
      4   challenged in every single cycle, correct?              4   redistricting process in Alabama.
      5         A. That is true.                                  5            Are there any other states that you
      6         Q. The Number 4 -- the fourth Arlington           6   have familiarized yourself with in terms of
      7   Heights factor that is identified on Page 3 of          7   procedure for redistricting in the Southeast or
      8   your report -- and I'll just read it: "Departures       8   elsewhere?
      9   from the normal procedural sequence."                   9        A. Yeah. In terms of secondary source
     10         A. Yes.                                          10   resource and reading case law, but a number of
     11         Q. Where in your report do you lay out           11   others. I haven't undertaken, obviously, a
     12   what, in your expert opinion as a historian, are       12   systematic study of another state. But obviously,
     13   the normal procedural sequences that you then are      13   again, you know, reading case law and studying
     14   measuring the sequence of events in South Carolina     14   secondary sources, you know, I'm familiar with the
     15   against?                                               15   process, sort of broadly speaking.
     16         A. Rather than lay it out like that, what        16        Q. In your opinion, what is the
     17   I've done is convey where members of the public or     17   difference between core constituency or core
     18   members of the committees have indicated that they     18   reservation and incumbency considerations?
     19   felt like there was significant procedural             19        A. I understand that they're listed under
     20   departures.                                            20   the same, sort of, sub-guidelines. Like I say, I
     21         Q. Certainly, you would agree with me            21   think you could look at that a couple of ways.
     22   that those legislators or the members of the           22            Core retention, to me, could mean or
     23   public are not expert historians, right?               23   could be synonymous with avoiding contests between
     24         A. Well, certainly not.                          24   incumbents or removing an incumbent from their
     25         Q. So in what way could we know whether          25   district, or, as Mr. Opperman put forth, it could

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      1   be -- you know, it could reference a numerical         1        Q. Did you also do further study of some
      2   representation of the number of constituents who       2   of those cases in terms of Backus and Burton and
      3   are preserved in a given district.                     3   such? Did you spend some more time on some of
      4        Q. We had talked last time about your             4   those cases as well?
      5   work in Alabama on that redistricting matter, that     5        A. Yes. I think there's a, fair to say,
      6   your review of the sequence of events there            6   a more thorough discussion in this report of those
      7   included descriptions of instances where lawmakers     7   two cases.
      8   were recorded on tape making racist remarks. Do        8        Q. I think Mr. Traywick did ask you this:
      9   you recall that?                                       9   As you sit here today, you're not aware of any
     10        A. Yes, I do.                                    10   opinions that you would offer at the trial that
     11        Q. We discussed last time -- you agreed          11   you have not addressed at some point today in your
     12   with me -- that you hadn't come across anything       12   testimony with Mr. Traywick or myself, as you sit
     13   similar to that when you were reviewing materials     13   here today?
     14   for the House plan; is that right?                    14        A. No.
     15        A. That's correct.                               15        Q. As you sit here today, is there
     16        Q. So with regard to everything that             16   anything that you intend to go study or review as
     17   you've reviewed and considered on the                 17   a result of what you discussed here today prior to
     18   Congressional plan here in South Carolina, have       18   offering testimony in court?
     19   you come across anything similar to what you saw      19        A. No.
     20   in Alabama, such as the racist remarks by             20           MS. HOLLINGSWORTH: Let me take one
     21   lawmakers that were recorded?                         21   minute real quick. I think those are all my
     22        A. The only thing that I think is in the         22   questions, but give me just one minute to look.
     23   report that's similar to that is the racist           23           (A recess was taken.)
     24   characterization of Congressman Clyburn from that     24           MS. HOLLINGSWORTH: Dr. Bagley, I don't
     25   campaign. I didn't come across anything analogous     25   have any other questions. I very much appreciate
                                                     Page 207                                                  Page 209
      1   to those particularly egregious statements from        1   your time this afternoon.
      2   that instance you reference in Alabama, no.            2           THE WITNESS: I'm sorry,
      3         Q. Let me make sure that we don't get a          3   Ms. Hollingsworth, let me shut this off. I don't
      4   little clouded in the record. Are you talking          4   understand why that happened. Can you hear me?
      5   about the -- Congressman Clyburn, are you talking      5           MS. HOLLINGSWORTH: Yes. Yes. Well,
      6   about Page 15 of your report where you're              6   now we can't hear you. I think that went
      7   describing the 1980s?                                  7   backwards.
      8         A. Yes. Yes.                                     8           THE WITNESS: We're good now.
      9         Q. My question is with regard to what you        9           MS. HOLLINGSWORTH: Believe it or not,
     10   reviewed for purposes of the House and the Senate     10   I don't have any other questions. I don't know if
     11   in the most recent redistricting cycle leading up     11   counsel for the Election Commission is still on.
     12   to the passage of the Congressional plan that is      12   But I'm done. I thank you very much for your
     13   now challenged in this lawsuit. Have you come         13   time.
     14   across anything similar to what you did in            14           MS. TRINKLEY: This is Jane Trinkley.
     15   Alabama, which were the instance where lawmakers      15   I do not have any questions on behalf of the
     16   were record on tape making racist remarks?            16   Election Commission.
     17         A. Nothing analogous to that, no.               17           MR. INGRAM: I have some redirect, but
     18         Q. I think since the last time you              18   give me five minutes to get my thoughts together.
     19   prepared a report, you had done -- you've done        19           (A recess was taken.)
     20   some more evaluation of other positions of            20                EXAMINATION
     21   authority in our state that are held by black men     21   BY MR. INGRAM:
     22   and black women; is that right? And you included      22        Q. I just have a few questions for you,
     23   some more information, for example, about our         23   Dr. Bagley, on redirect. My first question is
     24   Chief Justice of the Supreme Court?                   24   during your discussion with Mr. Traywick, you
     25         A. Yes.                                         25   referenced Chair Jordan in reference to some of

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      1   the questions related to the Senate process.           1            COURT REPORTER: Would you let me know
      2           Might you have meant Chair Rankin,             2   if he's reading and signing, and can I get orders
      3   rather than Jordan, related to the Senate?             3   on the record, please?
      4        A. Right. Chairman Rankin was the head            4            MR. INGRAM: Yes. For plaintiffs, we
      5   of the Senate Redistricting Committee, and             5   would like a rough transcript, electronic. And we
      6   Representative Jordan was head of the House Ad Hoc     6   will read and sign as well.
      7   Committee.                                             7            MR. TRAYWICK: I would like a rough,
      8        Q. Thank you.                                     8   and then we'll take an electronic copy.
      9           Dr. Bagley, do you recall                      9            MS. HOLLINGSWORTH: This is Jennifer
     10   Mr. Traywick's questions at the beginning of the      10   Hollingsworth. We would also like the rough
     11   deposition asking you when you began working on       11   transcript. We will order an electronic copy. We
     12   the Congressional case?                               12   do not need a word index.
     13        A. Yes.                                          13            (The deposition was concluded at 4:30
     14        Q. Do you recall when the South Carolina         14   p.m.)
     15   General Assembly passed a Congressional map?          15            (The witness, after having been advised
     16        A. I don't remember the exact date, but I        16   of the right to read and sign this transcript,
     17   can thumb through here. The final passage was         17   does not waive that right.)
     18   January 26th.                                         18
     19        Q. When did you start working on the             19
     20   Congressional report? Was it before or after the      20
     21   map was passed?                                       21
     22        A. It would have been after. So any work         22
     23   done previously would have been a part of the         23
     24   House phase.                                          24
     25        Q. Then I just have one last question for        25
                                                     Page 211                                                      Page 213
      1   you. Dr. Bagley, you discussed the Arlington           1           CERTIFICATE OF REPORTER
      2   Heights framework with Mr. Traywick. Did the           2
      3   method you employed as an historian and political      3            I, Roxanne M. Easterwood, Registered
                                                                 4   Professional Reporter and Notary Public for the
      4   scientist overlap at all with the Arlington
                                                                 5   State of South Carolina at Large, do hereby
      5   Heights factoring or Arlington Heights framework?      6   certify that the foregoing transcript is a true,
      6        A. Yes, they overlap.                             7   accurate, and complete record.
      7        Q. How so?                                        8            I further certify that I am neither
      8        A. Well, we look at information from a            9   related to nor counsel for any party to the cause
      9   number of different sources, and we understand        10   pending or interested in the events thereof.
     10   that the past informs the present.                    11            Witness my hand, I have hereunto
     11           MR. INGRAM: Thank you. That's all my          12   affixed my official seal this 29th day of June
     12   questions.                                            13   2022 at Charleston, Charleston County, South
                                                                14   Carolina.
     13           I also want it on the record,
                                                                15
     14   Mr. Traywick, we understand your position about       16
     15   keeping the deposition open. But for the record,      17
     16   we disagree for the basis that there is a need to     18
     17   keep it open for those communications we've           19
     18   referenced before.                                    20
     19           MR. TRAYWICK: Understood. And we'll                           <%21897,Signature%>
     20   talk offline about it. And if necessary, we'll        21
                                                                22             ________________________________
     21   move forward and protect our own interests. So
                                                                               Roxanne M. Easterwood, RPR
     22   thank you for that.                                   23             My Commission expires
     23           No further questions from me.                                February 1, 2025
     24           MS. HOLLINGSWORTH: None from me.              24
     25   Thank you very much.                                  25

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      1            INDEX                                       1     Antonio Ingram, II
      2                 Page Line                              2     aingram@naacpldf.org
      3   JOSEPH BAGLEY, PhD       4     3                     3                    July 13, 2022
      4   EXAMINATION           4    5                         4     RE: The South Carolina State Conference Of The NAACP v. Alexander,

      5   BY MR. TRAYWICK                                          Thomas, Et Al

      6   EXAMINATION           195    25                      5       6/29/2022, Joseph Bagley , PhD (#5278889)

      7   BY MS. HOLLINGSWORTH                                 6       The above-referenced transcript is available for

      8   EXAMINATION           209    20                      7     review.
                                                               8       Within the applicable timeframe, the witness should
      9   BY MR. INGRAM
                                                               9     read the testimony to verify its accuracy. If there are
     10   CERTIFICATE OF REPORTER      213                1
                                                              10     any changes, the witness should note those with the
     11
                                                              11     reason, on the attached Errata Sheet.
     12              EXHIBITS
                                                              12       The witness should sign the Acknowledgment of
     13                        Page Line
                                                              13     Deponent and Errata and return to the deposing attorney.
     14   Exhibit 1, Notice of        6    13
                                                              14     Copies should be sent to all counsel, and to Veritext at
     15   Deposition, Certificate of
                                                              15     erratas-cs@veritext.com.
     16   Service, Acceptance of                              16
     17   Service, Subpoena Duces Tecum                       17     Return completed errata within 30 days from
     18   Exhibit 2, Bagley CV          8    25               18    receipt of testimony.
     19   Exhibit 3, Invoices with      17    18              19      If the witness fails to do so within the time
     20   Attached Email Cover Pages,                         20    allotted, the transcript may be used as if signed.
     21   Bates SCNAACP 3D 11412-11419                        21
     22   Exhibit 4, Dr. Bagley        24   16                22               Yours,
     23   Congressional Plan Report                           23               Veritext Legal Solutions
     24   Exhibit 5, Email           27    15                 24
     25   Correspondence, Bates SCNAACP                       25

                                                   Page 215                                                                      Page 217
      1   CD 11420-11423                                       1    The South Carolina State Conference Of The NAACP v. Alexander,
      2   Exhibit 6, 2021 Redistricting 120    21                  Thomas, Et Al
      3   Guidelines, SC Senate                                2    Joseph Bagley , PhD (#5278889)
      4   Judiciary Committee                                  3                ERRATA SHEET

      5   Redistricting Subcommittee                           4    PAGE_____ LINE_____ CHANGE________________________

      6   Exhibit 7, Dr. Bagley        164  13                 5    __________________________________________________

      7   Congressional Rebuttal Report                        6    REASON____________________________________________

      8                                                        7    PAGE_____ LINE_____ CHANGE________________________
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     21                                                       21    REASON____________________________________________
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     23                                                       23    ________________________________ _______________
     24                                                       24    Joseph Bagley , PhD Date
     25                                                       25

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      2    Joseph Bagley , PhD (#5278889)
      3             ACKNOWLEDGEMENT OF DEPONENT
      4      I, Joseph Bagley , PhD, do hereby declare that I
      5    have read the foregoing transcript, I have made any
      6    corrections, additions, or changes I deemed necessary as
      7    noted above to be appended hereto, and that the same is
      8    a true, correct and complete transcript of the testimony
      9    given by me.
     10
     11    ______________________________ ________________
     12    Joseph Bagley , PhD Date
     13    *If notary is required
     14               SUBSCRIBED AND SWORN TO BEFORE ME THIS
     15               ______ DAY OF ________________, 20___.
     16
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     18               __________________________
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